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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

 IN RE:                                     No. 2:17-cv-11661-CGS-APP
                                            Hon. George Caram Steeh
 DURAMAX DIESEL LITIGATION
                                            JURY TRIAL DEMANDED


                        FIRST AMENDED AND CONSOLIDATED
                            CLASS ACTION COMPLAINT




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          Plaintiffs, individually and on behalf of all others similarly situated (the

 “Class”), allege the following based upon the investigation of counsel, the review

 of scientific papers, and the proprietary investigation of experts:

                                  I.     INTRODUCTION
          1.       This is what General Motors (“GM”) promised when selling its

 popular Silverado and Sierra HD Vehicles—that its Duramax engines turned

 “heavy diesel fuel into a fine mist,” delivering “low emissions” that were a

 “whopping reduction” compared to the prior model and at the same time produced

 a vehicle with “great power.” GM claimed its engineers had accomplished a

 “remarkable reduction of diesel emissions.”

          2.       As explained in detail below, this is not what GM delivered in the

 estimated 705,000 or more 2011-2016 Silverado and Sierra 2500 and 3500 diesels

 on the road. In contrast to GM’s promises, scientifically valid emissions testing has

 revealed that the Silverado and Sierra 2500 and 3500 models emit levels of NOx

 many times higher than (i) their gasoline counterparts, (ii) what a reasonable

 consumer would expect, (iii) what GM had advertised, (iv) the Environmental

 Protection Agency’s maximum standards, and (v) the levels set for the vehicles to

 obtain a certificate of compliance that allows them to be sold in the United States.

 Further, the vehicles’ promised power, fuel economy, and efficiency is obtained




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 only by turning off or turning down emissions controls when the software in these

 vehicles senses they are not in an emissions testing environment.

          3.       In the last two years, there have been major scandals involving diesel

 vehicles made by Volkswagen, Audi, Porsche, Mercedes, and FCA. Volkswagen

 pled guilty to criminal violations of the Clean Air Act, Mercedes is under

 investigation by the Department of Justice, and FCA has been sued by the EPA for

 violating the Clean Air Act for improper emissions in thousands of 2014-2016

 Dodge Ram 1500 EcoDiesels and 2014-2016 Jeep Grand Cherokee EcoDiesels.

 The diesel vehicles made by these manufacturers evade emissions standards with

 the help of certain software that turns off or down emissions controls when the

 vehicles sense they are not in a test environment.

          4.       Testing conducted by engineering experts in emissions testing

 indicates that GM is no different. Its top selling Silverado and Sierra 2500HD and

 3500HD vehicles emit far more pollution on the road than in the emission

 certification testing environment. These vehicles exceed federal and state emission

 standards and employ at least three different “defeat devices” to turn down the

 emissions controls when the vehicle senses that it is not in the certification test

 cycle. A defeat device means an auxiliary emissions control device that reduces the

 effectiveness of the emission control system under conditions which may

 reasonably be expected to be encountered in normal vehicle operation and use.


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          5.       GM Defeat Device No. 1 reduces or derates the emissions system

 when temperatures are above the emissions certification test range (86°F). GM

 Defeat Device No. 2 operates to reduce emissions control when temperatures are

 below the emissions certification low temperature range (68°F). Testing reveals

 that at temperatures below 68°F (the lower limit of the certification test

 temperature), stop and go emissions are 2.1 times the emissions standard at

 428 mg/mile (the standard is 200 mg/mile). At temperatures above 86°F, stop and

 go emissions are an average of 2.4 times the standard with some emissions as high

 as 5.8 times the standard. Based on temperatures in the top 30 metropolitan areas,

 these vehicles are operating with the emissions systems derated a material amount

 of their vehicle miles travelled. But the emission scheme is a step more nefarious:

 enter GM Defeat Device No. 3, which reduces the level of emissions controls after

 200-500 seconds of steady speed operation in all temperature windows, causing

 emissions to increase on average of a factor of 4.5. Based on a study of

 temperatures in 30 major metropolitan areas as well as the demographics of

 Silverado and Sierra sales, Plaintiffs’ experts estimate that due to just the

 temperature-triggered defeat devices, the vehicles operate at 65-70% of their miles

 driven with emissions that are 2.1 to 5.8 times the standard.

          6.       Increased sales and thus increased profits drove GM to use at least

 these three defeat devices in its Duramax diesel engines. By reversing the


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 traditional order of the exhaust treatment components and putting the Selective

 Catalytic Reduction (SCR) in front of the Diesel Particulate Filter (DPF), GM

 could obtain and market higher power and fuel efficiency from its engines while

 still passing the cold-start emissions certification tests. This made GM’s trucks

 more appealing and competitive in the marketplace, driving up sales and profits.

 But the reordering would have also drastically increased the need to employ Active

 Regeneration (burning off collected soot at a high temperature) and other power-

 and efficiency-sapping exhaust treatment measures, reversing the very advantage

 gained. GM’s solution, with the participation of defendants Robert Bosch GmbH

 and Robert Bosch LLC, was to install defeat devices to purposefully reduce SCR

 dosing, increase NOx emissions, and thus decrease Active Regeneration. The

 defeat devices allowed GM to have its cake and it eat too. It could gain the

 advantage of hot exhaust going into the SCR system needed to pass cold-start tests,

 while avoiding the fuel- and power-robbing Active Regeneration procedure that

 the DPF filter requires when the SCR treatment comes first. GM turned a blind eye

 to the twofold to fivefold increase in deadly NOx emissions its scheme caused—all

 to drive up its sales and profits.

          7.       Diesel engines pose a difficult challenge to the environment because

 they have an inherent trade-off between power, fuel efficiency, and emissions.

 Compared to gasoline engines, diesel engines generally produce greater torque,


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 low-end power, better drivability, and much higher fuel efficiency. But these

 benefits come at the cost of much dirtier and more harmful emissions.

          8.       One by-product of diesel combustion is NOx, which generally

 describes several compounds comprised of nitrogen and oxygen atoms. These

 compounds are formed in the cylinder of the engine during the high temperature

 combustion process. NOx pollution contributes to nitrogen dioxide, particulate

 matter in the air, and reacts with sunlight in the atmosphere to form ozone.

 Exposure to these pollutants has been linked with serious health dangers, including

 serious respiratory illnesses and premature death due to respiratory-related or

 cardiovascular-related effects. The United States Government, through the

 Environmental Protection Agency (EPA), has passed and enforced laws designed

 to protect United States citizens from these pollutants and certain chemicals and

 agents known to cause disease in humans. Automobile manufacturers must abide

 by these U.S. laws and must adhere to EPA rules and regulations. This case is not

 based on these laws but on deception aimed at consumers.

          9.       Seeing a major opportunity for growth, almost all of the major

 automobile manufacturers rushed to develop “clean diesel” and promoted new

 diesel vehicles as environmentally friendly and clean. Volkswagen, Mercedes,

 GM, FCA, and other manufacturers began selling diesel cars and trucks as more

 powerful, yet also as an environmentally friendly alternative to gasoline vehicles.


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 And the marketing worked, as over a million diesel vehicles were purchased

 between 2007 and 2016 in the United States and over ten million in Europe.

          10.      The green bubble with respect to diesel vehicles popped on

 September 18, 2015, when the EPA issued a Notice of Violation of the Clean Air

 Act (the “First NOV”) to Volkswagen Group of America, Audi AG, and

 Volkswagen America for installing illegal “defeat devices” in 2009-2015

 Volkswagen and Audi diesel cars equipped with 2.0-liter diesel engines. A defeat

 device, as defined by the EPA, is any apparatus that unduly reduces the

 effectiveness of emissions control systems under conditions a vehicle may

 reasonably be expected to experience. The EPA found that the Volkswagen/Audi

 defeat device allowed the vehicles to pass emissions testing while in the real world

 these vehicles polluted far in excess of emissions standards. The California Air

 Resources Board also announced that it had initiated an enforcement investigation

 of Volkswagen pertaining to the vehicles at issue in the First NOV.

          11.      On September 22, 2015, Volkswagen announced that 11 million

 diesel cars worldwide were installed with the same defeat device software that had

 evaded emissions testing by U.S. regulators. Volkswagen pled guilty to criminal

 charges and settled civil class actions for over ten billion dollars.1


     1
      See Exhibit 1, Nathan Bomey, Volkswagen Emission Scandal Widens: 11
 Million Cars Polluting, USA Today (Sept. 22, 2015), http://www.usatoday.com/
 story/money/cars/2015/09/22/volkswagen-emissions-scandal/72605874/.
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          12.      Volkswagen wasn’t alone—soon, government agencies began to

 reveal that many manufacturers both in the U.S. and in Europe had produced

 dozens of models that were exceeding emissions standards. On December 2, 2016,

 Plaintiffs’ counsel, based on the same type of testing and investigation in this case,

 filed a class action alleging that FCA’s Dodge Ram and Jeep Grand Cherokee were

 exceeding emissions standards that a reasonable consumer would expect to be

 produced by “Eco” vehicles. On January 12, 2017, confirming the work of

 Plaintiffs’ counsel, the EPA issued a Notice of Violation to FCA because it had

 cheated on its emissions certificates with respect to its Dodge Ram and Jeep Grand

 Cherokee vehicles, and on May 23, 2017, the United States filed a civil suit in the

 Eastern District of Michigan alleging violations of the Clean Air Act (E.D. Mich.

 No. 17-cv-11633).

          13.      GM is no different. To appeal to environmentally conscious

 consumers, and to compete with its rival and top selling Ford trucks, and to comply

 with new emissions regulations effective in 2011, GM markets its Silverado 2500

 and 3500 and Sierra 2500 and 3500 Duramax vehicles as having low emissions,

 high fuel economy, and powerful torque and towing capacity. GM charges a

 premium of approximately $9,000 for diesel-equipped vehicles over comparable

 gas Silverados or Sierras.




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          14.      GM’s representations are deceptive and false, and GM sold these

 vehicles while omitting information that would be material to a reasonable

 consumer, namely that GM has programmed its Silverado 2500 and 3500 and

 Sierra 2500 and 3500 Duramax vehicles to significantly reduce the effectiveness of

 the NOx reduction systems during real-world driving conditions.

          15.      Plaintiffs’ on-road testing has confirmed that GM’s Silverado 2500

 and 3500 and Sierra 2500 and 3500 vehicles with a Duramax engine produce NOx

 emissions that are not “reduced” or “low” but in fact exceed emission standards,

 and that GM has programmed the vehicles so that in a wide range of conditions,

 the emissions systems are powered down, producing NOx in excess of emissions

 standards. This testing indicates that GM and Bosch have programmed the

 software to detect a possible emission testing environment and to comply with

 emissions requirements in that circumstance, but to turn off the emissions controls

 when a testing environment is not detected. A reasonable consumer would not

 expect their Silverado or Sierra vehicle to spew unmitigated NOx in this fashion

 while driving in the city or on the highway, nor would a reasonable consumer

 expect that fuel economy was achieved in part by turning off or derating the

 emission systems, nor would a reasonable consumer expect that if the emissions

 were as promised the advertised fuel economy and performance could not be

 achieved.


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          16.      Plaintiffs allege that the following GM models powered by Duramax

 engines are affected by the unlawful, unfair, deceptive, and otherwise defective

 emission controls utilized by GM: model year 2011-2016 GM Sierra 2500HD and

 3500HD trucks and GM Silverado 2500HD and 3500HD trucks (the “Polluting

 Vehicles”).

          17.      In addition, GM markets the Polluting Vehicles as fuel efficient.

 Without manipulating its software to turn off the emissions controls, GM could not

 achieve the fuel economy and range it promises.

          18.      GM did not previously disclose to Plaintiffs or Class members that in

 real-world driving conditions, the Polluting Vehicles can only achieve high fuel

 economy, power, and durability by reducing emissions controls in order to spew

 NOx into the air.

          19.      GM never disclosed to consumers that the Polluting Vehicles may be

 “clean” diesels in very limited circumstances but are “dirty” diesels under most

 driving conditions. GM never disclosed to consumers that it programs its emissions

 systems to work only under certain conditions. GM never disclosed that it

 prioritizes engine power and profits over the environment. GM never disclosed that

 the Polluting Vehicles’ emissions materially exceed the emissions from gasoline-

 powered vehicles, that the emissions exceed what a reasonable consumer would




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 expect from a “low emissions” vehicle, and that the emissions materially exceed

 applicable emissions limits in real-world driving conditions.

          20.      GM did not act alone. At the heart of the diesel scandal in the United

 States and Europe are Robert Bosch GmbH (“Bosch GmbH”) and Robert Bosch

 LLC (“Bosch LLC”) (sometimes referred together as “Bosch”). Bosch GmbH and

 Bosch LLC were active and knowing participants in the scheme to evade U.S.

 emissions requirements. Bosch GmbH and Bosch LLC developed, manufactured,

 and tested the electronic diesel control (EDC) that allowed GM to implement the

 defeat device. The Bosch EDC17 is a good enabler for manufacturers to employ

 “defeat devices” as it enables the software to detect conditions when emissions

 controls can be derated—i.e., conditions outside of the emissions test cycle.

 Almost all of the vehicles found or alleged to have been manipulating emissions in

 the United States (Mercedes, FCA, Volkswagen, Audi, Porsche, Chevy Cruze) use

 a Bosch EDC17 device.

          21.      Plaintiffs bring this action individually and on behalf of all other

 current and former owners or lessees of the Polluting Vehicles. The Polluting

 Vehicles include all 2011-2016 GM Sierra 2500HD/3500HD and Silverado

 2500HD/3500HD vehicles. Plaintiffs seek damages, injunctive relief, and equitable

 relief for GM’s and Bosch’s misconduct related to the design, manufacture,

 marketing, sale, and lease of the Polluting Vehicles, as alleged in this Complaint.


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                                    II.   JURISDICTION
          22.      This Court has subject matter jurisdiction over this action under 28

 U.S.C. § 1331 because Plaintiffs’ claims arise under the RICO Act, 18 U.S.C.

 § 1962. The Court also has diversity jurisdiction because Plaintiffs and Defendants

 reside in different states. The Court has supplemental jurisdiction over Plaintiffs’

 state law claims under 28 U.S.C. § 1367.

          23.      This Court also has original jurisdiction over this lawsuit pursuant to

 28 U.S.C. § 1332(a)(1), as modified by the Class Action Fairness Act of 2005,

 because Plaintiffs and Defendants are citizens of different states; there are more

 than 100 members of the Class (as defined herein); the aggregate amount in

 controversy exceeds $5 million, exclusive of attorneys’ fees, interest, and costs;

 and Class members reside across the United States. The citizenship of each party is

 described further below in the “Parties” section.

          24.      This Court has personal jurisdiction over each Defendant pursuant to

 18 U.S.C. § 1965(b) & (d). This Court has personal jurisdiction over Defendants

 because they have minimum contacts with the United States, this judicial district,

 and this State, and they intentionally availed themselves of the laws of the United

 States and this state by conducting a substantial amount of business throughout the

 state, including the design, manufacture, distribution, testing, sale, lease, and/or

 warranty of GM vehicles in this State and District. At least in part because of


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 Defendants’ misconduct as alleged in this lawsuit, the Polluting Vehicles ended up

 on this state’s roads and in dozens of franchise dealerships.

                                        III.    VENUE
          25.      Venue is proper in this Court under 28 U.S.C. § 1391 because:

 (i) Defendants conduct substantial business in this District and have intentionally

 availed themselves of the laws and markets of the United States and this District;

 and/or (ii) many of the acts and transactions giving rise to this action occurred in

 this District, including, inter alia, GM’s promotion, marketing, distribution, and

 sale of the Polluting Vehicles to Plaintiffs in this District. Defendant GM sells a

 substantial number of automobiles in this District, has dealerships located

 throughout this District, and the misconduct occurred in part in this District. Venue

 is also proper under 18 U.S.C. § 1965(a) because Defendants are subject to

 personal jurisdiction in this District, as alleged in the preceding paragraph, and

 Defendants have agents located in this District.

                                       IV.     PARTIES

 A.       Arizona Plaintiff

          1.       George Stanley
          26.      Plaintiff George Stanley (for the purpose of this paragraph,

 “Plaintiff”) is an individual residing in Albany, New York. In or around February

 2012, Plaintiff purchased a new 2012 GM Sierra 3500HD from Earnhardt GMC,

 an authorized GM dealer in Mesa, Arizona. Plaintiff purchased and still owns this

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 vehicle. Unknown to Plaintiff at the time the vehicle was purchased, it only

 achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the vehicle without

 proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of purchase, and diminished value of his vehicle. GM

 knew about, or recklessly disregarded, the inadequate emission controls during

 normal driving conditions, but did not disclose such facts or their effects to

 Plaintiff, so Plaintiff purchased his vehicle on the reasonable but mistaken belief

 that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied with

 U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff

 selected and ultimately purchased his vehicle, in part, because of the diesel system,

 as represented through advertisements and representations made by GM. Plaintiff

 recalls that before he purchased the vehicle, he reviewed advertisements on GM’s

 website and representations from GM’s authorized dealer touting the efficiency,

 fuel economy, and power and performance of the engine. Had GM disclosed this

 design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Plaintiff would not have purchased the vehicle or would have paid less


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 for it. Plaintiff and each Class member has suffered an ascertainable loss as a result

 of GM’s omissions and/or misrepresentations and Defendants’ operation of a

 RICO enterprise associated with the Duramax engine system, including but not

 limited to a high premium for the Duramax engine compared to what they would

 have paid for a gas-powered engine, out-of-pocket losses by overpaying for the

 vehicles at the time of purchase, and future attempted repairs, future additional fuel

 costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed

 Plaintiff or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to

 purchase.

 B.       Arkansas Plaintiff

          1.       Michael Reichert
          27.      Plaintiff Michael Reichert (for the purpose of this paragraph,

 “Plaintiff”) is an individual residing in Little Rock, Arkansas. On January 4, 2014,

 Plaintiff purchased a new 2013 GMC Sierra 2500 from Everett Buick/GMC, an

 authorized GM dealer in Bryant, Arkansas. Plaintiff purchased and still owns this

 vehicle. Unknown to Plaintiff at the time the vehicle was purchased, it only

 achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed



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 level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the vehicle without

 proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of purchase, and diminished value of his vehicle. GM

 knew about, or recklessly disregarded, the inadequate emission controls during

 normal driving conditions, but did not disclose such facts or their effects to

 Plaintiff, so Plaintiff purchased his vehicle on the reasonable but mistaken belief

 that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied with

 U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff

 selected and ultimately purchased his vehicle, in part, because of the diesel system,

 as represented through advertisements and representations made by GM. Plaintiff

 recalls that before he purchased the vehicle, he reviewed advertisements on GM’s

 website and representations from GM’s authorized dealer touting the efficiency,

 fuel economy, and power and performance of the engine. Had GM disclosed this

 design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Plaintiff would not have purchased the vehicle or would have paid less

 for it. Plaintiff and each Class member has suffered an ascertainable loss as a result

 of GM’s omissions and/or misrepresentations and Defendants’ operation of a

 RICO enterprise associated with the Duramax engine system, including but not


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 limited to a high premium for the Duramax engine compared to what they would

 have paid for a gas-powered engine, out-of-pocket losses by overpaying for the

 vehicles at the time of purchase, and future attempted repairs, future additional fuel

 costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed

 Plaintiff or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to

 purchase.

 C.       California Plaintiffs

          1.       Andrei Fenner
          28.      Plaintiff Andrei Fenner (for the purpose of this paragraph, “Plaintiff”)

 is an individual residing in Mountain View, California. On August 1, 2013,

 Plaintiff purchased a used 2011 GMC Sierra from Cardinale GMC, an authorized

 GM dealer in Monterey, California. Plaintiff purchased and still owns this vehicle.

 Unknown to Plaintiff at the time the vehicle was purchased, it only achieved its

 promised fuel economy and performance because it was equipped with an

 emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the vehicle without

 proper emission controls has caused Plaintiff out-of-pocket loss in the form of



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 overpayment at the time of purchase, and diminished value of his vehicle. GM

 knew about, or recklessly disregarded, the inadequate emission controls during

 normal driving conditions, but did not disclose such facts or their effects to

 Plaintiff, so Plaintiff purchased his vehicle on the reasonable but mistaken belief

 that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied with

 U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff

 selected and ultimately purchased his vehicle, in part, because of the diesel system,

 as represented through advertisements and representations made by GM. Plaintiff

 recalls that before he purchased the vehicle, he reviewed advertisements on GM’s

 website and representations from GM’s authorized dealer touting the efficiency,

 fuel economy, and power and performance of the engine. Had GM disclosed this

 design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Plaintiff would not have purchased the vehicle or would have paid less

 for it. Plaintiff and each Class member has suffered an ascertainable loss as a result

 of GM’s omissions and/or misrepresentations and Defendants’ operation of a

 RICO enterprise associated with the Duramax engine system, including but not

 limited to a high premium for the Duramax engine compared to what they would

 have paid for a gas-powered engine, out-of-pocket losses by overpaying for the

 vehicles at the time of purchase, and future attempted repairs, future additional fuel


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 costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed

 Plaintiff or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to

 purchase.

          2.       Gregory Williams
          29.      Plaintiff Gregory Williams (for the purpose of this paragraph,

 “Plaintiff”) is an individual residing in Lodi, California. In or around September

 2016, Plaintiff purchased a new 2016 Chevrolet Silverado 2500HD from Chase

 Chevrolet, an authorized GM dealer in Stockton, California. Plaintiff purchased

 and still owns this vehicle. Unknown to Plaintiff at the time the vehicle was

 purchased, it only achieved its promised fuel economy and performance because it

 was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

 deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

 vehicle without proper emission controls has caused Plaintiff out-of-pocket loss in

 the form of overpayment at the time of purchase, and diminished value of his

 vehicle. GM knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their

 effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable but


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 mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and

 would retain all of its promised fuel economy and performance throughout its

 useful life. Plaintiff selected and ultimately purchased his vehicle, in part, because

 of the diesel system, as represented through advertisements and representations

 made by GM. Plaintiff recalls that before he purchased the vehicle, he reviewed

 advertisements on GM’s website and representations from GM’s authorized dealer

 touting the efficiency, fuel economy, and power and performance of the engine.

 Had GM disclosed this design or the fact that the vehicle actually emitted

 unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle

 or would have paid less for it. Plaintiff and each Class member has suffered an

 ascertainable loss as a result of GM’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the Duramax engine

 system, including but not limited to a high premium for the Duramax engine

 compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, decreased performance of the vehicles, and

 diminished value of the vehicles. Neither GM nor any of its agents, dealers, or

 other representatives informed Plaintiff or Class members of the existence of the




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 unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase.

 D.       Louisiana Plaintiffs

          1.       Joshua Herman
          30.      Plaintiff Joshua Herman (for the purpose of this paragraph,

 “Plaintiff”) is an individual residing in Sulphur, Louisiana. On June 4, 2016,

 Plaintiff purchased a new 2016 Silverado with a Duramax diesel engine from Billy

 Navarre Chevrolet, an authorized GM dealer in Sulphur, Louisiana. Plaintiff

 purchased and still owns this vehicle. Unknown to Plaintiff at the time the vehicle

 was purchased, it only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair,

 unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

 and leasing the vehicle without proper emission controls has caused Plaintiff out-

 of-pocket loss in the form of overpayment at the time of purchase, and diminished

 value of his vehicle. GM knew about, or recklessly disregarded, the inadequate

 emission controls during normal driving conditions, but did not disclose such facts

 or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable but

 mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and



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 would retain all of its promised fuel economy and performance throughout its

 useful life. Plaintiff selected and ultimately purchased his vehicle, in part, because

 of the diesel system, as represented through advertisements and representations

 made by GM. Plaintiff recalls that before he purchased the vehicle, he reviewed

 advertisements on GM’s website and representations from GM’s authorized dealer

 touting the efficiency, fuel economy, and power and performance of the engine.

 Had GM disclosed this design or the fact that the vehicle actually emitted

 unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle

 or would have paid less for it. Plaintiff and each Class member has suffered an

 ascertainable loss as a result of GM’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the Duramax engine

 system, including but not limited to a high premium for the Duramax engine

 compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, decreased performance of the vehicles, and

 diminished value of the vehicles. Neither GM nor any of its agents, dealers, or

 other representatives informed Plaintiff or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase.




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 E.       Michigan Plaintiff

          1.       Phillip Burns
          31.      Plaintiff Phillip Burns (for the purpose of this paragraph, “Plaintiff”)

 is an individual residing in South Boardman, Michigan. On or around September

 29, 2014, Plaintiff purchased a new 2015 Chevrolet Silverado 2500HD from

 Williams Chevrolet, an authorized GM dealer in Traverse City, Michigan. Plaintiff

 purchased and still owns this vehicle. Unknown to Plaintiff at the time the vehicle

 was purchased, it only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair,

 unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

 and leasing the vehicle without proper emission controls has caused Plaintiff out-

 of-pocket loss in the form of overpayment at the time of purchase, and diminished

 value of his vehicle. GM knew about, or recklessly disregarded, the inadequate

 emission controls during normal driving conditions, but did not disclose such facts

 or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable but

 mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and

 would retain all of its promised fuel economy and performance throughout its

 useful life. Plaintiff selected and ultimately purchased his vehicle, in part, because



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 of the diesel system, as represented through advertisements and representations

 made by GM. Plaintiff recalls that before he purchased the vehicle, he reviewed

 advertisements on GM’s website and representations from GM’s authorized dealer

 touting the efficiency, fuel economy, and power and performance of the engine.

 Had GM disclosed this design or the fact that the vehicle actually emitted

 unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle

 or would have paid less for it. Plaintiff and each Class member has suffered an

 ascertainable loss as a result of GM’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the Duramax engine

 system, including but not limited to a high premium for the Duramax engine

 compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, decreased performance of the vehicles, and

 diminished value of the vehicles. Neither GM nor any of its agents, dealers, or

 other representatives informed Plaintiff or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase.




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 F.       Nevada Plaintiff

          1.       Kurt Roberts
          32.      Plaintiff Kurt Roberts (for the purpose of this paragraph, “Plaintiff”)

 is an individual residing in Las Vegas, Nevada. In or around May 2015, Plaintiff

 purchased a used 2013 Chevrolet Silverado 3500HD from Dralle Chevrolet, an

 authorized GM dealer in Peotone, Illinois. Plaintiff purchased and still owns this

 vehicle. Unknown to Plaintiff at the time the vehicle was purchased, it only

 achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the vehicle without

 proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of purchase, and diminished value of his vehicle. GM

 knew about, or recklessly disregarded, the inadequate emission controls during

 normal driving conditions, but did not disclose such facts or their effects to

 Plaintiff, so Plaintiff purchased his vehicle on the reasonable but mistaken belief

 that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied with

 U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff

 selected and ultimately purchased his vehicle, in part, because of the diesel system,



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 as represented through advertisements and representations made by GM. Plaintiff

 recalls that before he purchased the vehicle, he reviewed advertisements on GM’s

 website and representations from GM’s authorized dealer touting the efficiency,

 fuel economy, and power and performance of the engine. Had GM disclosed this

 design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Plaintiff would not have purchased the vehicle or would have paid less

 for it. Plaintiff and each Class member has suffered an ascertainable loss as a result

 of GM’s omissions and/or misrepresentations and Defendants’ operation of a

 RICO enterprise associated with the Duramax engine system, including but not

 limited to a high premium for the Duramax engine compared to what they would

 have paid for a gas-powered engine, out-of-pocket losses by overpaying for the

 vehicles at the time of purchase, and future attempted repairs, future additional fuel

 costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed

 Plaintiff or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to

 purchase.




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 G.       New Jersey Plaintiff

          1.       Anthony Gadecki
          33.      Plaintiff Anthony Gadecki (for the purpose of this paragraph,

 “Plaintiff”) is an individual residing in Bordentown, New Jersey. On May 14,

 2013, Plaintiff purchased a used 2011 Silverado with a Duramax diesel engine

 from Star Buick & GMC, an authorized GM dealer in Easton, Pennsylvania.

 Plaintiff purchased and still owns this vehicle. Unknown to Plaintiff at the time the

 vehicle was purchased, it only achieved its promised fuel economy and

 performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

 unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing,

 selling, and leasing the vehicle without proper emission controls has caused

 Plaintiff out-of-pocket loss in the form of overpayment at the time of purchase, and

 diminished value of his vehicle. GM knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose

 such facts or their effects to Plaintiff, so Plaintiff purchased his vehicle on the

 reasonable but mistaken belief that his vehicle was a “clean diesel” and/or a “low

 emission diesel,” complied with U.S. emissions standards, was properly EPA-

 certified, and would retain all of its promised fuel economy and performance

 throughout its useful life. Plaintiff selected and ultimately purchased his vehicle, in



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 part, because of the Diesel system, as represented through advertisements and

 representations made by GM. Plaintiff recalls that before he purchased the vehicle,

 he reviewed advertisements on GM’s website and representations from GM’s

 authorized dealer touting the efficiency, fuel economy, and power and performance

 of the engine. Had GM disclosed this design or the fact that the vehicle actually

 emitted unlawfully high levels of pollutants, Plaintiff would not have purchased

 the vehicle or would have paid less for it. Plaintiff and each Class member has

 suffered an ascertainable loss as a result of GM’s omissions and/or

 misrepresentations and Defendants’ operation of a RICO enterprise associated with

 the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered

 engine, out-of-pocket losses by overpaying for the vehicles at the time of purchase,

 and future attempted repairs, future additional fuel costs, decreased performance of

 the vehicles, and diminished value of the vehicles. Neither GM nor any of its

 agents, dealers, or other representatives informed Plaintiff or Class members of the

 existence of the unlawfully high emissions and/or defective nature of the diesel

 engine system of the Polluting Vehicles prior to purchase.




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 H.       New Mexico Plaintiff

          1.       Cody McAvoy
          34.      Plaintiff Cody McAvoy (for the purpose of this paragraph, “Plaintiff”)

 is an individual residing in Fence Lake, New Mexico. On April 9, 2015, Plaintiff

 purchased a new 2015 Silverado with a Duramax diesel engine from Mountain

 View Chevrolet, an authorized GM dealer in Claremont, California. Plaintiff

 purchased and still owns this vehicle. Unknown to Plaintiff at the time the vehicle

 was purchased, it only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair,

 unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

 and leasing the vehicle without proper emission controls has caused Plaintiff out-

 of-pocket loss in the form of overpayment at the time of purchase, and diminished

 value of his vehicle. GM knew about, or recklessly disregarded, the inadequate

 emission controls during normal driving conditions, but did not disclose such facts

 or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable but

 mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and

 would retain all of its promised fuel economy and performance throughout its

 useful life. Plaintiff selected and ultimately purchased his vehicle, in part, because



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 of the Diesel system, as represented through advertisements and representations

 made by GM. Plaintiff recalls that before he purchased the vehicle, he reviewed

 advertisements on GM’s website and representations from GM’s authorized dealer

 touting the efficiency, fuel economy, and power and performance of the engine.

 Had GM disclosed this design or the fact that the vehicle actually emitted

 unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle

 or would have paid less for it. Plaintiff and each Class member has suffered an

 ascertainable loss as a result of GM’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the Duramax engine

 system, including but not limited to a high premium for the Duramax engine

 compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, decreased performance of the vehicles, and

 diminished value of the vehicles. Neither GM nor any of its agents, dealers, or

 other representatives informed Plaintiff or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase.




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 I.       Oregon Plaintiff

          1.       Keith Ash
          35.      Plaintiff Keith Ash (for the purpose of this paragraph, “Plaintiff”) is

 an individual residing in Sandy, Oregon. On March 25, 2017, Plaintiff purchased a

 used 2016 Chevrolet Silverado 2500HD from McLoughlin Chevrolet, an

 authorized GM dealer in Milwaukie, Oregon. Plaintiff purchased and still owns

 this vehicle. Unknown to Plaintiff at the time the vehicle was purchased, it only

 achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the vehicle without

 proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of purchase, and diminished value of his vehicle. GM

 knew about, or recklessly disregarded, the inadequate emission controls during

 normal driving conditions, but did not disclose such facts or their effects to

 Plaintiff, so Plaintiff purchased his vehicle on the reasonable but mistaken belief

 that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied with

 U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff

 selected and ultimately purchased his vehicle, in part, because of the diesel system,



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 as represented through advertisements and representations made by GM. Plaintiff

 recalls that before he purchased the vehicle, he reviewed advertisements on GM’s

 website and representations from GM’s authorized dealer touting the efficiency,

 fuel economy, and power and performance of the engine. Had GM disclosed this

 design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Plaintiff would not have purchased the vehicle or would have paid less

 for it. Plaintiff and each Class member has suffered an ascertainable loss as a result

 of GM’s omissions and/or misrepresentations and Defendants’ operation of a

 RICO enterprise associated with the Duramax engine system, including but not

 limited to a high premium for the Duramax engine compared to what they would

 have paid for a gas-powered engine, out-of-pocket losses by overpaying for the

 vehicles at the time of purchase, and future attempted repairs, future additional fuel

 costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed

 Plaintiff or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to

 purchase.




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 J.       Texas Plaintiffs

          1.       Matt Henderson
          36.      Plaintiff Matt Henderson (for the purpose of this paragraph,

 “Plaintiff”) is an individual residing in Coleman, Texas. In or around February

 2016, Plaintiff purchased a used 2015 Chevrolet Silverado 3500HD from Bayer

 Motor Company, an authorized GM dealer in Comanche, Texas. Plaintiff

 purchased and still owns this vehicle. Unknown to Plaintiff at the time the vehicle

 was purchased, it only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair,

 unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

 and leasing the vehicle without proper emission controls has caused Plaintiff out-

 of-pocket loss in the form of overpayment at the time of purchase, and diminished

 value of his vehicle. GM knew about, or recklessly disregarded, the inadequate

 emission controls during normal driving conditions, but did not disclose such facts

 or their effects to Plaintiff, so Plaintiff purchased his vehicle on the reasonable but

 mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and

 would retain all of its promised fuel economy and performance throughout its

 useful life. Plaintiff selected and ultimately purchased his vehicle, in part, because



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 of the diesel system, as represented through advertisements and representations

 made by GM. Plaintiff recalls that before he purchased the vehicle, he reviewed

 advertisements on GM’s website and representations from GM’s authorized dealer

 touting the efficiency, fuel economy, and power and performance of the engine.

 Had GM disclosed this design or the fact that the vehicle actually emitted

 unlawfully high levels of pollutants, Plaintiff would not have purchased the vehicle

 or would have paid less for it. Plaintiff and each Class member has suffered an

 ascertainable loss as a result of GM’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the Duramax engine

 system, including but not limited to a high premium for the Duramax engine

 compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, decreased performance of the vehicles, and

 diminished value of the vehicles. Neither GM nor any of its agents, dealers, or

 other representatives informed Plaintiff or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase.

          2.       James T. Crunkleton III.
          37.      Plaintiff James T. Crunkleton III (for the purpose of this paragraph,

 “Plaintiff”) is an individual residing in Waynesburg, Kentucky. On August 11,


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 2012 Plaintiff purchased a new 2012 GMC Sierra 3500 with a Duramax diesel

 engine from Vernon Auto Group, an authorized GM dealer in Vernon, Texas.

 Plaintiff purchased and still owns this vehicle. Unknown to Plaintiff at the time the

 vehicle was purchased, it only achieved its promised fuel economy and

 performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

 unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing,

 selling, and leasing the vehicle without proper emission controls has caused

 Plaintiff out-of-pocket loss in the form of overpayment at the time of purchase, and

 diminished value of his vehicle. GM knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose

 such facts or their effects to Plaintiff, so Plaintiff purchased his vehicle on the

 reasonable but mistaken belief that his vehicle was a “clean diesel” and/or a “low

 emission diesel,” complied with U.S. emissions standards, was properly EPA-

 certified, and would retain all of its promised fuel economy and performance

 throughout its useful life. Plaintiff selected and ultimately purchased his vehicle, in

 part, because of the diesel system, as represented through advertisements and

 representations made by GM. Plaintiff recalls that before he purchased the vehicle,

 he reviewed advertisements on GM’s website and representations from GM’s

 authorized dealer touting the efficiency, fuel economy, and power and performance


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 of the engine. Had GM disclosed this design or the fact that the vehicle actually

 emitted unlawfully high levels of pollutants, Plaintiff would not have purchased

 the vehicle or would have paid less for it. Plaintiff and each Class member has

 suffered an ascertainable loss as a result of GM’s omissions and/or

 misrepresentations and Defendants’ operation of a RICO enterprise associated with

 the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered

 engine, out-of-pocket losses by overpaying for the vehicles at the time of purchase,

 and future attempted repairs, future additional fuel costs, decreased performance of

 the vehicles, and diminished value of the vehicles. Neither GM nor any of its

 agents, dealers, or other representatives informed Plaintiff or Class members of the

 existence of the unlawfully high emissions and/or defective nature of the diesel

 engine system of the Polluting Vehicles prior to purchase.

          3.       Carrie Mizell
          38.      Plaintiff Carrie Mizell (for the purpose of this paragraph, “Plaintiff”)

 is an individual residing in Haslet, Texas. On December 9, 2011, Plaintiff

 purchased a new 2012 GMC Sierra from Freeman Buick-GMC, an authorized GM

 dealer in Grapevine, Texas. Plaintiff purchased and still owns this vehicle.

 Unknown to Plaintiff at the time the vehicle was purchased, it only achieved its

 promised fuel economy and performance because it was equipped with an


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 emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the vehicle without

 proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of purchase, and diminished value of her vehicle. GM

 knew about, or recklessly disregarded, the inadequate emission controls during

 normal driving conditions, but did not disclose such facts or their effects to

 Plaintiff, so Plaintiff purchased her vehicle on the reasonable but mistaken belief

 that her vehicle was a “clean diesel” and/or a “low emission diesel,” complied with

 U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff

 selected and ultimately purchased her vehicle, in part, because of the diesel system,

 as represented through advertisements and representations made by GM. Plaintiff

 recalls that before she purchased the vehicle, she reviewed advertisements on

 GM’s website and representations from GM’s authorized dealer touting the

 efficiency, fuel economy, and power and performance of the engine. Had GM

 disclosed this design or the fact that the vehicle actually emitted unlawfully high

 levels of pollutants, Plaintiff would not have purchased the vehicle or would have

 paid less for it. Plaintiff and each Class member has suffered an ascertainable loss

 as a result of GM’s omissions and/or misrepresentations and Defendants’ operation


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 of a RICO enterprise associated with the Duramax engine system, including but

 not limited to a high premium for the Duramax engine compared to what they

 would have paid for a gas-powered engine, out-of-pocket losses by overpaying for

 the vehicles at the time of purchase, and future attempted repairs, future additional

 fuel costs, decreased performance of the vehicles, and diminished value of the

 vehicles. Neither GM nor any of its agents, dealers, or other representatives

 informed Plaintiff or Class members of the existence of the unlawfully high

 emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

 K.       Defendants

          1.       General Motors
          39.      Defendant General Motors LLC (GM) is a Delaware limited liability

 company with its principal place of business located at 300 Renaissance Center,

 Detroit, Michigan, and is a citizen of the States of Delaware and Michigan. The

 sole member and owner of General Motors LLC is General Motors Holdings LLC.

 General Motors Holdings LLC is a Delaware limited liability company with its

 principal place of business in the State of Michigan.

          40.      GM, through its various entities, including Chevrolet and GMC,

 designs, manufactures, markets, distributes, and sells GM automobiles in this

 District and multiple other locations in the United States and worldwide. GM



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 and/or its agents designed, manufactured, and installed the GM engine systems in

 the Silverado and Sierra vehicles. GM also developed and disseminated the

 owner’s manuals and warranty booklets, brochures, advertisements, and other

 promotional materials relating to the Polluting Vehicles.

          2.       The Bosch Defendants

          41.      From at least 2005 to 2015, Robert Bosch GmbH, Robert Bosch LLC,

 and currently unnamed Bosch employees (together, “Bosch”) were knowing and

 active participants in the creation, development, marketing, and sale of illegal

 defeat devices specifically designed to evade U.S. emissions requirements in

 vehicles sold solely in the United States and Europe. These vehicles include the

 GM vehicles in this case and the Dodge Ram 1500 EcoDiesel and Jeep Grand

 Cherokee EcoDiesel, as well as numerous models made by Volkswagen, Audi,

 Porsche, and Mercedes.

          42.      The following is a list, excluding the GM vehicles in this case, of all

 diesel models in the United States with Bosch-supplied software whose emissions

 exceed federal and California emission standards and whose emissions are beyond

 what a reasonable consumer would expect from cars marketed as “clean” or “low

 emission”:




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          43.      Bosch participated not just in the development of the defeat device,

 but also in the scheme to prevent U.S. regulators from uncovering the device’s true

 functionality. Moreover, Bosch’s participation was not limited to engineering the

 defeat device (in a collaboration described as unusually close). Rather, Bosch

 GmbH and Bosch LLC marketed “clean diesel” in the United States and lobbied

 U.S. regulators to approve “clean diesel,” another highly unusual activity for a

 mere supplier. These lobbying efforts, taken together with evidence of Bosch’s

 actual knowledge that its software could be operated as a defeat device and



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 participation in concealing the true functionality of the device from U.S.

 regulators, can be interpreted only one way under U.S. law: Bosch was a knowing

 and active participant in a massive, decade-long conspiracy with Volkswagen,

 Audi, Mercedes, GM, and others to defraud U.S. consumers, regulators, and diesel

 car purchasers or lessees. Bosch GmbH and Bosch LLC have enabled over 1.3

 million vehicles to be on the road in the United States polluting at levels that

 exceed emissions standards and which use software that manipulate emissions

 controls in a manner not expected by a reasonable consumer.

          44.      Robert Bosch GmbH is a German multinational engineering and

 electronics company headquartered in Gerlingen, Germany. Robert Bosch GmbH

 is the parent company of Robert Bosch LLC. Robert Bosch GmbH, directly and/or

 through its North American subsidiary Robert Bosch LLC, at all material times,

 designed, manufactured, and supplied elements of the defeat device to GM for use

 in the Polluting Vehicles. Bosch GmbH is subject to the personal jurisdiction of

 this Court because it has availed itself of the laws of the United States through its

 management and control over Bosch LLC and over the design, development,

 manufacture, distribution, testing, and sale of hundreds of thousands of the defeat

 devices installed in the Polluting Vehicles sold or leased in the U.S. Employees of

 Bosch GmbH and Bosch LLC have collaborated in the emissions scheme with GM

 in this judicial district and have been present in this district.


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          45.      Robert Bosch LLC is a Delaware limited liability company with its

 principal place of business located at 38000 Hills Tech Drive, Farmington Hills,

 Michigan. Robert Bosch LLC is a wholly owned subsidiary of Robert Bosch

 GmbH. Robert Bosch LLC, directly and/or in conjunction with its parent Robert

 Bosch GmbH, at all material times, designed, manufactured, and supplied elements

 of the defeat device to GM for use in the Polluting Vehicles.

          46.      Both Bosch GmbH and Bosch LLC (together with Volkmar Denner,

 “Bosch”) operate under the umbrella of the Bosch Group, which encompasses

 some 340 subsidiaries and companies. The “Bosch Group” is divided into four

 business sectors: Mobility Solutions (formerly Automotive Technology), Industrial

 Technology, Consumer Goods, and Energy and Building Technology. The

 Mobility Solutions sector, which supplies parts to the automotive industry, and its

 Diesel Systems division, which develops, manufacturers and applies diesel

 systems, are particularly at issue here and include the relevant individuals at both

 Bosch GmbH and Bosch LLC. Bosch’s sectors and divisions are grouped not by

 location, but by subject matter. Mobility Solutions includes the individuals

 involved in the RICO enterprise and conspiracy at both Bosch GmbH and Bosch

 LLC. Some individuals worked at both Bosch LLC and Bosch GmbH during the

 course of the RICO conspiracy. The acts of individuals described in this Complaint

 have been associated with Bosch GmbH and Bosch LLC whenever possible.


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 Regardless of whether an individual works for Bosch LLC in the U.S. or Bosch

 GmbH in Germany, the individuals often hold themselves out as working for

 “Bosch.” This collective identity is captured by Bosch’s mission statement: “We

 are Bosch,” a unifying principle that links each entity and person within the Bosch

 Group.2 Bosch documents and press releases often refer to the source of the

 document as “Bosch” without identifying any particular Bosch entity. Thus, the

 identity of which Bosch defendant was the author of such documents and press

 releases cannot be ascertained with certainty until Bosch GmbH and Bosch LLC

 respond to discovery requests in this matter.

          47.      Bosch holds itself out to the world as one entity: “the Bosch Group.”

 The Diesel Systems division, which developed the EDC17, is described as part of

 the Bosch Group. In the case of the Mobility Solutions sector, which oversees the

 Diesel Systems Group, the Bosch Group competes with other large automotive

 suppliers.3

          48.      The Bosch publication Bosch in North America represents that “Bosch

 supplies . . . clean-diesel fuel technology for cars and trucks.” Throughout the




     2
      Exhibit 2, Bosch 2014 Annual Report, available at http://www.bosch.com/en/
 com/bosch_group/bosch_figures/publications/archive/archive-cg12.php.
    3
      See, e.g., Exhibit 3, Bosch’s 2016 Annual Report, available at
 https://assets.bosch.com/media/global/bosch_group/our_figures/pdf/bosch-annual-
 report-2016.pdf, at 23.
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 document describing its North American operations, the company refers to itself as

 “Bosch” or “the Bosch Group.”4

          49.      The Bosch in North America document proclaims that Automotive

 Technology is “Bosch’s largest business sector in North America.” In this

 publication, Bosch never describes the actions of any separate Bosch legal entity,

 like Bosch LLC, when describing its business, but always holds itself out as “the

 Bosch Group.”5

          50.      German authorities are now investigating Bosch GmbH and are

 focusing on certain Bosch employees:6

                   Three Bosch Managers Targeted as German Diesel
                   Probe Expands
                   A German probe into whether Robert Bosch GmbH
                   helped Volkswagen AG cheat on emissions tests
                   intensified as Stuttgart prosecutors said they were
                   focusing on three managers at the car-parts maker.
                   While Stuttgart prosecutors didn’t identify the
                   employees, the step indicates that investigators may have
                   found specific evidence in the probe. Previously,
                   prosecutors have said they were looking into the role
                   “unidentified” Bosch employees may have played in
                   providing software that was used to cheat on emission
                   tests.



     4
      Exhibit 4, Bosch in North America (May 2007), available at
 http://www.bosch.us/content/language1/downloads/BINA07.pdf, at 2.
    5
      Id. at 5.
    6
      Exhibit 5, Three Bosch Managers Targeted as German Diesel Probe Expands,
 Bloomberg (June 29, 2007), https://www.bloomberg.com/news/articles/2017-06-
 29/three-bosch-managers-targeted-as-german-diesel-probe-expands.


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                   “We have opened a probe against all three on suspicions
                   they aided fraud in connection to possible manipulation
                   in emissions treatments in VW cars,” Jan Holzner, a
                   spokesman for the agency, said in an emailed statement.
                   “ All of them are mangers with the highest in middle
                   management.”
                   Bosch, which is also being investigated by the U.S.
                   Department of Justice, has been caught up in the VW
                   diesel scandal that emerged in 2015 over allegations its
                   employees may have helped rig software that helped the
                   carmaker to cheat emission tests. Earlier this year,
                   Stuttgart prosecutors opened a similar probe into Bosch’s
                   role in connection with emission tests of Daimler cars.
                   A spokesman for Bosch said that while he can’t comment
                   on individual employees, the company “takes the overall
                   allegations in diesel cases seriously and has been
                   cooperating fully from the beginning of the probes.”
                   The Stuttgart probe is running parallel to the central
                   criminal investigation in Braunschweig, closer to VW’s
                   headquarters. That investigation is targeting nearly 40
                   people on fraud allegations related to diesel-emission
                   software, including former VW Chief Executive Officer
                   Martin Winterkorn.
                   Prosecutors’ interest extends to multiple units in the VW
                   family -- including luxury brands Audi and Porsche. In
                   addition, Stuttgart prosecutors are also reviewing a third
                   case related to Bosch’s cooperation with Fiat Chrysler
                   Automobiles NV on software for diesel engines.
          51.      Recently researchers from Rohr-Universität in Bochum, Germany,

 and University of California-San Diego uncovered Bosch’s role in connection with

 the manipulation of emission controls in certain Volkswagen and FCA vehicles.

 The researchers found no evidence that Volkswagen and FCA wrote the code that

 allowed the operation of defeat devices. All the code they analyzed was found in

 documents copyrighted by Robert Bosch GmbH. These researchers found that in

 the “function sheets” copyrighted by Robert Bosch GmbH, the code to cheat the


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 emissions test was labeled as modifying the “acoustic condition” of the engine, a

 label that helped the cheat fly under the radar. Given that GM cars have a Bosch

 EDC17 as did the cheating Volkswagen and FCA cars, and given testing by

 Plaintiffs’ experts described below that reveals defeat devices in GM cars, it is

 plausible to allege that Bosch was a participant in the scheme to hide the true

 emissions of Silverados and Sierras, and supplied a similar “function sheet” to GM

 to enable a similar emission deception.

                             V.    FACTUAL ALLEGATIONS

 A.       The Environmental Challenges Posed by Diesel Engines and the U.S.
          Regulatory Response Thereto
          52.      The United States government, through the Environmental Protection

 Agency, has passed and enforced laws designed to protect United States citizens

 from pollution and, in particular, certain chemicals and agents known to cause

 disease in humans. Automobile manufacturers must abide by these laws and must

 adhere to EPA rules and regulations.

          53.      The U.S. Clean Air Act has strict emissions standards for vehicles,

 and it requires vehicle manufacturers to certify to the EPA that the vehicles sold in

 the U.S. meet applicable federal emissions standards to control air pollution. Every

 vehicle sold in the U.S. must be covered by an EPA-issued certificate of

 conformity.




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          54.      There is a very good reason that these laws and regulations exist,

 particularly in regards to vehicles with diesel engines: in 2012, the World Health

 Organization declared diesel vehicle emissions to be carcinogenic and about as

 dangerous as asbestos.

          55.      Diesel engines pose a particularly difficult challenge to the

 environment because they have an inherent trade-off between power, fuel

 efficiency, and emissions: the greater the power and fuel efficiency, the dirtier and

 more harmful the emissions.

          56.      Instead of using a spark plug to combust highly refined fuel with short

 hydrocarbon chains, as gasoline engines do, diesel engines compress a mist of

 liquid fuel and air to very high temperatures and pressures, which causes the diesel

 to spontaneously combust. This causes a more powerful compression of the

 pistons, which produces greater engine torque (that is, more power).

          57.      The diesel engine is able to do this both because it operates at a higher

 compression ratio than a gasoline engine and because diesel fuel contains more

 energy than gasoline.

          58.      But this greater energy and fuel efficiency comes at a cost: diesel

 produces dirtier and more dangerous emissions. One byproduct of diesel

 combustion is oxides of nitrogen (NOx), which includes a variety of nitrogen and

 oxygen chemical compounds that only form at high temperatures.


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          59.      NOx pollution contributes to nitrogen dioxide, particulate matter in

 the air, and reacts with sunlight in the atmosphere to form ozone. Exposure to these

 pollutants has been linked with serious health dangers, including asthma attacks

 and other respiratory illnesses serious enough to send people to the hospital. Ozone

 and particulate matter exposure have been associated with premature death due to

 respiratory-related or cardiovascular-related effects. Children, the elderly, and

 people with pre-existing respiratory illness are at acute risk of health effects from

 these pollutants. As a ground level pollutant, NO2, a common byproduct of NOx

 reduction systems using an oxidation catalyst, is highly toxic in comparison to

 nitric oxide (NO). If overall NOx levels are not sufficiently controlled, then

 concentrations of NO2 levels at ground level can be quite high, where they have

 adverse acute health effects.

          60.      Though more efficient, diesel engines come with their own set of

 challenges, as emissions from diesel engines can include higher levels of NOx and

 particulate matter (PM) or soot than emissions from gasoline engines due to the

 different ways the different fuels combust and the different ways the resulting

 emissions are treated following combustion. Another way NOx emissions can be

 reduced is through exhaust gas recirculation or “EGR,” whereby exhaust gases are

 routed back into the intake of the engine and mixed with fresh incoming air.

 Exhaust gas recirculation lowers NOx by reducing the available oxygen increasing


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 the heat capacity of the exhaust gas mixture and by reducing maximum

 combustion temperatures; however, EGR can also lead to an increase in PM as

 well. Another way NOx and PM emissions can be reduced is through expensive

 exhaust gas after-treatment devices, primarily, catalytic converters, which use a

 series of chemical reactions to transform the chemical composition of a vehicle’s

 NOx emissions into less harmful, relatively inert, and nitrogen gas (N2), water

 (H2O) and carbon dioxide (CO2).

          61.      Diesel engines thus operate according to this trade-off between price,

 NOx, and PM, and for the EPA to designate a diesel car as a “clean” vehicle, it

 must produce both low PM and low NOx. In 2000, the EPA announced stricter

 emission standards requiring all diesel models starting in 2007 to produce

 drastically less NOx and PM than years prior. Before introducing an Affected

 Vehicle into the U.S. stream of commerce (or causing the same), GM was required

 to first apply for, and obtain, an EPA-administered COC certifying that the vehicle

 comported with the emission standards for pollutants enumerated in 40 C.F.R. §§

 86.1811-04, 86.1811-09, & 86.1811-10. The CAA expressly prohibits automakers,

 like GM, from introducing a new vehicle into the stream of commerce without a

 valid EPA COC. Moreover, vehicles must be accurately described in the COC

 application “in all material respects” to be deemed covered by a valid COC.

 California’s emission standards are even more stringent than those of the EPA.


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 California’s regulator, CARB, requires a similar application from automakers to

 obtain an Executive Order, confirming compliance with California’s emission

 regulations, before allowing the vehicle onto California’s roads.

 B.       Both the Silverado and Sierra Share a Common Duramax Engine
          62.      To meet the EPA emissions requirements applicable to 2011 vehicles

 GM introduced a new Duramax V8 diesel engine in both the Silverado and Sierra.

          63.      For the purposes of this complaint, the following terms are used to

 describe the Duramax engine found in all Silverado and Sierra vehicles at issue in

 this case. These two models share the same engine test group and are considered

 by EPA and ARB to have identical engines.

          64.      Common critical components of the Duramax engine are:

          1.       HCI – Hydrocarbon Injector
          65.      The hydrocarbon injector (HCI) is located in the turbocharger

 downpipe. It is simply a fuel injector used to inject diesel fuel into the exhaust

 stream during active regeneration (cleaning of the diesel particulate filter). This

 active regeneration strategy is unique as the previous version allowed fuel to be

 injected into the cylinder during the exhaust stroke instead of utilizing a separate

 injector.

          2.       DOC – Diesel Oxidation Catalyst
          66.      The diesel oxidation catalyst (DOC) converts hydrocarbons and

 carbon monoxide into water and carbon dioxide through an oxidization reaction.

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 The DOC also converts nitric oxide to nitrogen dioxide to generate favorable

 conditions for the reduction of NOx in the SCR system downstream of the DOC.

 Finally, the DOC oxidizes fuel injected from the HCI to generate the temperatures

 required for active regeneration.

          3.       Diesel Exhaust Fluid Injector

          67.      The diesel exhaust fluid (DEF) is injected downstream of the DOC.

 DEF is composed of 32.5% urea (its active ingredient), distilled water, and a very

 small amount of additives. Because of its urea content, some people call the

 process “urea injection.” DEF is required for the selective catalytic reduction

 process to occur. The heat of the exhaust converts the DEF into carbon dioxide and

 ammonia.

          4.       SCR – Selective Catalytic Reduction
          68.      Once DEF is added to the exhaust, it travels through the selective

 catalytic reduction (SCR) catalyst. Here, oxides of nitrogen (NOx) are converted to

 nitrogen gas (N2) and water (H2O) by means of a reduction reaction. The SCR

 system significantly reduces NOx emissions, reducing the frequency of active

 regeneration cycles and allowing for more freedom in the calibration of the engine.

 The drawback of SCR is its increased complexity and the need to carry and

 replenish the urea fluid (also known by its trademark name AdBlue).




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          5.       DPF – Diesel Particulate Filter
          69.      Once the exhaust stream has been treated by the DOC and SCR, it

 travels through the diesel particulate filter (DPF), where particulate matter (soot) is

 trapped and stored. The DPF is cleaned through a process known as regeneration,

 which is divided into two strategies. Passive regeneration occurs at any time the

 vehicle is being operated and the exhaust gas temperature is high enough to burn

 the particulate matter trapped by the filter. It is a continuously occurring process,

 meaning that it naturally occurs whenever the conditions are met under normal

 operation. Active regeneration occurs only when the engine senses that the DPF

 needs to be cleaned as the DPF is approaching maximum capacity and generating

 too much exhaust backpressure. When active regeneration occurs, fuel is injected

 into the exhaust stream via the HCI to increase the exhaust gas temperature so that

 the particulate matter can be burned off at carbon’s non-catalytic oxidation

 temperature. Active regeneration dramatically reduces fuel economy since fuel is

 being used for purposes other than moving the vehicle. The exhaust system

 features a specifically designed air-cooled exhaust tip to reduce the heat of the

 exhaust gases as they are expelled. While the DPF is highly effective at trapping

 particulates, as the amount of particulates accumulates, the resistance to air flow

 increases also, increasing the load of the engine. To purge the DPF of accumulated

 deposits, it must undergo a regeneration cycle approximately every 500 km, lasting


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 about 30 minutes. DPF regeneration requires high exhaust temperatures of

 approximately 600°C that are almost never achieved under normal engine

 operating conditions. Unfortunately, these conditions may not arise in normal

 urban driving, requiring the ECU to perform active regeneration. In this mode, the

 ECU adjusts engine operation to increase exhaust temperature to regenerate the

 DPF; however, if the vehicle is only driven for short distances, such a temperature

 may never be reached. At sufficiently high soot load, the vehicle will illuminate a

 special warning lamp, prompting the driver to drive the vehicle at increased speed

 to allow active regeneration to take place. Thus, while the DPF is highly effective

 at reducing particulate emissions, it imposes a performance penalty and can

 become a hassle for owners who drive their vehicle for short distances.

          6.       EGR – Exhaust Gas Recirculation
          70.      Exhaust gas recirculation (EGR) is used to reduce NOx emissions.

 Since oxides of nitrogen form in oxygen rich, high temperature environments,

 introducing exhaust gases back into the intake air charge reduces the amount of

 these compounds that form. Exhaust gas recirculation is not a new technology and

 has been regularly used on diesel engines for many years.




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          71.      The following is a depiction of these components:




 C.       Emission Test Cycles and Emission Standards
          72.      An emissions test cycle defines a protocol that enables repeatable and

 comparable measurements of exhaust emissions to evaluate compliance. The

 protocol specifies all conditions under which the engine is tested, including lab

 temperature and vehicle conditions. Most importantly, the test cycle defines the

 speed and load over time that is used to simulate a typical driving scenario. An

 example of a driving cycle is shown in Figure A. This graph represents the FTP-75

 (Federal Test Procedure) cycle that has been created by the EPA and is used for

 emission certification and fuel economy testing of light-duty vehicles in the U.S.

 The cycle simulates an urban route with frequent stops, combined with both a cold

 and a hot start transient phase. The cycle lasts 1,877 seconds (about 31 minutes)

 and covers a distance of 11.04 miles (17.77 km) at an average speed of 21.2 mph

 (34.12 km/h).

                                                 
                                                 
                                                 


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                                            Figure A 




          73.      Besides urban test cycles such as FTP-75, there are also cycles that

 simulate driving patterns under different conditions. To assess conformance,

 several of these tests are carried out on a chassis dynamometer, a fixture that holds

 a car in place while allowing its drive wheel to turn with varying resistance.

 Emissions are measured during the test and compared to an emissions standard that

 defines the maximum pollutant levels that can be released during such a test. In the

 U.S., emissions standards are managed on a national level by the EPA. In addition,

 California has its own emissions standards that are defined and enforced by the

 California Air Resources Board (CARB). California standards are also used by a

 number of other states (“Section 177” states). Together with California, these states

 cover a significant fraction of the U.S. market, making them a de facto second




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 national standard. In Europe, the emissions standards are called Euro 1 through

 Euro 6, where Euro 6 is the most recent standard—in effect since September 2014.

          74.      The FTP-75 is the primary dynamometer cycle used to certify the

 light- and medium-duty passenger cars/trucks. This cycle is primarily a dynamic

 cycle, with rapid changes in speed and acceleration meant to reflect city driving

 along with some steadier higher speed sections meant to account for some highway

 driving.

          75.      One critically important thing to understand about the FTP-75 is that

 it’s a “cold start” cycle. That means the vehicle starts the cycle with the engine

 having been off for at least eight hours and in a completely cold state. The “cold

 start” portion of the test is challenging for diesel engines like the Duramax

 employing SCR because catalysts meant to control emissions are not yet at

 temperatures where they work (i.e., above their “light-off” temperature).

 D.       GM Profited from Using Multiple Defeat Devices in Its Duramax Diesel
          Powertrains

          76.      As noted, the Duramax exhaust treatment system consists of four

 components: the Exhaust Gas Recirculation System (EGR); the Diesel Oxidation

 Catalyst (DOC); the Selective Catalytic Reduction (SCR); and the Diesel

 Particulate Filter (DPF). The DPF traps particulate pollutants (like soot) but has to

 regenerate regularly in order to maintain low exhaust backpressure. There are two

 ways the DPF can regenerate: passively through catalysts built into the components

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 (Passive Regeneration) that use NO2 (nitrogen dioxide) as the primary oxidizer,

 and actively, where the engine and HCI generate temperatures high enough to

 oxidize trapped carbon via direct (i.e., non-catalytic) oxidation (Active

 Regeneration). Active Regenerations generally, though not always, require the

 vehicle to be driven at highway speeds for a continuous period. Active

 Regeneration reduces fuel economy, decreasing miles per gallon and engine

 efficiency. Thus, manufacturers like GM seek to minimize Active Regeneration

 cycles. Active Regeneration also leads to excessive NOx and reduces the life span

 of the SCR catalyst as the high temperatures drive hydrothermal aging and

 deactivation of the SCR catalyst.

          77.      Passive regeneration relies on the presence of NOx (specifically NO2)

 to catalytically oxidize captured soot. The catalyst oxidizes nitric oxide to nitrogen

 dioxide, which then reacts at relatively low temperatures to oxidize and remove

 captured soot. That is, it works best when the exhaust passing through the DPF still

 contains high levels of NOx pollutants that trigger the catalyst to regenerate the

 filter. As a result, most diesel engine manufacturers put the DOC upstream of the

 SCR system where NOx concentrations are still relatively high and the DPF is

 more likely to regenerate via the passive regeneration mechanism.7


     7
      Exhibit 6, Hannu Jääskeläinen et al., Heavy-Duty Diesel Engines with
 Aftertreatment, DieselNet (Dec. 2016), https://www.dieselnet.com/tech/engine_
 heavy-duty_aftertreatment.php.
                                            - 56 -
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          78.      While the SCR is very effective at reducing NOx emissions, it

 requires hot exhaust for the urea catalyst to function properly. Thus, when it is

 placed downstream of the DPF, so as to increase Passive Regeneration and

 decrease the need for Active Regeneration, the system takes some time to warm up

 and does not work well when the engine system is cold. The DPF absorbs much of

 the heat during exhaust warmup and delays the time for the SCR catalyst to reach

 its light-off temperature.

          79.      But emissions testing to allow trucks such as those at issue here to be

 sold in the United States requires a “cold start” emissions measurement. That is,

 trucks must emit low levels of NOx even when they have just started and are not

 yet operating at high exhaust temperatures. GM did not want to increase Engine

 Gas Recirculation (EGR) or use other inefficient methods to reduce “cold start”

 emissions, so it departed from the DOC–DPF–SCR order that other manufacturers

 use and designed its Duramax engines with the SCR system closer to the engine

 than the DPF. In the Duramax, the order is as follows:




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          80.      This configuration allows the SCR system to warm up sooner, thus

 allowing sufficiently reduced NOx emissions to pass the cold start test required for

 certification. But there is a catch. Because the NOx is reduced before the exhaust

 reaches the DPF filter, there is little Passive Regeneration in the DPF. Without

 relatively high NOx levels going into the DPF, more active regenerations would be

 required, resulting in reduced fuel economy, reduced lifetime of the SCR catalysts,

 and a significant increase in overall NOx emissions.

          81.      GM was unwilling to leave the lucrative diesel market to other

 manufacturers. Unknown to GM other manufacturers, like FCA, also were unable

 to meet the new emission requirements. So, unwilling to be left behind, GM

 plunged ahead.

          82.      GM’s solution to its problem was to use at least three separate “defeat

 devices” to increase engine power and efficiency, increase NOx levels into the

 DPF, and decrease the need for Active Regeneration. These defeat devices are

 explained in detail below. GM could not meet the new and tougher emissions


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 requirements effective in 2011 without these devices. GM cared not that these

 defeat devices caused the Duramax engine to emit 1.5 to 5.5 times the permissible

 limit for deadly NOx pollutants during real-world driving.

          83.      The defeat devices solved GM’s problem by decreasing the dosing of

 urea used by the SCR system and reducing the overall EGR rate: above (Defeat

 Device 1) and below (Defeat Device 2) the narrow temperature band in which

 certification testing is performed (68-86°F); and decreasing the dose of the SCR

 system and rate of EGR (Defeat Device 3) after 5-8 minutes of relatively constant

 engine speed (which never happens during an emissions test). By decreasing the

 dosing of urea, the SCR allows more NOx to pass through to the DPF, thus

 increasing Passive Regeneration in the DPF and decreasing the need for Active

 Regenerations, which reduce fuel economy, reduce the lifetime of the SCR

 catalysts, and result in significant increases in overall NOx emissions. Reduced

 urea dosing has the added advantage of lower urea consumption, which means

 lower operating costs and longer service intervals between having to fill the urea

 catalyst tank.

          84.      Thus, by putting the SCR in front of the DPF and employing the

 defeat devices, GM was able to market and sell Duramax-equipped trucks with

 power and efficiency characteristics that made them very appealing but also caused

 illegal levels of deadly NOx pollution. If GM had not employed illegal defeat


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 devices, then its trucks would have been less efficient and less powerful, meaning

 that GM would not have sold as many and would not have been able to charge a

 premium for them.

 E.       GM Promoted the Silverado and Sierra Duramax as Low Emission
          Vehicles Because It Knew the Environment Is Material to a Reasonable
          Consumer

          85.      GM understood that a vehicle’s pollution footprint is a factor in a

 reasonable consumer’s decision to purchase a vehicle. GM, in press releases,

 owner’s manuals, and brochures that it intended to reach the eyes of consumers,

 promoted the Duramax engine as delivering “low emissions” or having “reduced

 NOx emissions.” GM was acutely aware of this due to the public perception that

 diesels are “dirty.”

          86.      Here is an example of GM promoting clean diesel:8




      8
      Exhibit 7, Five Diesel Myths Debunked, GM, available at
 http://www.torquenews.com/sites/default/files/image-119/%5Btitle-raw%5D/
 dieselmyths_v2.jpg (last accessed May 24, 2017).
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          87.      The following are examples of GM advertising promoting lower

 emissions, power, and fuel economy.

          1.       Silverado advertising promises “a remarkable reduction” in
                   emissions and fuel economy.
          88.      GM’s brochure for the Sierra Duramax engine promised “low

 emissions” and “great power”:9

                   DIRECT INJECTION TECHNOLOGY
                   For fast starts in cold weather, quiet operation and
                   maximum efficiency, the direct injection system helps
                   Sierra HD with the available DURAMAX diesel engine
                   start in as little as 3 seconds at -40°C and operates at
                   nearly 30,000 psi to turn heavy diesel fuel into a fine
                   mist, delivering low emissions and great power.




     9
      Exhibit 8, 2016 Sierra 2500, GMC, http://www.gmc.com/previous-year/
 sierra-2500hd-pickup-truck.html (last accessed May 24, 2017) (emphasis added).
                                             - 61 -
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          89.      A 2011 Silverado GM publication promised a 63% reduction in

 emissions over the previous model and more horsepower and torque:10

                   New system reduces tailpipe NOx emissions
                   The enhanced, legendary Duramax 6.6L Turbo-Diesel is
                   the most powerful Duramax ever built-generating more
                   horsepower and torque than any competitor. This proven
                   powerplant gets the job done while being friendlier to the
                   environment.
                   The improved Duramax uses the latest emission control
                   technology, reducing Nitrogen Oxide (NOx) emissions by
                   a whopping 63%, when compared to the 2010 model.
                   GM engineers determined the best way to accomplish
                   this remarkable reduction of diesel emissions was to
                   employ a Selective Catalytic Reduction (SCR) system
                   that uses Diesel Exhaust Fluid (DEF).
                   Diesel exhaust fluid (DEF)
                   Diesel Exhaust Fluid (DEF) is a non-flammable fluid
                   comprised of 33% ammonia-based urea and 67% purified
                   water. DEF is used with diesel engine exhaust systems to
                   reduce the amount of emissions produced by turning
                   Nitrogen Oxide (NOx) into nitrogen and water vapor.
                   DEF technology has a proven track record since it has
                   been used in Europe for years.
          90.      The GM 2011 publication represented that the Duramax “runs

 cleaner.”11




     10
      Exhibit 9, Using Diesel Exhaust Fluid with the Duramax 6.6L Turbo-Diesel,
 Chevrolet (emphasis added).
   11
      Id.
                                             - 62 -
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           91.     The publication went into detail concerning emissions reduction:12




     12
          Id.
                                             - 63 -
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           92.    The 2011 document contained additional information on reducing

 emissions:13




     13
          Id.
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          93.      A 2011 advertisement for the Duramax engine stated:14

                   6.6L Duramax LML
                   Duramax LML SPECS & INFO
                   The LML Duramax was released for 2011 model General
                   Motors & Chevrolet HD trucks. The latest version of the
                   6.6L Duramax requires advanced emissions equipment,
                   including the use of diesel exhaust fluid injection, to
                   reduce nitrogen oxide emission levels by 63 percent over
                   LMM powered trucks.
          94.      Elsewhere, this document promises a reduction in NOx:15

                   LML Duramax DEF
                   The LML Duramax is equipped with a SCR system that
                   requires the use of DEF (diesel exhaust fluid). DEF is
                   injected into the exhaust stream where a chemical
                   reaction occurs that reduces NOx emissions. The DEF
                   tank is approximately 5 gallons (18.9 liters). On pickup
                   trucks, the DEF tank fill nozzle is located on the
                   passenger side, under the hood and is sealed by a blue
                   cap. On vans, the DEF tank fill nozzle is located in the
                   fuel fill door, and is also sealed by a blue cap. The DEF
                   system will illuminate a warning indicator in the
                   instrument panel when the DEF fluid levels range is
                   estimated to be 1,000 miles. Subsequent warnings will
                   follow.
          95.      A press release for the 2013 Silverado 2500 and 3500 indicates that

 “Highlights of the Duramax diesel include . . . greater fuel efficiency, improved

 performance and reduced emissions.”16



     14
       Exhibit 10, 6.6L Duramax LML, Duramax Hub,
 http://www.duramaxhub.com/lml.html (last accessed May 24, 2017) (emphasis
 added).
    15
       Id.
    16
       Exhibit 11, GM Press Release, Chevrolet Silverado 2500HD and 3500HD,
 available at https://media.gm.com/content/media/us/en/chevrolet/vehicles/
                                             - 65 -
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          96.      A brochure for the 2014 Silverado promised fuel efficiency and lower

 emissions:17

                   FUEL EFFICIENCY
                   On the Vortec 6.0L V8 engine, Variable Valve Timing
                   (VVT) adjusts airflow in and out of the combustion
                   chamber under all engine speeds, which helps lower
                   emissions and improve fuel economy.
          2.       Sierra advertising promises emissions and fuel economy.
          97.      The Sierra 2500 and 3500 was introduced in 2011. GMC promised

 that the Duramax Diesel “delivers 11 percent better highway fuel economy than

 previous models.” GMC also promised that the engine turned the diesel by-product

 into a fine mist that results in “lower emissions”:18




 silveradohd/2013/_jcr_content/iconrow/textfile/file.res/13_PG_Chevrolet
 _SilveradoHD.pdf (last accessed Aug. 3, 2017).
     17
     18
        Exhibit 12, 2014 Silverado HD brochure, at 5.
        Exhibit 13, 2011 GMC Sierra Heavy Duty brochure, available at
 https://www.gmc.com/content/dam/GMC/global/master/nscwebsite/en/home/Tools
 /Download_A_Brochure/01_Images/2011-sierra-2500-and-3500-brochure.pdf (last
 accessed Aug. 3, 2017).

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          98.      GM’s advertising for the Sierra consistently featured claims of “low

 emissions” and great power:19

                   2016 GMC Sierra 2500HD
                   DIRECT INJECTION TECHNOLOGY
                   For fast starts in cold weather, quiet operation and
                   maximum efficiency, the direct injection system helps

     19
       Exhibit 8, 2016 Sierra 2500, GMC, http://www.gmc.com/previous-year/
 sierra-2500hd-pickup-truck.html (last accessed May 24, 2017) (emphasis added).
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                   Sierra HD with the available Duramax diesel engine start
                   in as little as 3 seconds at -40°C and operates at nearly
                   30,000 psi to turn heavy diesel fuel into a fine mist,
                   delivering low emissions and great power.
          99.      An owner’s manual for the 2011 Duramax vehicles promised a

 “whopping reduction” in emissions:20

                   NEW SYSTEM REDUCES TAILPIPE NOx
                   EMISSIONS
                   The enhanced, legendary Duramax 6.6L Turbo-Diesel is
                   the most powerful Duramax ever built-generating more
                   horsepower and torque than any competitor. This proven
                   powerplant gets the job done while being friendlier to the
                   environment.
                   The improved Duramax uses the latest emission control
                   technology, reducing Nitrogen Oxide (NOx) emissions
                   by a whopping 63%, when compared to the 2010 model.
                   GM engineers determined the best way to accomplish
                   this remarkable reduction of diesel emissions was to
                   employ a Selective Catalytic Reduction (SCR) system
                   that uses Diesel Exhaust Fluid (DEF).
          100. A 2011 GM press release promised more power and lower

 emissions:21

                   New 6.6L Duramax diesel delivering more power, up to
                   11-percent greater highway fuel economy up to 63-
                   percent lower emissions, B20 biodiesel capability and
                   quicker acceleration
          101. Another example, from the 2015 GMC Sierra 2500HD brochure,

 promises “lower emissions”:22

     20
        Exhibit 9, Using Diesel Exhaust Fluid with the Duramax 6.6L Turbo-Diesel,
 Chevrolet (emphasis added).
     21
        Exhibit 14, 2011 GMC Sierra 2500HD Denali 2500HD highlights and
 information, GMC Pressroom, http://media.gmc.com/media/us/en/gmc/vehicles/
 sierra_hd/2011.brand_gmc.html (last accessed May 24, 2017).
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                   FOR FASTER STARTS IN COLD WEATHER,
                   QUIETER OPERATION AND MAXIMUM
                   EFFICIENCY, DIRECT INJECTION HELPS THE
                   AVAILABLE DURAMAX DIESEL START IN AS
                   LITTLE AS 3.0 SECONDS AT -40QF AND OPERATE
                   AT NEARLY 30,000 PSI TO TURN HEAVY DIESEL
                   FUEL INTO A FINE MIST, BURNING CLEANER
                   AND FASTER WITH LOWER EMISSIONS AND
                   GREATER POWER THAN THE PREVIOUS MODEL.
          102. An advertisement for the 2014 GMC Sierra 2500HD promises “lower

 emissions”:23

                   Duramax HIGH-PRESSURE DIRECT INJECTION For
                   fast starts in cold weather, quieter operation and
                   maximum efficiency, the direct-injection system operates
                   at nearly 30,000 psi to turn heavy diesel fuel into a fine
                   mist, burning clean and fast with lower emissions.
          103. An advertisement for the 2013 GMC Sierra 2500HD promises

 “reduced emissions and a better fuel budget”:24

                   Duramax B20 BIODIESEL CAPABILITY To reduce
                   carbon dioxide emissions and stretch your fuel budget,
                   the Duramax 6.6L can operate on B20 biodiesel a mix of
                   20 percent biodiesel from domestic, renewable resources,
                   and 80 percent petroleum diesel.
          104. An advertisement for the 2012 GMC Sierra 2500HD promises “clean

 and lower emissions”:25

     22
        Exhibit 15, 2015 GMC Sierra 2500HD brochure, available at
 http://www.auto-brochures.com/makes/GMC/Sierra/GMC_US%20SierraHD_
 2015-2.pdf (last accessed May 24, 2017) (emphasis added).
     23
        Exhibit 16, 2014 GMC Sierra 2500HD brochure, available at
 http://www.auto-brochures.com/makes/GMC/Sierra/GMC_US%20SierraHD_
 2014.pdf (last accessed May 24, 2017) (emphasis added).
     24
        Exhibit 17, 2013 GMC Sierra 2500HD brochure, available at
 http://www.auto-brochures.com/makes/GMC/Sierra/GMC_US%20Sierra 2013.pdf
 (last accessed May 24, 2017).
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                   Duramax HIGH-PRESSURE DIRECT INJECTION For
                   fast starts in cold weather, quieter operation and
                   maximum efficiency, the direct injection system operates
                   at nearly 30,000 psi to turn heavy diesel fuel into a fine
                   mist, burning clean and fast with lower emissions and
                   greater power than the previous model.
           105. A brochure for the 2013 Sierra promotes “cleaner” emissions:

                   DURAMAX HIGH-PRESSURE DIRECT
                   INJECTION
                   For fast starts in cold weather, quieter operation and
                   maximum efficiency, the direct injection system operates
                   at nearly 30,000 psi to turn heavy diesel fuel into a fine
                   mist, burning cleaner and faster with lower emissions and
                   greater power than the previous model.
           106. A brochure for the 2014 Sierra promises to have been “born of a strict

 adherence to engineering excellence,” and lower emissions:

                   DURAMAX HIGH-PRESSURE DIRECT
                   INJECTION
                   For fast starts in cold weather, quieter operation and
                   maximum efficiency, the direct-injection system operates
                   at nearly 30,000 psi to turn heavy diesel fuel into a fine
                   mist, burning clean and fast with lower emissions.
 F.        The Deception

           1.      The 2013 Silverado 2500 diesel test setup.
           107. Plaintiffs have extensively tested a 2013 Silverado 2500 diesel using a

 Portable Emissions Measurement System (PEMS).




      25
       Exhibit 18, 2012 GMC Sierra 2500HD brochure, available at
 http://www.auto-brochures.com/makes/GMC/Sierra/GMC_US%20Sierra 2012.pdf
 (last accessed May 24, 2017).
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          108. The vehicle is representative of the class of Duramax diesel engines

 present in both the Chevrolet Silverado and GMC Sierra model years 2011 to

 2016. The population of both the 2500 series and 3500 is large, though the

 population will most certainly be dominated by the 2500 series. For this reason, a

 2500 series was chosen.

          109. The vehicle as acquired had approximately 51,000 miles. It is

 therefore less than mid-way through its full useful life and is still covered under the

 emissions warranty. Furthermore, the vehicle was factory certified at the time of

 purchase.

          110. The vehicle went through a rigorous check-in process. The vehicle

 was placed on a hydraulic rack, the underbody cowlings were removed, and the

 emission control system was examined to confirm the configuration was as

 expected and that parts were intact and free from damage. The emissions tag was

 analyzed and compared to the expected emission control group to ensure beyond a

 shadow of a doubt that the right engine was present and is being compared to the

 right certified emission standard.

          111. The vehicle was also checked for engine faults and maintenance to

 ensure the maintenance records are clean and that there are no fault codes related to

 the emission control system. In this case, the vehicle purchased was factory

 certified, as previously mentioned.


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          112. The tire pressure and vehicle weight were checked, and the vehicle

 was loaded to the weight for the test configuration, in this case 9,500 lbs, so that

 the configuration is equivalent to the certification configuration.

          2.       Initial results indicate higher than expected emissions.
          113. Testing confirmed that the vehicle complies with emissions standards

 at the temperature windows where the emissions test is performed for certification.

 But the NOx emissions increase significantly when the temperature is below 68ºF

 or above 86ºF. This means that GM, using software supplied by Bosch, employs a

 “defeat device” that allows the vehicle to meet emissions standards in the test

 temperature range. At all other times, NOx is allowed to be emitted in a much

 greater amount.

          114. Plaintiffs’ experts created a special program that is specific to each

 vehicle to allow communication with the vehicle’s computer (ECM) in order to

 extract important operational information like exhaust temperatures, EGR rates,

 NOx concentrations upstream of the SCR catalysts, and other information the

 vehicle’s computer might collect.

          115. The Silverado was certified at 100 mg/mile for the highway fuel

 economy standard test (HWFET), where the standard is 400 mg/mile. Initial testing

 at steady 60 mph speeds indicated emissions of 533 mg/mile on flat roads or 1.3




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 times the standard. The Silverado’s emission on flat roads for the stop and go

 standard was 538 mg/mile or 2.7 times the standard of 200 mg/mile.

          116. Further testing was done in stop and go conditions with average

 speeds and relative positive acceleration values that correlate well with the FTP-75

 emissions cycle. The blue dots show data where the defeat device below 68°F is

 active; the green dots represent conditions within the certification temperature

 window (68°F-86°F); the red dots represent data where the defeat device above

 86°F is active. The vertical blue lines represent the temperature limits of the test

 standard for the test cycle, while the horizontal red line represents the emission

 standard.




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          117. One important point must be emphasized in analyzing this data. The

 PEMS temperature sensor, which collects ambient temperature data, is mounted on

 top of the vehicle (i.e., at roof level), shielded from the sun by horizontal white

 metal fins, and well ventilated. This is the ideal setup to collect the true ambient

 temperature of the surroundings without complication from the sun’s radiant heat

 or stagnant heating because of poor flow.

          118. The vehicle’s ambient temperature sensor, by contrast, is usually

 mounted in front of the radiator close to the road. These sensors are not necessarily



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 shielded from the sun and are highly susceptible to false readings at high ambient

 temperatures from heat generated by hot black top.

          119. When it comes to a defeat device based on ambient temperature,

 obviously the vehicle will be using its own sensors to trigger the defeat. There are

 several temperature sensors in the intake manifold for the engine, any combination

 of which could be used to trigger a defeat device (in addition to the possible use of

 the ambient temperature sensor). The temperature sensors may not directly

 measure ambient temperature but are certainly related to ambient temperature.

 Therefore, the cutoff temperatures, as measured by the PEMS ambient temperature

 sensor, are not necessarily exactly 68°F or 86°F.

          120. It should be noted that the effect of ambient temperature on the inlet

 NOx concentrations, the inlet temperature to the SCR catalyst, and outlet

 temperature of the SCR catalyst were studied to rule out the possibility of delayed

 light-off because of low ambient temperature. When compared to cold start

 conditions within the certification temperature window, the cold start temperatures

 into and out of the SCR catalyst as well as the NOx concentrations into the SCR

 catalyst were found to be the same. Thus, the effect of ambient temperature on its

 own was ruled out as the cause of the high cold start emissions at cold temperature.

 Clearly, the engine was programmed to produce higher emissions at temperatures

 below 68°F.


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          121. The points labeled with a “C” are cold start tests, with distances,

 RPAs (relative positive accelerations), average speeds, and overall distance that

 represent very well the characteristics of the FTP-75 certification cycle. In the case

 of temperatures below 68°F, cold start emissions exceed the standard by a factor of

 2.1 at 428 mg/mile of NOx with a maximum of 483 mg/mile. During active

 regenerations, emissions are 1,402 mg/mile on average, or 7 times the emission

 standard. In the certification temperature window, cold start emissions are 178

 mg/mile, which is close to the certification emissions of 200 mg/mile and below

 the standard of 200 mg/mile. At temperatures above 86°F, cold start emissions

 were not examined in great detail because hot start emissions were so far in excess

 of the standard. On average, emissions above 86°F are 479 mg/mile (2.4 times the

 standard), with excursions as high 1,153 mg/mile (5.8 times the standard).

          122. It should be noted, significantly, that the same high temperature

 behavior was observed in the Chevrolet Cruze and is part of that vehicle’s defeat

 strategy. Given that the Silverado is a Chevrolet product, it is not surprising that

 the same defeat strategy was employed.

          123. Based on a study of temperatures in 30 major metropolitan areas as

 well as the demographics of Silverado sales, it is estimated that the high

 temperature defeat device is active 30-35% of the total population vehicle miles

 traveled (VMT). Similar estimates show that the cold temperature defeat device is


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 active approximately 35% of the VMT. In total, these two defeat devices are active

 65-70% of VMT with emissions that are 2.1 to 5.8 times the standard.

          124. This type of emissions performance is not what a reasonable

 consumer would expect from a vehicle that “turns NOx into nitrogen and water

 vapor,” or “into a fine mist,” or “reduces emissions by a whopping amount.”

          3.       Further testing demonstrates that GM—enabled by Bosch’s
                   EDC17—employs three defeat devices.
          125. Further testing was conducted so that the vehicle was tested for over

 3,500 miles and over a wide range of conditions.

          126. Testing confirms the existence of three “defeat devices.” The three

 cheats, or defeat devices, are:

                   Defeat Device One:

                   The vehicles produce emissions above the certification tests at
                   temperatures above the certification range (86ºF).

                   Defeat Device Two:

                   The vehicles produce higher emissions when temperatures are below
                   the certification test range (68ºF).

                   Defeat Device Three:

                   Higher emissions occur after the vehicle has been run for 200-500
                   seconds of steady speed operation on average by a factor of 4.5 in all
                   temperature windows.




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                   a.   Defeat Devices One and Two: the Temperature Defeat
                        Devices
          127. The test results for Defeat Device One, in stop and go testing with

 temperatures above 86ºF, are 2.4 times the emissions standard, with maximum

 measured emissions of 1,153 mg/mile or 5.8 times the standard.

          128. The test results for Defeat Device Two, in stop and go testing at

 temperatures below 68ºF, were 2.1 times the emissions standard.

          129. Further testing at temperatures below 68ºF reveals that the vehicle has

 several active regenerations. Such regenerations are on average 7 times the

 emissions standard.

                   b.   Defeat Device Three: the Steady Speed Time-Out Defeat

          130. In controlled track testing at steady speed, following at steady speeds

 of 40, 50, and 60 mph, the following observations were made. The blue line

 represents the NOx emissions in mg/mile, while the orange line shows vehicle

 speed in km/hour. What is clear is that NOx emissions increase over time and

 markedly about 500 seconds after the steady speed is achieved (40 mph in this

 case). This is counterintuitive as, if anything, emissions performance should

 improve as the catalyst warms ups. It should be noted, importantly, that this data

 was taken at ambient temperatures in the certification test window.




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          131. In this case, the emissions increase by about a factor of 4, while the

 EGR rate and SCR reduction are significantly reduced. Note that CO2 emissions go

 down, which would be reflected in better fuel economy.

          132. The motivation for such a defeat is simple. It increases the NOx going

 into the DPF, thereby ensuring better passive regeneration performance and,

 perhaps just as important, better fuel economy. Furthermore, decreasing the

 effectiveness of the SCR system economizes urea usage, which leads to improved

 customer satisfaction. Lower EGR rates and higher NOx mode are generally

 associated with better fuel economy.

          133. An example of this timing defeat device is depicted below:

                                40 mph Steady Operation 




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          134. The same behavior is observed in the 50 mph test. Again, a large

 increase in emissions (factor of 2.2) with a drop in EGR rate, a small decrease in

 SCR rate, and a decrease in CO2 emissions (i.e., better fuel economy).




          135. At 60 mph, the same phenomenon was observed. Emissions double,

 while EGR rate and SCR reduction go down.




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          136. After observing this behavior on the test track, experts reviewed

 previous over-the-road test data in a variety of steady speed conditions (mostly at

 approximately 60 mph) and found at least 22 instances where the same time

 phenomenon occurred.

          137. The following table summarizes the events:

                                              Pre          After
                       Ambient              timeout      timeout                 Increase in NOx
                        Temp.                 NOx          NOx       Factor    (mg/mile) from pre-
 Condition               (°F)    Event #   (mg/mile)    (mg/mile)   Increase    timeout condition
 Downhill
 0.7%                     55.5         1        200          422         2.1                  222
 Downhill
 0.4%                     77.3         2        274          360         1.3                   86
 Flat                       47         3        344          512         1.5                  168
 Uphill
 0.7%                     63.6         4         62          197         3.2                  135
 Mild Hills                 63         5        442          531         1.2                   89
 Downhill
 0.7%                     52.5         6         17          276       16.2                   259
 Flat                     47.6         7         21          191        9.1                   170
 Downhill
 0.4%                     48.3         8         94          372         4.0                  278
 Downhill
 0.6%                     53.3         9         47          265         5.6                  218
 Downhill
 0.5%                     62.9        10        149          408         2.7                  259
 Flat                     78.8        11        152          273         1.8                  121
 Downhill
 1.3%                       70        12        152          596         3.9                  444
 Uphill
 1.3%                     64.9        13        177        1428          8.1                1251
 Slight hills             68.8        14        129         286          2.2                 157
 Downhill
 0.5%                     62.6        15         37          203         5.5                  166
 Downhill
 0.4%                       73        16         72          393         5.5                  321
 Flat                     75.3        17         27          168         6.2                  141


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                                              Pre          After
                       Ambient              timeout      timeout                 Increase in NOx
                        Temp.                 NOx          NOx       Factor    (mg/mile) from pre-
 Condition               (°F)    Event #   (mg/mile)    (mg/mile)   Increase    timeout condition
 Downhill
 0.7%                     90.1        18         28          309       11.0                   281
 Downhill
 0.3%                     87.9        19         61          164         2.7                  103
 Downhill
 0.2%                     88.4        20         94          231         2.5                  137
 Downhill
 1.4%                     67.3        21        475          778         1.6                  303
 Downhill
 0.3%                    102.5        22        291          442         1.5                  151
                                                        Average          4.5                  248
          138. The key conclusion here is that this defeat device appears to be active

 at all temperatures. In general, the “timeout” defeat device results in a factor of

 4.5 increase in NOx once activated. The exact time for the defeat device to

 activate varies, but is generally 200-500 seconds. At steady speed, the average

 increase in NOx once the defeat device kicks in is 248 mg/mile.

          139. On average, there is a reduction in the EGR rate (from 18.9% to

 17.9% pre- and post-timer) and SCR effectiveness (from 90% to 74% pre- and

 post-timer). The de-rated use of the SCR system would result in significant savings

 in urea and would also ensure better operation of the downstream DPF.

          4.       The vehicles pollute heavily when driven on hills.

          140. Hills are not part of the testing protocol for certification of new

 vehicles. However, it would be a material fact to a reasonable consumer to know

 that the GM vehicles were polluting during hill driving of levels above what a


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 reasonable consumer would expect to be produced by “Eco” vehicles. Testing

 shows that hills are challenging for GM’s “clean diesels.”

          141. The testing done on the Silverado indicates that in stop and go

 conditions on a hill with a grade of less than 1.5 percent, average emissions are 300

 mg/mile with some excursions reading as high as 715 mg/mile. Note that road

 grades below 1.5 percent would be considered quite mild and are often

 encountered in areas that would be described as “flat.” Again, there appears to be a

 significant increase in emissions at ambient temperatures below the certification

 test window.




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          142. When operating on grades above 1.5 percent, average emissions were

 350 mg/mile with excursions up to 704 mg/mile.




          143. Some may assume that higher emissions uphill are offset by low

 emissions downhill when less power is needed. Not so. When testing on a downhill

 mild grade at temperatures below 68ºF average, emissions are 425 mg/mile, which

 is higher than the same grades uphill. At temperatures above 86ºF, average

 emissions are 760 mg/mile, with excursions up to 3,843 mg/mile. In the second

 plot, the 3,843 mg/mile data point is omitted so that data points closer to the

 standard can be easily viewed. Downhill grades steeper than 1.5% show similar

 results.

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          144. When tested using highway speeds on grades less than 1.5 percent,

 average emissions are 340, 322, and 308 mg/mile for cold, mild, and high

 temperatures, with excursions as high as 1,794 mg/mile. Although higher exhaust

 temperatures are generated under the slightly higher load generated while traveling

 uphill, which should result in better SCR performance, it appears the Silverado

 produces emissions well above the standard across all temperature ranges.




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          145. When tested using highway speeds on grades above 1.5 percent, EGR

 rates are reduced to maintain power and average emissions increase to 1,095

 mg/mile, 833 mg/mile, and 783 mg/mile for cold, mild, and high temperatures.

 Road grades were tested ranged between 1.8% and 4.4%. These road grades

 produce NOx emissions far in excess of the standard. Excursions as high as 2,621

 mg/mile were observed.




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          146. The same behavior is observed in mild downhill highway driving as

 observed with stop and go driving. These downhill emissions, which are generated

 under very low engine load, do not offset the extreme uphill NOx emissions.

 Although the vehicle is under significantly lower load than flat or uphill grades,

 NOx emissions are well above the standard with average emission rates of 420,

 425, and 301 mg/mile for cold, mild, and high temperatures. Excursions as high as

 826 mg/mile are observed, and most data points tested fall well above the standard.




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          147. Downhill grades steeper than 1.5% exhibit similar performance,

 though none of the data points tested fell below the standard. On average,

 emissions were 494, 565, and 398 mg/mile for cold, mild, and high temperatures.

 Excursions as high as 650 mg/mile are observed. In all cases, these emission rates

 are well in excess of the standard.




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          148. In general, contrary to what a reasonable consumer would expect, the

 Silverados and Sierras pollute at high levels going both uphill and downhill.

          5.       The test vehicle is representative of all Sierra and Silverado
                   vehicles.
          149. Plaintiffs allege that the following GM models are affected by the

 unlawful, unfair, deceptive, and otherwise defective emission controls: 2011-2016

 Silverado 2500HD/3500HD trucks and Sierra 2500HD/3500HD trucks.

          150. Plaintiffs did not test each model to derive plausible allegations that

 each Polluting Vehicle violates U.S. and CARB emissions standards and produces

 emissions beyond those a reasonable consumer would have expected when he or


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 she purchased their vehicles. Plaintiffs did not need to. As set forth in more detail

 below, all of the models share either identical or very similar engines and

 emissions systems, allowing Plaintiffs’ experts to plausibly conclude that all

 Polluting Vehicles violate U.S. and CARB standards and the expectations of a

 reasonable consumer.

          151. GM itself grouped the engine used for both the Silverado and Sierra

 into the same application and test group. CARB and EPA certified the engines in

 the test group which means, from an emissions standpoint, the engines are

 considered identical.

          152. All variants of the Silverado and Sierra sold in the U.S. are well

 represented by both the Plaintiffs’ list of vehicles and Plaintiffs’ test vehicles since

 GM did not change the engine in any significant way between 2011 and 2016; all

 vehicles employ the same generation of Duramax engine.

          153. Plaintiffs’ experts also conducted additional research into the

 technical literature to understand the various configurations of Duramax engines

 sold between 2011 and 2016. The literature provides some insight into the

 architecture of the variants of the engines. In all cases, the engines are shown to

 have much more commonality than not, leading Plaintiffs’ experts to conclude that

 there is a strong basis for sufficient similarity or “sameness” to warrant inclusion

 on the list of Polluting Vehicles. The vehicles are either equivalent from an


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  emissions standpoint to the test vehicles or use the same core technologies and

  engine platforms as the test vehicles.

  G.       This Is Not the Only GM Model to Employ This Deception
           154. GM’s deceptive emissions practice are also found in the GM Chevy

  Cruze, giving rise to the inference that its emissions manipulation strategy

  occurred here and is part of an overall diesel strategy employed by GM and

  facilitated by Bosch.

           155. This is what GM promised for the Chevy Cruze:




           156. Plaintiffs have tested the Cruze using a Portable Emissions

  Measurement System (PEMS). Testing revealed that the Cruze fails to meet U.S.

  emissions standards as promised. The U.S. standard on the HWFET test is 70

  mg/mile. In steady highway driving at 60 mph, the Cruze averaged 128 mg/mile

  with a high of 557 mg/mile. In stop and go driving, the average was 182 mg/mile

  with a maximum of 689 mg/mile, or 3.6 to 13.8 times the federal standard. When


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  tested at temperatures below 50ºF, the NOx was 689 mg/mile and it appears the

  emissions control system stops working. The same is true at temperatures over

  85ºF, where NOx rates were tested and ran at 450 to 550 mg/mile. The Cruze thus

  has a defeat device similar to the devices in the Silverado and Sierras.

  H.        The Bosch EDC17

            157. All modern engines are integrated with sophisticated computer

  components to manage the vehicle’s operation, such as an electronic diesel control.

  Bosch GmbH tested, manufactured, and sold the EDC system used by

  Volkswagen, FCA, Mercedes, and GM. This system is more formally referred to as

  the Electronic Diesel Control Unit 17 (“EDC Unit 17” or “ED17”). Upon its

  introduction, EDC Unit 17 was publicly touted by Bosch as follows:26

                    EDC17 . . . controls every parameter that is important for
                    effective, low-emission combustion.
                    Because the computing power and functional scope of
                    the new EDC17 can be adapted to match particular
                    requirements, it can be used very flexibly in any vehicle
                    segment on all the world’s markets. In addition to
                    controlling the precise timing and quantity of injection,
                    exhaust gas recirculation, and manifold pressure
                    regulation, it also offers a large number of options such
                    as the control of particulate filters or systems for
                    reducing nitrogen oxides. The Bosch EDC17 determines
                    the injection parameters for each cylinder, making
                    specific adaptations if necessary. This improves the
                    precision of injection throughout the vehicle’s entire
                    service life. The system therefore makes an important

       26
       See Exhibit 19, Bosch Press Release, The brain of diesel injection: New
  Bosch EDC17 engine management system (Feb. 28, 2006), http://www.bosch-
  presse.de/presseforum/details.htm?txtID=2603&locale=en.
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                    contribution to observing future exhaust gas emission
                    limits.
           158. Bosch worked with each vehicle manufacturer that utilized EDC Unit

  17 to create a unique set of specifications and software code to manage the

  vehicles’ engine operation.

           159. Bosch’s EDC Unit 17 controls emissions by periodically reading

  sensor values, evaluating a control function, and controlling actuators based on the

  control signal.27 Sensor readings include crankshaft position, air pressure, air

  temperature, air mass, fuel temperature, oil temperature, coolant temperature,

  vehicle speed, exhaust oxygen content, as well as driver inputs such as accelerator

  pedal position, brake pedal position, cruise control setting, and selected gear.

  Based on sensor input, EDC17 controls and influences the fuel combustion process

  including, in particular, fuel injection timing, which affects engine power, fuel

  consumption, and the composition of the exhaust gas.28

           160. All Bosch ECUs, including the EDC17, run on complex, highly

  proprietary engine management software over which Bosch exerts near-total

  control. In fact, the software is typically locked to prevent customers, like GM,

  from making significant changes on their own. Accordingly, both the design and




      27
       Moritz Contag et al., How They Did It: An Analysis of Emission Defeat
  Devices in Modern Automobiles, p.4 (2017).
    28
       Id.
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  implementation are interactive processes, requiring Bosch’s close collaboration

  with the automaker from beginning to end.

           161. With respect to the Polluting Vehicles, the EDC 17 was used

  surreptitiously to evade emissions regulations. Bosch and GM worked together to

  develop and implement a specific set of software algorithms for implementation in

  the Polluting Vehicles, including algorithms to adjust fuel levels, exhaust gas

  recirculation, air pressure levels, and urea injection rates in vehicles equipped with

  SCR systems.

           162. Bosch and GM worked together to develop and implement a specific

  set of software algorithms for implementation in the Polluting Vehicles, which

  enabled GM to adjust fuel levels, exhaust gas recirculation, air pressure levels, and

  even urea injection rates (for applicable vehicles).29 When carmakers test their

  vehicles against EPA emission standards, they place their cars on dynamometers

  (large rollers) and then perform a series of specific maneuvers prescribed by

  federal regulations. Bosch’s EDC Unit 17 gave Volkswagen, GM, and other

  manufacturers the power to detect test scenarios by monitoring vehicle speed,

  acceleration, engine operation, air pressure, and even the position of the steering

  wheel. When the EDC Unit 17’s detection algorithm detected that the vehicle was


      29
       See, e.g., Exhibit 20, Engine management, Bosch Auto Parts, http://de.bosch-
  automotive.com/en/parts_and_accessories/motor_and_sytems/diesel/engine_
  management_2/engine_control_unit_1 (last accessed May 24, 2017).
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  on a dynamometer (and undergoing an emission test), additional software code

  within the EDC Unit 17 downgraded the engine’s power and performance and

  upgraded the emissions control systems’ performance by switching to a “dyno

  calibration” to cause a subsequent reduction in emissions to legal levels. Once the

  EDC Unit 17 detected that the emission test was complete, the EDC Unit would

  then enable a different “road calibration” that caused the engine to return to full

  power while reducing the emissions control systems’ performance, and

  consequently caused the vehicle to spew the full amount of illegal NOx emissions

  out on the road.30 This process is illustrated in the following diagram, applicable to

  GM as well:




      30
       Exhibit 21, Russell Hotten, Volkswagen: The scandal explained, BBC
  (Dec. 10, 2015), http://www.bbc.com/news/business-34324772.
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           163. This workaround was illegal. The Clean Air Act expressly prohibits

  defeat devices, defined as any auxiliary emission control device “that reduces the

  effectiveness of the emission control system under conditions which may

  reasonably be expected to be encountered in normal vehicle operation and use.”


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  40 C.F.R. § 86.1803-01; see also id. § 86.1809-10 (“No new light-duty vehicle,

  light-duty truck, medium-duty passenger vehicle, or complete heavy-duty vehicle

  shall be equipped with a defeat device.”). Moreover, the Clean Air Act prohibits

  the sale of components used as defeat devices “where the person knows or should

  know that such part or component is being offered for sale or installed for such use

  or put to such use.” 42 U.S.C. § 7522(a)(3). Finally, in order to obtain a certificate

  of compliance (COC), automakers must submit an application that lists all

  auxiliary emission control devices installed in the vehicle, a justification for each,

  and an explanation of why the control device is not a defeat device.

           164. Thus, in order to obtain the COCs necessary to sell their vehicles, GM

  did not disclose, and affirmatively concealed from government regulators, the

  presence of the test-detecting and performance-altering software code that it

  developed with Bosch, thus making that software an illegal defeat device. In other

  words, GM, working closely with Bosch, lied to the government, its customers, its

  dealers, and the public at large.

           165. Because the COCs were fraudulently obtained, and because the

  Polluting Vehicles did not conform “in all material respects” to the specifications

  provided in the COC applications, the Polluting Vehicles were never covered by a

  valid COC, and thus were never legal for sale, nor were they EPA- and/or CARB-

  compliant as represented. GM and Bosch hid these facts from the EPA, CARB and


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  other regulators, its dealers, and consumers, and it continued to sell and lease the

  Polluting Vehicles to the driving public despite their illegality and with the

  complicity of Bosch.

           166. GM’s illegal workaround was enabled by its close partnership with

  Bosch, which enjoyed a sizable portion of its annual revenue from manufacturing

  parts used in GM’s and other manufacturers’ diesel vehicles.31 Bosch was well

  aware that GM was using its emissions control components as a defeat device and,

  in fact, worked with GM to develop the software algorithm specifically tailored for

  the Polluting Vehicles.

           167. Because the COCs were fraudulently obtained, the Polluting Vehicles

  were never covered by valid COCs and thus were never offered legally for sale.

  GM hid these facts from the EPA, CARB and other state regulators, and

  consumers, and it continued to sell and lease the Polluting Vehicles despite their

  illegality and with the complicity of Bosch.




      31
        Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel
  technology operations branch of Bosch, and Volkswagen was the biggest diesel
  manufacturer in the world. See Exhibit 22, Bosch probes whether its staff helped
  VW’s emissions rigging, Automotive News (Jan. 27, 2016),
  http://www.autonews.com/article/20160127/COPY01/301279955/bosch-probes-
  whether-its-staff-helped-vws-emissions-rigging.
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  I.       Bosch Played a Critical Role in the Defeat Device Scheme in Many
           Diesel Vehicles in the U.S., Giving Rise to a Strong Inference That
           Bosch Played a Key Role in Implementing the GM Emission Strategy
           168. Although this case is not about Volkswagen, Bosch’s history with

  Volkswagen provides background and support for its participation in the RICO

  enterprise alleged herein, of which Bosch and GM were participants. On

  information and belief, Plaintiffs allege that the same level of coordination

  between Bosch and Volkswagen also occurred between Bosch and GM.

           1.       Volkswagen and Bosch conspire to develop the illegal defeat
                    device.
           169. Bosch tightly controlled development of the control units in the

  Polluting Vehicles and actively participated in the development of the defeat

  device.

           170. As discussed above, Bosch introduced a new generation of diesel

  ECUs for Volkswagen.

           171. A February 28, 2006 Bosch press release introduced the “New Bosch

  EDC17 engine management system” as the “brain of diesel injection” which

  “controls every parameter that is important for effective, low-emission

  combustion.” The EDC17 offered “[e]ffective control of combustion” and a




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  “[c]oncept tailored for all vehicle classes and markets.” In the press release, Bosch

  touted the EDC17 as follows:32

                    EDC17: Ready for future demands
                    Because the computing power and functional scope of
                    the new EDC17 can be adapted to match particular
                    requirements, it can be used very flexibly in any vehicle
                    segment on all the world’s markets. In addition to
                    controlling the precise timing and quantity of injection,
                    exhaust gas recirculation, and manifold pressure
                    regulation, it also offers a large number of options such
                    as the control of particulate filters or systems for
                    reducing nitrogen oxides. The Bosch EDC17 determines
                    the injection parameters for each cylinder, making
                    specific adaptations if necessary. This improves the
                    precision of injection throughout the vehicle’s entire
                    service life. The system therefore makes an important
                    contribution to observing future exhaust gas emission
                    limits.
           172. Bosch and Volkswagen worked together closely to modify the

  software and to create specifications for each Volkswagen vehicle model. Indeed,

  customizing a road-ready ECU is an intensive three- to five-year endeavor

  involving a full-time Bosch presence at an automaker’s facility. Such was the case

  with GM as well.

           173. All Bosch ECUs, including the EDC17, run on complex, highly

  proprietary engine management software over which Bosch exerts nearly total

  control. In fact, the software is typically locked to prevent customers, like

  Volkswagen and GM, from making significant changes on their own.

      32
       See Exhibit 19, Bosch press release, The brain of diesel injection: New Bosch
  EDC17 engine management system (Feb. 28, 2006), http://www.bosch-presse.de/
  presseforum/details.htm?txtID=2603&locale=en.
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           174. Bosch’s security measures further confirm that its customers cannot

  make significant changes to Bosch software without Bosch involvement. Bosch

  boasts that its security modules protect vehicle systems against unauthorized

  access in every operating phase, meaning that no alteration could have been made

  without either a breach of that security—and no such claims have been advanced—

  or Bosch’s knowing participation.33

           175. Unsurprisingly, then, at least one car company engineer has confirmed

  that Bosch maintains absolute control over its software as part of its regular

  business practices:34

                    I’ve had many arguments with Bosch, and they certainly
                    own the dataset software and let their customers tune the
                    curves. Before each dataset is released it goes back to
                    Bosch for its own validation.
                    Bosch is involved in all the development we ever do.
                    They insist on being present at all our physical tests and
                    they log all their own data, so someone somewhere at
                    Bosch will have known what was going on.
                    All software routines have to go through the software
                    verification of Bosch, and they have hundreds of
                    milestones of verification, that’s the structure . . . .
                    The car company is never entitled by Bosch to do
                    something on their own.




      33
        Exhibit 23, Reliable Protection for ECUs, ESCRYPT (May 12, 2016),
  https://www.escrypt.com/en/news-events/protection-for-ecus.
     34
        Exhibit 24, Michael Taylor, EPA Investigating Bosch over VW Diesel
  Cheater Software, Car and Driver (Nov. 23, 2015), http://blog.caranddriver.com/
  epa-investigating-bosch-over-vw-diesel-cheater-software/.
                                              - 102 -
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           176. Thus, Bosch GmbH and Bosch LLC cannot convincingly argue that

  the development of the Volkswagen defeat device was the work of a small group

  of rogue engineers.

           177. In fact, Volkswagen’s and Bosch’s work on the EDC17 reflected a

  highly unusual degree of coordination. It was a massive project that required the

  work of numerous Bosch coders for a period of more than ten years, or perhaps

  more.35 Although Bosch publicly introduced the EDC17 in 2006, it had started to

  develop the engine management system years before.36

           178. In fact, Bosch was in on the secret and knew that Volkswagen was

  using Bosch’s software algorithm as an “on/off” switch for emission controls when

  the vehicles were undergoing testing. As noted above, it has been said the decision

  to cheat was an “open secret” at Volkswagen.37 It was an “open secret” at Bosch as

  well.


      35
        Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel
  technology operations branch of Bosch, and Volkswagen was the biggest diesel
  manufacturer in the world. See Exhibit 22, Bosch Probes Whether Its Staff Helped
  VW’s Emissions Rigging, Automotive News (Jan. 27, 2016),
  http://www.autonews.com/article/20160127/COPY01/301279955/bosch-probes-
  whether-its-staff-helped-vws-emissions-rigging.
     36
        Exhibit 19, Bosch press release, The brain of diesel injection: New Bosch
  EDC17 engine management system (Feb. 28, 2006), http://www.bosch-presse.de/
  presseforum/details.htm?txtID=2603&locale=en.
     37
        Exhibit 25, Georgina Prodham, Volkswagen probe finds manipulation was
  open secret in department, Reuters (Jan. 23, 2016), http://www.reuters.com/article/
  us-volkswagen-emissions-investigation-idUSKCN0V02E7. See also Exhibit 26,
  Jay Ramey, VW chairman Poetsch: Company ‘tolerated breaches of rules’,
  Autoweek (Dec. 10, 2015), http://autoweek.com/article/vw-diesel-scandal/vw-
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           179. Volkswagen and Bosch personnel employed code language for the

  defeat device, referring to it as the “acoustic function” (in German,

  “akustikfunktion”). As described above, the roots of the “akustikfunktion”—and

  likely the cheating—can be traced back to the late 1990s when Audi devised

  software called the “akustikfunktion” that could switch off certain functions when

  the vehicle was in a test mode.38 The “akustik” term is derived from the function’s

  ability to modify the noise and vibration produced by the engine. News articles

  report that, in 2006, Volkswagen further developed this “akustikfunktion” for the

  affected vehicles.39




  chairman-poetsch-company-tolerated-breaches-rules (it was necessary for the “EA
  189 engine to pass U.S. diesel emissions limits within the budget and time frame
  allotted”).
      38
         Exhibit 27, Martin Murphy, Dieselgate’s Roots Stretch Back to Audi,
  Handelsblatt Global (Apr. 19, 2016), https://global.handelsblatt.com/edition/413/
  ressort/companies-markets/article/dieselgates-roots-stretch-back-to-audi?ref=MTI
  5ODU1.
      39
         Exhibit 25, Georgina Prodham, Volkswagen probe finds manipulation was
  open secret in department, Reuters (Jan. 23, 2016), http://www.reuters.com/
  article/us-volkswagen-emissions-investigation-idUSKCN0V02E7. Volkswagen
  Group Chairman Hans Dieter Poetsch explained that a small group of engineers
  and managers was involved in the creation of the manipulating software. See
  Exhibit 26, Jay Ramey, VW chairman Poetsch: Company ‘tolerated breaches of
  rules’, Autoweek (Dec. 10, 2015), http://autoweek.com/article/vw-diesel-scandal/
  vw-chairman-poetsch-company-tolerated-breaches-rules. See also Exhibit 21,
  Russell Hotten, Volkswagen: The scandal explained, BBC (Dec. 10, 2015),
  http://www.bbc.com/news/business-34324772; Exhibit 28, Matt Burt, VW
  emissions scandal: how Volkswagen’s ‘defeat device’ works, Autocar (Sept. 23,
  2015), http://www.autocar.co.uk/car-news/industry/vw-emissions-scandal-how-
  volkswagens-defeat-device-works.
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           180. In sum, Bosch GmbH worked hand-in-glove with Volkswagen to

  develop and maintain the akustikfunktion/defeat device. On information and belief,

  it did so with GM as well.

           2.       Volkswagen and Bosch conspire to conceal the illegal
                    “akustikfunktion.”
           181. By 2007, and likely earlier, Bosch GmbH was critical not only in

  developing the “akustikfunktion” but also in concealing it.

           182. Bosch GmbH was concerned about getting caught participating in the

  defeat device fraud. As reported in a German newspaper, Bild am Sonntag, and a

  French publication, a Volkswagen internal inquiry found that in 2007, Bosch

  GmbH warned Volkswagen by letter that using the emissions-altering software in

  production vehicles would constitute an “offense.”40

           3.       Volkswagen and Bosch conspire in the U.S. and Germany to elude
                    U.S. regulators who regulated not just Volkswagen diesels but all
                    diesels.

           183. The purpose of the defeat device was to evade stringent U.S.

  emissions standards. Once Bosch GmbH, Bosch LLC, and Volkswagen perfected

  the defeat device, therefore, their attention turned to deceiving U.S. regulators not



      40
        Exhibit 29, Bosch warned VW about illegal software use in diesel cars,
  report says, Automotive News (Sept. 27, 2015), http://www.autonews.com/
  article/20150927/COPY01/309279989/bosch-warned-vw-about-illegal-software-
  use-in-diesel-cars-report-says; Exhibit 30, VW Scandal: Company Warned over
  Test Cheating Years Ago, BBC (Sept. 27, 2015), http://www.bbc.com/news/
  business-34373637.
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  just for the benefit of Volkswagen but also for the benefit of GM, Mercedes, and

  FCA.

           184. Bosch’s North American subsidiary, defendant Robert Bosch LLC,

  was also part of and essential to the fraud. Bosch LLC worked closely with Bosch

  GmbH and Volkswagen in the United States and in Germany to ensure that the

  non-compliant affected vehicles passed U.S. emissions tests. Bosch LLC

  employees frequently communicated with U.S. regulators and actively worked to

  ensure the affected vehicles were approved by regulators.

           185. Employees of Bosch LLC, Bosch GmbH, and IAV provided specific

  information to U.S. regulators about how Volkswagen’s vehicles functioned and

  unambiguously stated that the vehicles met emissions standards. Bosch LLC

  regularly communicated to its colleagues and clients in Germany about ways to

  deflect and diffuse questions from U.S. regulators about the affected vehicles—

  particularly CARB.

           4.       Bosch keeps Volkswagen’s secret safe and pushes “clean” diesel in
                    the U.S. as a concept applicable to all diesel car manufacturers.
           186. Bosch not only kept Volkswagen’s dirty secret safe, it went a step

  further and actively lobbied lawmakers to push “clean diesel” in the U.S.,

  including making affected vehicles available for regulators to drive.

           187. As early as 2004, Bosch announced a push to convince U.S.

  automakers that its diesel technology could meet tougher 2007 U.S. emission

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  standards.41 Its efforts ended up being a multi-year, multi-million dollar effort

  involving key players from both Robert Bosch GmbH in Germany and Bosch LLC

  in the U.S.

           188. Bosch’s promotion of diesel technology specifically targeted the U.S.

  For example, Bosch put on “California Diesel Days”42 and “SAE World Congress

  in Detroit.”43 In 2008, Bosch LLC and Volkswagen America co-sponsored the

  “Future Motion Made in Germany-Second Symposium on Modern Drive

  Technologies” at the German Embassy in Washington, D.C., with the aim of

  providing a venue for “stakeholders to gain insight into the latest technology trends

  and engage in a vital dialogue with industry leaders and policymakers.”44

           189. Bosch LLC hosted multi-day conferences open to many regulators

  and legislators and held private meetings with regulators in which it proclaimed

  extensive knowledge of the specifics of Volkswagen technology, including

      41
        Exhibit 31, Edmund Chew, Bosch boosts US diesel lobbying, Autonews
  (Mar. 8, 2004), http://www.autonews.com/article/20040308/SUB/403080876/
  bosch-boosts-us-diesel-lobbying.
     42
        Exhibit 32, Bosch drives clean diesel in California, Bosch,
  http://www.bosch.us/content/language1/html/734_4066.htm?section=
  28799C0E86C147799E02226E942307F2 (last accessed May 24, 2017).
     43
        See, e.g., Exhibit 33, Bosch Brings Innovation, Green Technology to SAE
  2009 World Congress, Bosch, http://www.bosch.us/content/language1/html/734_
  7432.htm?section=CDAF31A468D9483198ED8577060384B3 (last accessed May
  24, 2017).
     44
        Exhibit 34, Bosch: Clean Diesel is Key Part of Future Technology Mix,
  Bosch, http://us.bosch-press.com/tbwebdb/bosch-usa/en-US/PressText.cfm?
  CFID=60452038&CFTOKEN=9c778a2564be2c9b-56CC21B6-96AB-5F79-
  32445B13EC121DBE&nh=00&Search=0&id=364 (last accessed May 24, 2017).
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  calibrations necessary for the affected vehicles to comply with emissions

  regulations.

           190. In April 2009, Bosch LLC organized and hosted a two-day

  “California Diesel Days” event in Sacramento, California. Bosch invited a roster of

  lawmakers, journalists, executives, regulators, and NGOs45 with the aim of

  changing perceptions of diesel from “dirty” to “clean.” The event featured affected

  vehicles as ambassadors of “clean diesel” technology, including a 2009

  Volkswagen Jetta “green car.” The stated goals were to “build support for light-

  duty diesel as a viable solution for achieving California’s petroleum and emission

  reduction objectives.”

           191. In 2009, Bosch also became a founding member of the U.S. Coalition

  for Advanced Diesel Cars.46 One of this advocacy group’s purposes included

  “promoting the energy efficiency and environmental benefits of advanced clean

  diesel technology for passenger vehicles in the U.S. marketplace.”47 This group




      45
        Exhibit 32, Bosch drives clean diesel in California, Bosch,
  http://www.bosch.us/content/language1/html/734_4066.htm?section=28799C0E
  86C147799E02226E942307F2 (last accessed May 24, 2017); see also Exhibit 35,
  California Diesel Days, The U.S. Coalition for Advanced Diesel Cars,
  http://www.californiadieseldays.com/ (last accessed May 24, 2017).
     46
        Exhibit 36, Chrissie Thompson, New Coalition Aims To Promote Diesel
  Cars, Automotive News (Feb. 2, 2009), http://www.autonews.com/article/
  20090202/OEM06/302029728/new-coalition-aims-to-promote-diesel-cars.
     47
        Exhibit 37, About the Coalition, The U.S. Coalition for Advanced Diesel
  Cars, http://cleandieseldelivers.com/about/ (last accessed May 24, 2017).
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  lobbies Congress, U.S. regulators, and the California Air Resources Board in

  connection with rules affecting “clean diesel” technology.48

           192. In 2010, Bosch sponsored the Virginia International Raceway with the

  support of the 2010 Volkswagen Jetta TDI Cup Series. This event included TDI

  vehicles featuring Bosch technology.49

           193. In 2012, Audi, BMW, Bosch, Daimler, Porsche, and Volkswagen

  joined to form The Clearly Better Diesel initiative.50 The initiative was announced

  in Berlin by the German Association of the Automotive Industry. Its stated goal

  was to promote the sale of clean diesel vehicles in the U.S. The initiative’s slogan

  was “Clean Diesel. Clearly Better.”

           194. In its efforts to promote “clean diesel,” including the affected

  vehicles, Bosch GmbH acted on behalf of its global group.




      48
         Id. See also, e.g., Exhibit 38, Letter to Chairman Mary Nichols and CARB
  concerning a statement made about diesel technology (Jan. 8, 2016), available at
  http://cleandieseldelivers.com/media/Mary-Nichols-Letter-01082016.pdf.
      49
         Exhibit 39, Volkswagen Jetta TDI Cup Drivers Take to the Track for the First
  Time in 2010 at VIR, Volkswagen of America, Inc. (April 23, 2010), available at
  http://www.prnewswire.com/news-releases/volkswagen-jetta-tdi-cup-drivers-take-
  to-the-track-for-the-first-time-in-2010-at-vir-91985604.html.
      50
         Exhibit 40, “Clean Diesel Clearly Better” Campaign for Clean Diesel Cars
  Welcomed, Diesel Technology Forum (Dec. 12, 2012), available at
  http://www.prnewswire.com/news-releases/clean-diesel-clearly-better-campaign-
  for-clean-diesel-cars-welcomed-183261432.html.
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           5.       Bosch also made the EDC17 found in FCA vehicles that pollute
                    excessively.

           195. To appeal to environmentally conscious consumers, FCA vigorously

  markets its “EcoDiesel” vehicles as “clean diesel” with ultra-low emissions, high

  fuel economy, and powerful torque and towing capacity. FCA calls its EcoDiesel

  “ultra clean,” “emissions compliant,” and claims that “no NOx” exits the tailpipe.

  FCA charges a premium for EcoDiesel-equipped vehicles. For example, selecting

  the 3.0-liter EcoDiesel engine for the 2016 Dodge Ram 1500 Laramie adds $4,770

  to the purchase price. And the 2016 Jeep Grand Cherokee Overland EcoDiesel

  costs $4,500 more than its gasoline counterpart.

           196. These representations are deceptive and false. FCA programmed its

  EcoDiesel vehicles to significantly reduce the effectiveness of the NOx reduction

  systems during real-world driving conditions. The EPA has determined that the

  affected vehicles contain defeat devices. After a lawsuit had already been filed by

  Plaintiffs’ counsel in this case, on January 12, 2017, the EPA issued a Notice of

  Violation against FCA because FCA “failed to disclose Auxiliary Emission

  Control Devices (AECDs)” in the affected vehicles.51 The EPA identified eight

  specific devices that cause the vehicle to perform effectively when being tested for




      51
        Exhibit 41, EPA’s January 12, 2017 Notice of Violation to FCA, available at
  https://www.epa.gov/sites/production/files/2017-01/documents/fca-caa-nov-2017-
  01-12.pdf.
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  compliance and then reduce the effectiveness of the emissions control system

  during normal operation and use.

           197. “Once again,” said CARB Chair Mary D. Nichols about FCA’s

  cheating, “a major automaker made the business decision to skirt the rules and got

  caught.”52

           198. The same experts that tested the Silverado’s performance did on-road

  testing of the FCA vehicles and confirmed that FCA’s so-called EcoDiesel cars

  produced NOx emissions at an average of 222 mg/mile in city driving (four times

  the FTP standard of 50 mg/mile) and 353 mg/mile in highway driving (five times

  higher than the U.S. highway standard of 70 mg/mile). In many instances, NOx

  values were in excess of 1,600 mg/mile, more than 20 times the standards. This

  testing occurred before the EPA announcement.

           199. Bosch made the EDC17 for the polluting FCA vehicles.

           6.       Bosch GmbH also made the EDC17 found in polluting Mercedes
                    diesels.

           200. Plaintiffs’ experts in this case tested the Mercedes diesel vehicles and

  made the first public disclosure of Mercedes’ unlawful conduct through certain of

  the counsel in this case in a civil suit filed in the District of New Jersey. Reportedly

  as a result of that lawsuit, Mercedes is under investigation by DOJ and German

      52
        Exhibit 42, EPA News Release, EPA Notifies Fiat Chrysler of Clean Air Act
  Violations (Jan.12, 2017), available at https://www.epa.gov/newsreleases/epa-
  notifies-fiat-chrysler-clean-air-act-violations.
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  authorities with respect to its BlueTEC diesel vehicles. Over 14 Mercedes diesel

  models are alleged to produce emissions 8.1 to 19.7 times relevant standards.

  Bosch GmbH supplied the EDC17 in the polluting Mercedes vehicles.

  J.       The Damage from Excessive NOx
           201. NOx contributes to ground-level ozone and fine particulate matter.

  According to the EPA, “Exposure to these pollutants has been linked with a range

  of serious health effects, including increased asthma attacks and other respiratory

  illnesses that can be serious enough to send people to the hospital. Exposure to

  ozone and particulate matter have also been associated with premature death due to

  respiratory-related or cardiovascular-related effects. Children, the elderly, and

  people with pre-existing respiratory disease are particularly at risk for health

  effects of these pollutants.”

           202. The EPA describes the danger of NOx as follows:




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           203. A recent study published in NATURE estimates that there are 38,000

  deaths worldwide due to excess NOx emissions.

           204. GM and Bosch will not be able to make the Polluting Vehicles

  comply with emissions standards without substantially degrading their

  performance characteristics, including their horsepower and their fuel efficiency.

  As a result, even if GM and Bosch are able to make Class members’ Polluting

  Vehicles EPA-compliant, Class members will nonetheless suffer actual harm and

  damages because their vehicles will no longer perform as they did when purchased

  and as advertised. This will necessarily result in a diminution in value of every

  Polluting Vehicle and it will cause owners of Polluting Vehicles to pay more for

  fuel while using their Polluting Vehicles; and it results in Class members

  overpaying for their vehicles at the time of purchase.

           205. Plaintiffs and members of the Class paid a premium of nearly $9,000,

  as GM charged more for its Duramax engine than a comparable gas car. For

  example, here is an advertisement for a 2016 Sierra 2500 indicating the Duramax

  costs an additional $8,595:53




      53
        Exhibit 43, 2016 Sierra 2500HD Build Your Own Vehicle webpage,
  http://www.gmfleet.com/previous-model-year/gmc/sierra-2500hd-heavy-duty-
  truck/build-your-own.html.

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           206. As a result of GM’s unfair, deceptive, and/or fraudulent business

  practices, and its failure to disclose that under normal operating conditions the

  Polluting Vehicles are not “clean” diesels, emit more pollutants than do gasoline-

  powered vehicles, and emit more pollutants than permitted under federal and state

  laws, owners and/or lessees of the Polluting Vehicles have suffered losses in


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  money and/or property. Had Plaintiffs and Class members known of the higher

  emissions at the time they purchased or leased their Polluting Vehicles, they would

  not have purchased or leased those vehicles, or would have paid substantially less

  for the vehicles than they did. Moreover, when and if GM recalls the Polluting

  Vehicles and degrades the GM Clean Diesel engine performance and fuel

  efficiency in order to make the Polluting Vehicles compliant with EPA standards,

  Plaintiffs and Class members will be required to spend additional sums on fuel and

  will not obtain the performance characteristics of their vehicles when purchased.

  Moreover, Polluting Vehicles will necessarily be worth less in the marketplace

  because of their decrease in performance and efficiency and increased wear on

  their cars’ engines.

           207. Without cheating emissions, GM could not achieve the fuel economy

  and range that it promises. Moreover, when and if GM recalls the Polluting

  Vehicles and degrades the Duramax engine performance in order to make the

  Polluting Vehicles compliant with EPA standards, Plaintiffs and Class members

  will be required to spend additional sums on fuel and will not obtain the

  performance characteristics of their vehicles as promised when purchased. And

  Polluting Vehicles will necessarily be worth less in the marketplace because of

  their decrease in performance and efficiency and increased wear on their vehicles’

  engines and this results in an overpayment by Plaintiffs at the time of purchase.


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  K.        The GM Scheme Is Just the Latest in a Worldwide Diesel Emissions
            Cheating Scandal That Adds Plausibility to the Allegations as Virtually
            All Diesel Manufacturers Are Falsely Advertising Their Vehicles
            208. As noted, the world was shocked to learn that Volkswagen had

  manufactured over 11 million cars that were on the road in violation of European

  emissions standards, and over 480,000 vehicles were operating in the U.S. in

  violation of EPA and state standards. But Volkswagen was not the only

  manufacturer of vehicles that exceeded emissions standards.

            209. In the wake of the major scandal involving Volkswagen and Audi

  diesel vehicles evading emissions standards with the help of certain software that

  manipulates emissions controls (called “defeat devices”),54 scientific literature and

  reports and testing indicate that most of the diesel vehicle manufactures of so-

  called “clean diesel” vehicles emit far more pollution on the road than in lab tests.

  The EPA has widened its probe of auto emissions to include, for example, the

  Mercedes E250 BlueTEC.

            210. In May 2015, a study conducted on behalf of the Dutch Ministry of

  Infrastructure and the Environment found that all sixteen vehicles made by a
       54
        Exhibit 44, EPA’s Sept. 18, 2015 Notice of Violation to Volkswagen Group
  of America, Inc., available at https://www.epa.gov/sites/production/files/2015-
  10/documents/vw-nov-caa-09-18-15.pdf. As detailed in the NOV, software in
  Volkswagen and Audi diesel vehicles detects when the vehicle is undergoing
  official emissions testing and turns full emissions controls on only during the test.
  But otherwise, while the vehicle is running, the emissions controls are suppressed.
  This results in cars that meet emissions standards in the laboratory or at the state
  testing station, but during normal operation they emit NOx at up to 40 times the
  standard allowed under U.S. laws and regulations. Volkswagen has admitted to
  installing a defeat device in its diesel vehicles.
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  variety of manufacturers, when tested, emitted significantly more NOx on real-

  world trips while they passed laboratory tests. The report concluded that “[i]n most

  circumstances arising in normal situations on the road, the system scarcely

  succeeded in any effective reduction of NOx emissions.”55

           211. The report further remarked:56

                    It is remarkable that the NOx emission under real-world
                    conditions exceeds the type approval value by [so much].
                    It demonstrates that the settings of the engine, the EGR
                    and the SCR during a real-world test trip are such that
                    they do not result in low NOx emissions in practice. In
                    other words: In most circumstances arising in normal
                    situations on the road, the systems scarcely succeed in
                    any effective reduction of NOx emissions.
  The lack of any “effective reduction of NOx emissions” is a complete

  contradiction of GM’s claim that its vehicles are clean.

           212. Other organizations are beginning to take notice of the emissions

  deception. The Transportation and Environment (T&E) organization, a European

  group aimed at promoting sustainable transportation, compiled data from

  “respected testing authorities around Europe.” T&E stated in September 2015 that

  real-world emissions testing showed drastic differences from laboratory tests such

  that models tested emitted more pollutants on the road than in their laboratory



      55
        Exhibit 45, Detailed investigations and real-world emission performance of
  Euro 6 diesel passenger cars, TNO (May 18, 2015), http://publications.tno.nl/
  publication/34616868/a1Ug1a/TNO-2015-R10702.pdf.
     56
        Id. at 6 (emphasis added).
                                            - 119 -
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  tests. “For virtually every new model that comes onto the market the gap between

  test and real-world performance leaps,” the report asserts.57

           213. In a summary report, T&E graphically depicted the widespread failure

  of most manufacturers:58




      57
         Exhibit 46, VW’s cheating is just the tip of the iceberg, Transport &
  Environment (Sept. 21, 2015), http://www.transportenvironment.org/publications/
  vw%E2%80%99s-cheating-just-tip-iceberg.
      58
         Exhibit 47, Five facts about diesel the car industry would rather not tell you,
  Transport & Environment (Sept. 2015), http://www.transportenvironment.org/
  sites/te/files/publications/2015_09_Five_facts_about_diesel_FINAL.pdf.
                                          - 120 -
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            214. The T&E report found that the current system for testing cars in a

  laboratory produces “meaningless results.”59

            215. Emissions Analytics is a U.K. company which says that it was formed

  to “overcome the challenge of finding accurate fuel consumption and emissions

  figures for road vehicles.” With regard to its recent on-road emissions testing, the

  company explains:60

                    [I]n the European market, we have found that real-world
                    emissions of the regulated nitrogen oxides are four times
                    above the official level, determined in the laboratory.
                    Real-world emissions of carbon dioxide are almost one-
                    third above that suggested by official figures. For car
                    buyers, this means that fuel economy on average is one
                    quarter worse than advertised. This matters, even if no
                    illegal activity is found.
                 VI.    TOLLING OF THE STATUTE OF LIMITATIONS

  A.        Discovery Rule Tolling
            216. Class members had no way of knowing about GM’s deception with

  respect to the comparatively and unlawfully high emissions of its GM Clean Diesel

  engine system in the Polluting Vehicles. To be sure, GM continues to market the

  Polluting Vehicles as “clean” diesels that have lower emissions than gasoline

  vehicles and also continues to claim that the Polluting Vehicles comply with EPA

  emissions standards.


       59
        Id.
       60
        Exhibit 48, Emissions Analytics Press Release (Sept. 28, 2015), available at
  http://www.abvwc.com/home/emissions-analytics.
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           217. Within the period of any applicable statutes of limitation, Plaintiffs

  and members of the proposed Classes could not have discovered through the

  exercise of reasonable diligence that GM was concealing the conduct complained

  of herein and misrepresenting the Company’s true position with respect to the

  emission qualities of the Polluting Vehicles.

           218. Plaintiffs and the other Class members did not discover, and did not

  know of, facts that would have caused a reasonable person to suspect that GM did

  not report information within its knowledge to federal and state authorities, its

  dealerships, or consumers; nor would a reasonable and diligent investigation have

  disclosed that GM had concealed information about the true emissions of the

  Polluting Vehicles, which was discovered by Plaintiffs only shortly before this

  action was filed. Nor in any event would such an investigation on the part of

  Plaintiffs and other Class members have disclosed that GM valued profits over

  truthful marketing and compliance with the law.

           219. For these reasons, all applicable statutes of limitation have been tolled

  by operation of the discovery rule with respect to claims as to the Polluting

  Vehicles.




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  B.       Fraudulent Concealment Tolling
           220. All applicable statutes of limitation have also been tolled by GM’s

  knowing and active fraudulent concealment and denial of the facts alleged herein

  throughout the period relevant to this action.

           221. Instead of disclosing its emissions scheme, or that the quality and

  quantity of emissions from the Polluting Vehicles were far worse than represented,

  and of its disregard of the law, GM falsely represented that the Polluting Vehicles

  had emissions cleaner than their gasoline-powered counterparts, complied with

  federal and state emissions standards, that the diesel engines were “clean,” and that

  it was a reputable manufacturer whose representations could be trusted.

  C.       Estoppel
           222. GM was under a continuous duty to disclose to Plaintiffs and the other

  Class members the true character, quality, and nature of emissions from the

  Polluting Vehicles and of those vehicles’ emissions systems.

           223. GM knowingly, affirmatively, and actively concealed or recklessly

  disregarded the true nature, quality, and character of the emissions systems, and the

  emissions, of the Polluting Vehicles.

           224. Based on the foregoing, GM is estopped from relying on any statutes

  of limitations in defense of this action.




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                               VII. CLASS ALLEGATIONS
           225. Plaintiffs bring this action on behalf of themselves and as a class

  action, pursuant to the provisions of Rules 23(a) and (b)(3) of the Federal Rules of

  Civil Procedure, on behalf of the following class (collectively, the “Class”):

                    All persons who purchased or leased a model year 2011-
                    2016 GM Silverado 2500HD or 3500HD, or a GM Sierra
                    2500HD or 3500HD (the “Polluting Vehicles”).
           226. Excluded from the Class are individuals who have personal injury

  claims resulting from the high emissions in the Polluting Vehicles. Also excluded

  from the Class are GM and its subsidiaries and affiliates; all persons who make a

  timely election to be excluded from the Class; governmental entities; the Judge to

  whom this case is assigned and his/her immediate family; and Plaintiffs’ Counsel.

  Plaintiffs reserve the right to revise the Class definition based upon information

  learned through discovery.

           227. Certification of Plaintiffs’ claims for class-wide treatment is

  appropriate because Plaintiffs can prove the elements of their claims on a class-

  wide basis using the same evidence as would be used to prove those elements in

  individual actions alleging the same claim.

           228. This action has been brought and may be properly maintained on

  behalf of the Class proposed herein under Federal Rule of Civil Procedure 23.

           229. Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members

  of the Class are so numerous and geographically dispersed that individual joinder

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  of all Class members is impracticable. For purposes of this complaint, Plaintiffs

  allege that there are estimated to be 705,000 or more vehicles in the Class. The

  precise number of Class members is unknown to Plaintiffs but may be ascertained

  from GM’s books and records. Class members may be notified of the pendency of

  this action by recognized, Court-approved notice dissemination methods, which

  may include U.S. Mail, electronic mail, Internet postings, and/or published notice.

           230. Commonality and Predominance: Federal Rule of Civil Procedure

  23(a)(2) and 23(b)(3): This action involves common questions of law and fact,

  which predominate over any questions affecting individual Class members,

  including, without limitation:

                    a)   Whether GM and Bosch engaged in the conduct alleged herein;

                    b)   Whether GM designed, advertised, marketed, distributed,

  leased, sold, or otherwise placed Polluting Vehicles into the stream of commerce in

  the United States;

                    c)   Whether the GM engine system in the Polluting Vehicles emit

  pollutants at levels that do not make them “clean” diesels and that do not comply

  with EPA requirements;

                    d)   Whether GM and Bosch knew about the comparatively and

  unlawfully high emissions and, if so, how long GM and Bosch have known;




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                    e)   Whether GM designed, manufactured, marketed, and

  distributed Polluting Vehicles with defective or otherwise inadequate emission

  controls;

                    f)   Whether GM and Bosch’s conduct violates RICO and

  consumer protection statutes, and constitutes breach of contract and fraudulent

  concealment, as asserted herein;

                    g)   Whether there is an Enterprise;

                    h)   Whether Bosch participated in the Enterprise;

                    i)   Whether Plaintiffs and the other Class members overpaid for

  their vehicles at the point of sale; and

                    j)   Whether Plaintiffs and the other Class members are entitled to

  damages and other monetary relief and, if so, in what amount.

           231. Typicality: Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’

  claims are typical of the other Class members’ claims because, among other things,

  all Class members were comparably injured through GM’s wrongful conduct as

  described above.

           232. Adequacy: Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are

  adequate Class representatives because their interests do not conflict with the

  interests of the other members of the Classes they seek to represent; Plaintiffs have

  retained counsel competent and experienced in complex class action litigation; and


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  Plaintiffs intend to prosecute this action vigorously. The Classes’ interests will be

  fairly and adequately protected by Plaintiffs and their counsel.

           233. Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action

  is superior to any other available means for the fair and efficient adjudication of

  this controversy, and no unusual difficulties are likely to be encountered in the

  management of this class action. The damages or other financial detriment suffered

  by Plaintiffs and the other Class members are relatively small compared to the

  burden and expense that would be required to individually litigate their claims

  against GM, so it would be impracticable for the members of the Classes to

  individually seek redress for GM’s wrongful conduct. Even if Class members

  could afford individual litigation, the court system could not. Individualized

  litigation creates a potential for inconsistent or contradictory judgments and

  increases the delay and expense to all parties and the court system. By contrast, the

  class action device presents far fewer management difficulties and provides the

  benefits of single adjudication, economy of scale, and comprehensive supervision

  by a single court.




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                                      VIII. CLAIMS

  A.       Claims Brought on Behalf of the Nationwide RICO Class
                                          COUNT 1
                        VIOLATIONS OF RACKETEER INFLUENCED AND
                           CORRUPT ORGANIZATIONS ACT (RICO)
                             VIOLATION OF 18 U.S.C. § 1962(C), (D)
           234. Plaintiffs incorporate by reference each preceding and succeeding

  paragraph as though fully set forth herein.

           235. Plaintiffs bring this Count individually and on behalf of the

  Nationwide RICO Class against Defendants GM, Robert Bosch GmbH, and Robert

  Bosch LLC (collectively, “RICO Defendants”).

           236. The RICO Defendants are all “persons” under 18 U.S.C. § 1961(3)

  because they are capable of holding, and do hold, “a legal or beneficial interest in

  property.”

           237. Section 1962(c) makes it “unlawful for any person employed by or

  associated with any enterprise engaged in, or the activities of which affect,

  interstate or foreign commerce, to conduct or participate, directly or indirectly, in

  the conduct of such enterprise’s affairs through a pattern of racketeering activity.”

  Section 1962(d), in turn, makes it unlawful for “any person to conspire to violate.”

           238. For many years now, the RICO Defendants have aggressively sought

  to increase the sales of Polluting Vehicles in an effort to bolster revenue, augment

  profits, and increase GM’s share of the diesel truck market. Finding it impossible


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  to achieve their goals lawfully, however, the RICO Defendants resorted instead to

  orchestrating a fraudulent scheme and conspiracy. In particular, the RICO

  Defendants, along with other entities and individuals, created and/or participated in

  the affairs of an illegal enterprise (“Clean Diesel Fraud Enterprise”) whose direct

  purpose was to deceive the regulators and the public into believing the Polluting

  Vehicles were “clean” and “environmentally friendly.” As explained in greater

  detail below, the RICO Defendants’ acts in furtherance of the Clean Diesel Fraud

  Enterprise violate Section 1962(c) and (d).

           1.       The members of the Clean Diesel Fraud Enterprise
           239. Upon information and belief, the Clean Diesel Fraud Enterprise

  consisted of at least the following entities and individuals: GM, Robert Bosch

  GmbH, and Robert Bosch LLC.

           240. Robert Bosch GmbH and Robert Bosch LLC tested, manufactured,

  and sold the electronic control module (ECM) that managed the emissions control

  system used by GM in the Polluting Vehicles. This particular ECM is more

  formally referred to as the Electronic Diesel Control Unit 17.

           241. Defendant Bosch GmbH is a multinational engineering and

  electronics company headquartered in Gerlingen, Germany, which has hundreds of

  subsidiaries and companies. It wholly owns defendant Bosch LLC, a Delaware

  limited liability company headquartered in Farmington Hills, Michigan. As


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  explained above, Bosch’s sectors and divisions are grouped by subject matter, not

  location. Mobility Solutions (formerly Automotive Technology) is the Bosch

  sector at issue, particularly its Diesel Services division, and it encompasses

  employees of Bosch GmbH and Bosch LLC. These individuals were responsible

  for the design, manufacture, development, customization, and supply of the defeat

  device to GM for use in the Polluting Vehicles.

           242. Bosch worked with GM, Volkswagen, Mercedes, and FCA to develop

  and implement a specific and unique set of software algorithms to surreptitiously

  evade emissions regulations. Bosch customized their EDC Unit 17s for installation

  in the Polluting Vehicles with unique software code to detect when it was

  undergoing emissions testing, as described above, and did so for other vehicles

  with defeat devices in Volkswagen and Mercedes vehicles.61

           243. Bosch’s conduct with respect to Volkswagen and other manufacturers,

  outlined below, adds plausibility to its participation in the enterprise described

  herein. For example, Bosch was well aware that the EDC Unit 17 would be used

  by automobile manufacturers, including GM, to cheat on emissions testing. Bosch

  was also critical to the concealment of the defeat device in communications with




      61
       Exhibit 24, Michael Taylor, EPA Investigating Bosch over VW Diesel
  Cheater Software, Car and Driver (Nov. 23, 2015), http://blog.caranddriver.com/
  epa-investigating-bosch-over-vw-diesel-cheater-software/.
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  U.S. regulators and went even further to actively lobby U.S. lawmakers on behalf

  of Volkswagen and its “clean diesel” vehicles.

           244. EDC Unit 17 could not effectively lower NOx emissions to legal

  levels during normal operating conditions. In order to pass the emissions test, then,

  EDC Unit 17 is equipped with a “defeat device,” which is software that allows the

  vehicle to determine whether it is being operated under normal conditions or

  testing conditions.

           245. The EDC 17 ECU was manufactured by Bosch GmbH and sold to

  GM. Bosch built the ECU hardware and developed the software running in the

  ECU. Bosch developed a “function sheet” that documents the functional behavior

  of a particular release of the ECU firmware. All function sheets used in the GM

  EDC, on information and belief, bear a “Robert Bosch GmbH” copyright.

           246. As was publicly reported, the Bosch defendants, seeking to conceal

  their involvement in the unlawful Clean Diesel Fraud Enterprise, sent a letter to

  Volkswagen AG in 2007 stating that Volkswagen Diesels could not be lawfully

  operated if the LNT or SCR after-treatment system was disabled.62 The exact same

  logic applies to the GM Polluting Vehicles—i.e., they could not be lawfully

  operated with the defeat device.


      62
      Exhibit 49, Stef Shrader, Feds Are Now Investigating Volkswagen Supplier
  Bosch Over Dieselgate, Jalopnik (Nov. 19, 2015), http://jalopnik.com/feds-are-
  now-investigating-volkswagen-supplier-bosch-ov-1743624448.
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           247. Indeed, notwithstanding their knowledge that the Volkswagen Diesels

  could not be lawfully operated if the emissions system was disabled, the Bosch

  defendants, driven to cement their position as a leading supplier of diesel emissions

  equipment, went on to sell approximately eleven million EDC Unit 17s to

  Volkswagen over an eight-year period and sold hundreds of thousands of EDC

  units to GM for use in Polluting Vehicles, as well as hundreds of thousands of

  units to Mercedes and FCA.63

           248. The persons and entities described in the preceding section are

  members of and constitute an “association-in-fact” enterprise.

           249. At all relevant times, the Clean Diesel Fraud Enterprise: (a) had an

  existence separate and distinct from each Defendant; (b) was separate and distinct

  from the pattern of racketeering in which the RICO Defendants engaged; and

  (c) was an ongoing organization consisting of legal entities, including GM, the

  Bosch defendants, and other entities and individuals associated for the common

  purpose of designing, manufacturing, distributing, testing, and selling the Polluting

  Vehicles through fraudulent COCs and EOs, false emissions tests, deceptive and

  misleading marketing and materials, and deriving profits and revenues from those

  activities. Each member of the Clean Diesel Fraud Enterprise shared in the bounty


      63
       Exhibit 24, Michael Taylor, EPA Investigating Bosch over VW Diesel
  Cheater Software, Car and Driver (Nov. 23, 2015), http://blog.caranddriver.com/
  epa-investigating-bosch-over-vw-diesel-cheater-software/.
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  generated by the enterprise—i.e., by sharing the benefit derived from increased

  sales revenue generated by the scheme to defraud consumers and franchise dealers

  alike nationwide.

           250. The Clean Diesel Fraud Enterprise functioned by selling vehicles and

  component parts to the consuming public. Many of these products are legitimate,

  including vehicles that do not contain defeat devices and software capable of

  allowing the engine to manipulate the software such that the emissions system is

  turned on or off at certain times. However, the RICO Defendants and their co-

  conspirators, through their illegal Enterprise, engaged in a pattern of racketeering

  activity, which involves a fraudulent scheme to increase revenue for Defendants

  and the other entities and individuals associated-in-fact with the Enterprise’s

  activities through the illegal scheme to sell the Polluting Vehicles.

           251. The Clean Diesel Fraud Enterprise engaged in and its activities

  affected interstate and foreign commerce because it involved commercial activities

  across state boundaries, such as the marketing, promotion, advertisement and sale

  or lease of the Polluting Vehicles throughout the country and the receipt of monies

  from the sale of the same.

           252. Within the Clean Diesel Fraud Enterprise, there was a common

  communication network by which co-conspirators shared information on a regular

  basis. The Clean Diesel Fraud Enterprise used this common communication


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  network for the purpose of manufacturing, marketing, testing, and selling the

  Polluting Vehicles to the general public nationwide.

           253. Each participant in the Clean Diesel Fraud Enterprise had a systematic

  linkage to each other through corporate ties, contractual relationships, financial

  ties, and continuing coordination of activities. Through the Clean Diesel Fraud

  Enterprise, the RICO Defendants functioned as a continuing unit with the purpose

  of furthering the illegal scheme and their common purposes of increasing their

  revenues and market share, and minimizing losses.

           254. The RICO Defendants participated in the operation and management

  of the Clean Diesel Fraud Enterprise by directing its affairs, as described herein.

  While the RICO Defendants participated in, and are members of, the enterprise,

  they have a separate existence from the enterprise, including distinct legal statuses,

  different offices and roles, bank accounts, officers, directors, employees, individual

  personhood, reporting requirements, and financial statements.

           255. GM exerted substantial control and participated in the affairs of the

  Clean Diesel Fraud Enterprise by:

                    a.   Designing in conjunction with Robert Bosch
                         GmbH the Polluting Vehicles with defeat devices;
                    b.   Failing to correct or disable the defeat devices;
                    c.   Manufacturing, distributing, and selling the
                         Polluting Vehicles that emitted greater pollution
                         than allowable under the applicable regulations;


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                    d.   Misrepresenting and omitting (or causing such
                         misrepresentations and omissions to be made)
                         vehicle specifications on COC and EO
                         applications;
                    e.   Introducing the Polluting Vehicles into the stream
                         of U.S. commerce without a valid COC and/or EO;
                    f.   Concealing the existence of the defeat devices and
                         the unlawfully high emissions from regulators and
                         the public;
                    g.   Persisting in the manufacturing, distribution, and
                         sale of the Polluting Vehicles even after questions
                         were raised about the emissions testing and
                         discrepancies concerning the same;
                    h.   Misleading government regulators as to the nature
                         of the defeat devices and the defects in the
                         Polluting Vehicles;
                    i.   Misleading the driving public as to the nature of
                         the defeat devices and the defects in the Polluting
                         Vehicles;
                    j.   Designing and distributing marketing materials
                         that misrepresented and concealed the defects in
                         the vehicles;
                    k.   Otherwise misrepresenting or concealing the
                         defective nature of the Polluting Vehicles from the
                         public and regulators; and
                    l.   Illegally selling and/or distributing the Polluting
                         Vehicles; collecting revenues and profits from the
                         sale of such products; and ensuring that the other
                         RICO Defendants and unnamed co-conspirators
                         complied with the fraudulent scheme.
           256. Bosch also participated in, operated, and/or directed the Clean Diesel

  Fraud Enterprise. Bosch participated in the fraudulent scheme by manufacturing,

  installing, testing, modifying, and supplying the EDC Unit 17 which operated as a

  “defeat device” in the Polluting Vehicles. Bosch exercised tight control over the

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  coding and other aspects of the defeat device software and closely collaborated

  with GM to develop, customize, and calibrate the defeat devices. Additionally,

  Bosch continuously cooperated with GM to ensure that the EDC Unit 17 was fully

  integrated into the Polluting Vehicles. Bosch also participated in the affairs of the

  Enterprise by concealing the defeat devices on U.S. documentation and in

  communications with U.S. regulators. Bosch collected tens of millions of dollars in

  revenues and profits from the hidden defeat devices installed in the Polluting

  Vehicles.

           257. Without the RICO Defendants’ willing participation, including

  Bosch’s active involvement in developing and supplying the critical defeat devices

  for the Polluting Vehicles, the Clean Diesel Fraud Enterprise’s scheme and

  common course of conduct would not have been successful.

           258. The RICO Defendants directed and controlled the ongoing

  organization necessary to implement the scheme at meetings and through

  communications of which Plaintiffs cannot fully know at present because such

  information lies in the Defendants’ and others’ hands.

           259. The members of the Clean Diesel Fraud Enterprise all served a

  common purpose; namely, to outsell their law-abiding competitors and increase

  their revenues through the sale of as many Polluting Vehicles (including the

  emissions components made and sold by Bosch) as possible. Each member of the


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  Clean Diesel Fraud Enterprise shared the bounty generated by the enterprise—i.e.,

  by sharing the benefit derived from increased sales revenue generated by the

  scheme to defraud. GM sold more Polluting Vehicles by utilizing an emissions

  control system that was cheaper to install and allowed for generous performance

  and efficiency tuning, all while charging consumers a premium for purportedly

  “clean” and “fuel efficient” Polluting Vehicles. The Bosch defendants, in turn, sold

  more EDC Units because GM manufactured and sold more Polluting Vehicles. The

  RICO Defendants achieved their common purpose by repeatedly misrepresenting

  and concealing the nature of the Polluting Vehicles and the ability of the emissions

  control systems (including the Bosch-supplied parts) to effectively reduce toxic

  emissions during normal operating conditions.

           260. The RICO Defendants continued their enterprise even after the

  Volkswagen scandal became public in September 2015. GM continued to

  manufacture and sell 2016 Polluting Vehicles. Assuming top executives at GM did

  not know of the defeat devices in its vehicles (an assumption not true of

  Volkswagen or Bosch), a responsible chief executive would have inquired: Do we

  have a diesel problem? Either top executives at GM failed to ask questions or they

  agreed to continue a cover-up because GM did not stop selling Polluting Vehicles

  and has continued to conceal the truth.




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           2.       The Predicate Acts
           261. To carry out, or attempt to carry out, the scheme to defraud, the RICO

  Defendants conducted or participated in the conduct of the affairs of the Clean

  Diesel Fraud Enterprise through a pattern of racketeering activity that employed

  the use of mail and wire facilities, in violation of 18 U.S.C. §§ 1341 (mail fraud)

  and 1343 (wire fraud).

           262. Specifically, the RICO Defendants participated in the scheme to

  defraud by using mail, telephone, and the Internet to transmit writings travelling in

  interstate or foreign commerce.

           263. The RICO Defendants’ use of the mails and wires include but are not

  limited to the transmission, delivery, or shipment of the following by the RICO

  Defendants or third parties that were foreseeably caused to be sent as a result of

  Defendants’ illegal scheme:

                    a.   Application for certificates submitted to the EPA
                         and CARB;
                    b.   The Polluting Vehicles themselves;
                    c.   Component parts for the defeat devices;
                    d.   Essential hardware for the Polluting Vehicles;
                    e.   Falsified emission tests;
                    f.   Fraudulently-obtained COCs and EOs;
                    g.   Vehicle registrations and plates as a result of the
                         fraudulently-obtained COCs and EOs;



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                    h.   Documents and communications that facilitated
                         the falsified emission tests;
                    i.   False or misleading communications intended to
                         lull the public and regulators from discovering the
                         defeat devices and/or other auxiliary devices;
                    j.   Sales and marketing materials, including
                         advertising, websites, product packaging,
                         brochures, and labeling, which misrepresented and
                         concealed the true nature of the Polluting Vehicles;
                    k.   Documents intended to facilitate the manufacture
                         and sale of the Polluting Vehicles, including bills
                         of lading, invoices, shipping records, reports and
                         correspondence;
                    l.   Documents to process and receive payment for the
                         Polluting Vehicles by unsuspecting franchise
                         dealers, including invoices and receipts;
                    m.   Payments to Bosch;
                    n.   Deposits of proceeds;
                    o.   SEC filings where GM has failed to disclose the
                         scheme and has continued to do so post the
                         Volkswagen scandal; and
                    p.   Other documents and things, including electronic
                         communications.
           264. The RICO Defendants utilized the interstate and international mail

  and wires for the purpose of obtaining money or property by means of the

  omissions, false pretense, and misrepresentations described therein.

           265. The RICO Defendants also used the Internet and other electronic

  facilities to carry out the scheme and conceal the ongoing fraudulent activities.

  Specifically, GM made misrepresentations about the Polluting Vehicles on GM

  websites, YouTube, and through ads online, all of which were intended to mislead

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  regulators and the public about the fuel efficiency, emissions standards, and other

  performance metrics.

           266. The RICO Defendants also communicated by U.S. Mail, by interstate

  facsimile, and by interstate electronic mail with various other affiliates, regional

  offices, divisions, dealerships, and other third-party entities in furtherance of the

  scheme.

           267. The mail and wire transmissions described herein were made in

  furtherance of Defendants’ scheme and common course of conduct to deceive

  regulators and consumers and lure consumers into purchasing the Polluting

  Vehicles, which Defendants knew or recklessly disregarded as emitting illegal

  amounts of pollution, despite their advertising campaign that the Polluting

  Vehicles were “clean” diesel cars or vehicles with a “remarkable reduction in

  emission.”

           268. Many of the precise dates of the fraudulent uses of U.S. Mail and

  interstate wire facilities have been deliberately hidden and cannot be alleged

  without access to Defendants’ books and records. However, Plaintiffs have

  described the types of, and in some instances, occasions on which the predicate

  acts of mail and/or wire fraud occurred. They include thousands of

  communications to perpetuate and maintain the scheme, including the things and

  documents described in the preceding paragraphs.


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           269. The RICO Defendants have not undertaken the practices described

  herein in isolation, but as part of a common scheme and conspiracy. In violation of

  18 U.S.C. § 1962(d), the RICO Defendants conspired to violate 18 U.S.C.

  § 1962(c), as described herein. Various other persons, firms, and corporations,

  including third-party entities and individuals not named as defendants in this

  Complaint, have participated as co-conspirators with the RICO Defendants in these

  offenses and have performed acts in furtherance of the conspiracy to increase or

  maintain revenues, increase market share, and/or minimize losses for the

  Defendants and their unnamed co-conspirators throughout the illegal scheme and

  common course of conduct.

           270. The RICO Defendants aided and abetted others in the violations of the

  above laws, thereby rendering them indictable as principals in the 18 U.S.C.

  §§ 1341 and 1343 offenses.

           271. To achieve their common goals, the RICO Defendants hid from the

  general public the unlawfulness and emission dangers of the Polluting Vehicles

  and obfuscated the true nature of the defect even after regulators raised concerns.

  The RICO Defendants suppressed and/or ignored warnings from third parties,

  whistleblowers, and governmental entities about the discrepancies in emissions

  testing and the defeat devices present in the Polluting Vehicles.




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           272. The RICO Defendants and each member of the conspiracy, with

  knowledge and intent, have agreed to the overall objectives of the conspiracy and

  participated in the common course of conduct to commit acts of fraud and

  indecency in designing, manufacturing, distributing, marketing, testing, and/or

  selling the Polluting Vehicles (and the defeat devices contained therein).

           273. Indeed, for the conspiracy to succeed, each of the RICO Defendants

  and their co-conspirators had to agree to implement and use the similar devices and

  fraudulent tactics—specifically, complete secrecy about the defeat devices in the

  Polluting Vehicles.

           274. The RICO Defendants knew and intended that government regulators,

  as well as Plaintiffs and Class members, would rely on the material

  misrepresentations and omissions made by them about the Polluting Vehicles. The

  RICO Defendants knew and intended that Plaintiffs and the Class would incur

  costs and damages as a result. As fully alleged herein, Plaintiffs and the Class

  relied upon Defendants’ representations and omissions that were made or caused

  by them. Plaintiffs’ reliance is made obvious by the fact that: (1) they purchased

  hundreds of thousands of vehicles that never should have been introduced into the

  U.S. stream of commerce and whose worth is far less than was paid. In addition,

  the EPA, CARB, and other regulators relied on the misrepresentations and material




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  omissions made or caused to be made by the RICO Defendants; otherwise, GM

  could not have obtained valid COCs and EOs to sell the Polluting Vehicles.

           275. The RICO Defendants’ conduct in furtherance of this scheme was

  intentional. Plaintiffs and the Class were harmed as a result of the RICO

  Defendants’ intentional conduct. Plaintiffs, the Class, regulators, and consumers,

  among others, relied on the RICO Defendants’ material misrepresentations and

  omissions.

           276. As described herein, the RICO Defendants engaged in a pattern of

  related and continuous predicate acts for many years. The predicate acts

  constituted a variety of unlawful activities, each conducted with the common

  purpose of defrauding Plaintiffs and other Class members and obtaining significant

  monies and revenues from them and through them while providing Polluting

  Vehicles worth significantly less than the invoice price paid. The predicate acts

  also had the same or similar results, participants, victims, and methods of

  commission. The predicate acts were related and not isolated events.

           277. The predicate acts all had the purpose of generating significant

  revenue and profits for the RICO Defendants at the expense of Plaintiffs, the Class,

  and consumers. The predicate acts were committed or caused to be committed by

  the RICO Defendants through their participation in the Clean Diesel Fraud

  Enterprise and in furtherance of its fraudulent scheme, and were interrelated in that


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  they involved obtaining Plaintiffs’ and Class members’ funds, artificially inflating

  the brand and dealership goodwill values, and avoiding the expenses associated

  with remediating the Polluting Vehicles.

           278. During the design, manufacture, testing, marketing, and sale of the

  Polluting Vehicles, the RICO Defendants shared technical, marketing, and

  financial information that plainly revealed the emissions control systems in the

  Polluting Vehicles as the ineffective, illegal, and fraudulent piece of technology

  they were and are. Nevertheless, the RICO Defendants shared and disseminated

  information that deliberately represented Polluting Vehicles as “clean,”

  “environmentally friendly,” and “fuel efficient.”

           279. By reason of and as a result of the conduct of the RICO Defendants,

  and in particular its pattern of racketeering activity, Plaintiffs and the Class have

  been injured in multiple ways, including but not limited to:

                    a.   Overpayment for Polluting Vehicles, in that Plaintiffs and the

                         Class at the time of purchase believed they were paying for

                         vehicles that met certain emission and fuel efficiency standards

                         and obtained vehicles that did not meet these standards and

                         were worth less than what was paid;




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                    b.   The value of the Polluting Vehicles has diminished, thus

                         reducing their sale and resale value, and has resulted in a loss of

                         property for Plaintiffs and the Class; and

                    c.   Plaintiffs have been wrongfully deprived of their property in

                         that the price for their vehicles was artificially inflated by

                         deliberate acts of false statements, omissions and concealment

                         and by Defendants’ acts of racketeering.

           280. The RICO Defendants’ violations of 18 U.S.C. § 1962(c) and (d) have

  directly and proximately caused injuries and damages to Plaintiffs and the Class,

  and Plaintiffs and the Class are entitled to bring this action for three times their

  actual damages, as well as injunctive/equitable relief, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c). Each of the RICO Defendants

  knew, understood, and intended for members of the Class to purchase the Polluting

  Vehicles, and knew, understood, and foresaw that revelation of the truth would

  injure members of the Class.

  B.       State Law Claims

                                             COUNT 2

                  VIOLATION OF THE ARIZONA CONSUMER FRAUD ACT
                        (ARIZONA REV. STAT. § 44-1521 ET SEQ.)
           281. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

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           282. This claim is brought by Plaintiffs on behalf of Arizona purchasers

  who are members of the class.

           283. The Arizona Consumer Fraud Act (Arizona CFA) provides that “[t]he

  act, use or employment by any person of any deception, deceptive act or practice,

  fraud . . . , misrepresentation, or concealment, suppression or omission of any

  material fact with intent that others rely upon such concealment, suppression or

  omission, in connection with the sale . . . of any merchandise whether or not any

  person has in fact been misled, deceived or damaged thereby, is declared to be an

  unlawful practice.” ARIZ. REV. STAT. § 44-1522(A).

           284. Defendants, Plaintiffs, and Class members are “persons” within the

  meaning of the Arizona CFA, ARIZ. REV. STAT. § 44-1521(6).

           285. Each Polluting Vehicle at issue is “merchandise” within the meaning

  of ARIZ. REV. STAT. § 44-1521(5).

           286. Defendants’ conduct, as set forth above, occurred in the conduct of

  trade or commerce.

           287. Pursuant to the Arizona CFA, Plaintiffs seek monetary relief against

  each Defendant in an amount to be determined at trial. Plaintiffs also seek punitive

  damages because each Defendant engaged in aggravated and outrageous conduct

  with an evil mind.




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           288. Plaintiffs also seek an order enjoining each Defendant’s unfair,

  unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper

  relief available under the Arizona CFA.

                                          COUNT 3

                        VIOLATION OF THE ARKANSAS DECEPTIVE TRADE
                                      PRACTICES ACT
                              (ARK. CODE ANN. § 4-88-101 ET SEQ.)
           289. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           290. This claim is brought by Plaintiffs on behalf of Arkansas purchasers

  who are members of the class.

           291. The Arkansas Deceptive Trade Practices Act (Arkansas DTPA)

  prohibits “[d]eceptive and unconscionable trade practices,” which include but are

  not limited to “[e]ngaging in any . . . unconscionable false, or deceptive act or

  practice in business, commerce, or trade.” ARK. CODE. ANN. § 4-88-107(a)(10).

  The Arkansas DTPA also prohibits, in connection with the sale or advertisement of

  any goods, “(1) the act, use, or employment by any person of any deception, fraud,

  or pretense; or (2) the concealment, suppression, or omission of any material fact

  with intent that other rely upon the concealment, suppression, or omission.” ARK

  CODE. ANN. § 4-88-108.




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           292. Defendants, Plaintiffs, and Class members are “persons” within the

  meaning of ARK. CODE. ANN. § 4-88-102(5).

           293. Each Polluting Vehicle at issue constitutes “goods” within the

  meaning of ARK. CODE ANN. § 4-88-102(4).

           294. Plaintiffs seek monetary relief against Defendants in an amount to be

  determined at trial. Plaintiffs also seek punitive damages because Defendants acted

  wantonly in causing Plaintiffs’ and Class members’ injuries, or with such a

  conscious indifference to the consequences that malice may be inferred.

           295. Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful,

  and/or deceptive practices, attorneys’ fees, and any other just and proper relief

  available under the Arkansas DTPA.

                                          COUNT 4
                           VIOLATIONS OF THE CALIFORNIA
                              UNFAIR COMPETITION LAW
                        (CAL. BUS. & PROF. CODE § 17200 ET SEQ.)
           296. Plaintiffs (for purposes of all California Class Counts) incorporate by

  reference all paragraphs as though fully set forth herein.

           297. This claim is brought by Plaintiffs on behalf of California purchasers

  who are members of the Class.

           298. California’s Unfair Competition Law (UCL), CAL. BUS. & PROF.

  CODE § 17200 et seq., proscribes acts of unfair competition, including “any




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  unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue

  or misleading advertising.”

           299. GM’s conduct, as described herein, was and is in violation of the

  UCL. GM’s conduct violates the UCL in at least the following ways:

                    i.     By failing to disclose that the NOx reduction system in the

  Polluting Vehicles turns off or is limited during normal driving conditions;

                    ii.    By selling and leasing Polluting Vehicles that suffer from a

  defective emissions control system and that emit high levels of pollutants under

  normal driving conditions;

                    iii.   By knowingly and intentionally concealing from Plaintiffs and

  the other Class members that the NOx reduction system in the Polluting Vehicles

  turns off or is limited during normal driving conditions and that the Polluting

  Vehicles suffer from a defective emissions control system and emit unlawfully

  high levels of pollutants under normal driving conditions;

                    iv.    By marketing Polluting Vehicles as reduced emissions vehicles

  possessing functional and defect-free, EPA-compliant diesel engine systems;

                    vii.   By violating other California laws, including California

  consumer protection laws and California laws governing vehicle emissions and

  emission testing requirements.




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           300. GM intentionally and knowingly misrepresented material facts

  regarding the Polluting Vehicles with an intent to mislead Plaintiffs and the Class.

           301. In purchasing or leasing the Polluting Vehicles, Plaintiffs and the

  other Class members were deceived by GM’s failure to disclose that the NOx

  reduction system in the Polluting Vehicles turns off or is limited during normal

  driving conditions, that the emissions controls were defective, and that the

  Polluting Vehicles emitted unlawfully high levels of pollutants, including NOx, as

  described above.

           302. Plaintiffs were also deceived by GM’s portrayal of these vehicles as

  turning NOx into a “fine mist” (misleading since the emissions were not a fine mist

  but at times an environmental hazard), having “lower emissions” (misleading as at

  times they were materially and offensively high), accomplishing a “reasonable

  reduction in emissions” (misleading as at material times the emissions are high and

  environmentally offensive), and reducing emissions by a “whopping” amount

  (only under limited circumstances).

           303. Plaintiffs and Class members reasonably relied upon GM’s false

  misrepresentations. They had no way of knowing that GM’s representations were

  false and gravely misleading. As alleged herein, GM engaged in extremely

  sophisticated methods of deception. Plaintiffs and Class members did not, and

  could not, unravel GM’s deception on their own.


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           304. GM knew or should have known that its conduct violated the UCL.

           305. GM owed Plaintiffs and the Class a duty to disclose the truth about its

  emissions systems manipulation because GM:

                    a.   Possessed exclusive knowledge that it manipulated the

  emissions system in the Polluting Vehicles to turn off or limit effectiveness in

  normal driving conditions;

                    b.   Intentionally concealed the foregoing from Plaintiffs and the

  Class; and/or

                    c.   Made incomplete representations that it manipulated the

  emissions system in the Polluting Vehicles to turn off or limit effectiveness in

  normal driving conditions, while purposefully withholding material facts from

  Plaintiffs and the Class that contradicted these representations.

           306. GM had a duty to disclose that the NOx reduction system in the

  Polluting Vehicles turns off or is limited during normal driving conditions, emits

  pollutants at a much higher rate than gasoline-powered vehicles, and that the

  emissions far exceeded those expected by a reasonable consumer. Plaintiffs and the

  other Class members relied on GM’s material representations and/or omissions that

  the Polluting Vehicles they were purchasing were reduced emission vehicles,

  efficient, and free from defects.




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           307. GM’s conduct proximately caused injuries to Plaintiffs and the other

  Class members.

           308. Plaintiffs and the other Class members were injured and suffered

  ascertainable loss, injury-in-fact, and/or actual damage as a proximate result of

  GM’s conduct in that Plaintiffs and the other Class members overpaid for their

  Polluting Vehicles, and/or their Polluting Vehicles have suffered a diminution in

  value. These injuries are the direct and natural consequence of GM’s

  misrepresentations and omissions.

           309. GM’s violations present a continuing risk to Plaintiffs as well as to the

  general public. GM’s unlawful acts and practices complained of herein affect the

  public interest.

           310. GM’s misrepresentations and omissions alleged herein caused

  Plaintiffs and the other Class members to make their purchases or leases of their

  Polluting Vehicles. Absent those misrepresentations and omissions, Plaintiffs and

  the other Class members would not have purchased or leased these vehicles, would

  not have purchased or leased these Polluting Vehicles at the prices they paid,

  and/or would have purchased or leased less expensive alternative vehicles that did

  not contain defective GM Clean Diesel engine systems that failed to comply with

  EPA and California emissions standards.




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           311. Accordingly, Plaintiffs and the other Class members have suffered

  injury in fact, including lost money or property, as a result of GM’s

  misrepresentations and omissions.

           312. Plaintiffs request that this Court enter such orders or judgments as

  may be necessary to restore to Plaintiffs and members of the Class any money it

  acquired by unfair competition, including restitution and/or restitutionary

  disgorgement, as provided in CAL. BUS. & PROF. CODE § 17203 and CAL. CIV.

  CODE § 3345; and for such other relief as may be appropriate.

                                          COUNT 5
            VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW
                    (CAL. BUS. & PROF. CODE § 17500 ET SEQ.)
           313. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

           314. This claim is brought by Plaintiffs on behalf of California purchasers

  who are members of the Class.

           315. CAL. BUS. & PROF. CODE § 17500 states: “It is unlawful for any . . .

  corporation . . . with intent directly or indirectly to dispose of real or personal

  property . . . to induce the public to enter into any obligation relating thereto, to

  make or disseminate or cause to be made or disseminated . . . from this state before

  the public in any state, in any newspaper or other publication, or any advertising

  device, . . . or in any other manner or means whatever, including over the Internet,


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  any statement . . . which is untrue or misleading, and which is known, or which by

  the exercise of reasonable care should be known, to be untrue or misleading.”

           316. GM caused to be made or disseminated through California and the

  United States, through advertising, marketing and other publications, statements

  that were untrue or misleading, and which were known, or which by the exercise of

  reasonable care should have been known to GM, to be untrue and misleading to

  consumers, including Plaintiffs and the other Class members.

           317. GM has violated § 17500 because the misrepresentations and

  omissions regarding the functionality, reliability, environmental-friendliness, and

  lawfulness of Polluting Vehicles as set forth in this Complaint were material and

  likely to deceive a reasonable consumer.

           318. Plaintiffs and the other Class members have suffered an injury in fact,

  including the loss of money or property, as a result of GM’s unfair, unlawful,

  and/or deceptive practices. In purchasing or leasing their Polluting Vehicles,

  Plaintiffs and the other Class members relied on the misrepresentations and/or

  omissions of GM with respect to the functionality, reliability, environmental-

  friendliness, and lawfulness of the Polluting Vehicles. GM’s representations turned

  out not to be true because the NOx reduction system in the Polluting Vehicles turns

  off or is limited during normal driving conditions and the Polluting Vehicles are

  distributed with GM Clean Diesel engine systems that include defective emissions


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  controls and a “Defeat Device.” Had Plaintiffs and the other Class members known

  this, they would not have purchased or leased their Polluting Vehicles and/or paid

  as much for them. Accordingly, Plaintiffs and the other Class members overpaid

  for their Polluting Vehicles.

           319. All of the wrongful conduct alleged herein occurred, and continues to

  occur, in the conduct of GM’s business. GM’s wrongful conduct is part of a pattern

  or generalized course of conduct that is still perpetuated and repeated, both in the

  State of California and nationwide.

           320. The facts concealed and omitted by GM to Plaintiffs and the other

  California Class members are material in that a reasonable consumer would have

  considered them to be important in deciding whether to purchase or lease the

  Polluting Vehicles or pay a lower price. Had Plaintiffs and the other California

  Class members known of the higher emissions at the time they purchased or leased

  their Polluting Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

           321. Plaintiffs have provided GM with notice of its violations of the CLRA

  pursuant to CAL. CIV. CODE § 1782(a). The notice was transmitted to GM on May

  23, 2017.

           322. Plaintiffs’ and the other California Class members’ injuries were

  proximately caused by GM’s fraudulent and deceptive business practices.


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           323. Therefore, Plaintiffs and the other California Class members are

  entitled to equitable and monetary relief under the CLRA.

           324. Plaintiffs, individually and on behalf of the other Class members,

  request that this Court enter such orders or judgments as may be necessary to

  restore to Plaintiffs and the other Class members any money GM acquired by

  unfair competition, including restitution and/or restitutionary disgorgement, and

  for such other relief as may be appropriate.

                                          COUNT 6
                                 BREACH OF CONTRACT
                              (BASED ON CALIFORNIA LAW)
           325. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

           326. This claim is brought by Plaintiffs on behalf of California purchasers

  who are members of the Class.

           327. GM’s misrepresentations and omissions alleged herein, including

  GM’s failure to disclose the existence of the GM Clean Diesel engine system’s

  defect and/or defective design of the emissions controls, caused Plaintiffs and the

  other Class members to make their purchases or leases of their Polluting Vehicles.

  Absent those misrepresentations and omissions, Plaintiffs and the other Class

  members would not have purchased or leased these Polluting Vehicles, would not

  have purchased or leased these Polluting Vehicles at the prices they paid, and/or


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  would have purchased or leased less expensive alternative vehicles that did not

  contain the defective GM Clean Diesel engine system and which were not

  marketed as including such a system. Accordingly, Plaintiffs and the other Class

  members overpaid for their Polluting Vehicles and did not receive the benefit of

  their bargain.

           328. Each and every sale or lease of an Polluting Vehicle constitutes a

  contract between GM and the purchaser or lessee. GM breached these contracts by

  selling or leasing to Plaintiffs and the other Class members defective Polluting

  Vehicles and by misrepresenting or failing to disclose that the NOx reduction

  system in the Polluting Vehicles turns off or is limited during normal driving

  conditions and the existence of the GM Clean Diesel engine system’s defect and/or

  defective design of the emissions controls, including information known to GM,

  rendering each Polluting Vehicle non-EPA-compliant, and thus less valuable than

  vehicles not equipped with the defective GM Clean Diesel engine system.

           329. As a direct and proximate result of GM’s breach of contract, Plaintiffs

  and the Class have been damaged in an amount to be proven at trial, which shall

  include, but is not limited to, all compensatory damages, incidental and

  consequential damages, and other damages allowed by law.




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                                          COUNT 7
                              FRAUDULENT CONCEALMENT
                              (BASED ON CALIFORNIA LAW)
           330. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

           331. This claim is brought by Plaintiffs on behalf of California purchasers

  who are members of the Class.

           332. GM intentionally concealed that the NOx reduction system in the

  Polluting Vehicles turns off or is limited during normal driving conditions, that the

  Polluting Vehicles had defective emissions controls, emitted pollutants at a higher

  level than gasoline-powered vehicles, emitted pollutants higher than a reasonable

  consumer would expect in light of GM’s advertising campaign, emitted high levels

  of pollutants such as NOx, and were non-compliant with EPA emission

  requirements, or GM acted with reckless disregard for the truth and denied

  Plaintiffs and the other Class members information that is highly relevant to their

  purchasing decision.

           333. GM further affirmatively misrepresented to Plaintiffs in advertising

  and other forms of communication, including standard and uniform material

  provided with each car, that the Polluting Vehicles it was selling had no significant

  defects, were Earth-friendly and low emission vehicles, complied with EPA

  regulations, and would perform and operate properly when driven in normal usage.


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           334. GM knew these representations were false when made.

           335. The Polluting Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate

  than gasoline-powered vehicles and at a much higher rate than a reasonable

  consumer would expect in light of GM’s advertising campaign, non-EPA-

  compliant, and unreliable because the NOx reduction system in the Polluting

  Vehicles turns off or is limited during normal driving conditions.

           336. GM had a duty to disclose that the NOx reduction system in the

  Polluting Vehicles turns off or is limited during normal driving conditions and that

  these Polluting Vehicles were defective, employed a “Defeat Device,” emitted

  pollutants at a much higher rate than gasoline-powered vehicles, that the emissions

  far exceeded those expected by a reasonable consumer, were non-EPA-compliant

  and unreliable, because Plaintiffs and the other Class members relied on GM’s

  material representations that the Polluting Vehicles they were purchasing were

  reduced emission vehicles, efficient, and free from defects.

           337. As alleged in this Complaint, at all relevant times, GM has held out

  the Polluting Vehicles to be reduced emissions and EPA-compliant. GM disclosed

  certain details about the GM Clean Diesel engine, but nonetheless, GM

  intentionally failed to disclose the important facts that the NOx reduction system in

  the Polluting Vehicles turns off or is limited during normal driving conditions and


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  that the Polluting Vehicles had defective emissions controls, deploy a “Defeat

  Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA

  emissions requirements, making other disclosures about the emission system

  deceptive.

           338. The truth about the defective emissions controls and GM’s

  manipulations of those controls, high emissions, the “Defeat Device,” and non-

  compliance with EPA emissions requirements was known only to GM; Plaintiffs

  and the Class members did not know of these facts and GM actively concealed

  these facts from Plaintiffs and Class members.

           339. Plaintiffs and Class members reasonably relied upon GM’s deception.

  They had no way of knowing that GM’s representations were false and/or

  misleading. As consumers, Plaintiffs and Class members did not, and could not,

  unravel GM’s deception on their own. Rather, GM intended to deceive Plaintiffs

  and Class members by concealing the true facts about the Polluting Vehicle

  emissions.

           340. GM also concealed and suppressed material facts concerning what is

  evidently the true culture of GM—one characterized by an emphasis on profits and

  sales above compliance with federal and state clean air laws and emissions

  regulations that are meant to protect the public and consumers. It also emphasized


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  profits and sales above the trust that Plaintiffs and Class members placed in its

  representations. Consumers buy diesel cars from GM because they feel they are

  clean diesel cars. They do not want to be spewing noxious gases into the

  environment. And yet, that is precisely what the Polluting Vehicles are doing.

           341. GM’s false representations were material to consumers, because they

  concerned the quality of the Polluting Vehicles, because they concerned

  compliance with applicable federal and state law and regulations regarding clean

  air and emissions, and also because the representations played a significant role in

  the value of the vehicles. As GM well knew, its customers, including Plaintiffs and

  Class members, highly valued that the vehicles they were purchasing or leasing

  were fuel efficient, clean diesel cars with reduced emissions, and they paid

  accordingly.

           342. GM had a duty to disclose the emissions defect, defective design of

  the emissions controls, and violations with respect to the Polluting Vehicles

  because details of the true facts were known and/or accessible only to GM, because

  GM had exclusive knowledge as to such facts, and because GM knew these facts

  were not known to or reasonably discoverable by Plaintiffs or Class members. GM

  also had a duty to disclose because it made general affirmative representations

  about the qualities of its vehicles with respect to emissions, starting with references

  to them as reduced emissions diesel cars and as compliant with all laws in each


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  state, which were misleading, deceptive, and incomplete without the disclosure of

  the additional facts set forth above regarding the actual emissions of its vehicles,

  its actual philosophy with respect to compliance with federal and state clean air

  laws and emissions regulations, and its actual practices with respect to the vehicles

  at issue. Having volunteered to provide information to Plaintiffs and Class

  members, GM had the duty to disclose not just the partial truth, but the entire truth.

  These omitted and concealed facts were material because they directly impact the

  value of the Polluting Vehicles purchased or leased by Plaintiffs and Class

  members. Whether a manufacturer’s products pollute, comply with federal and

  state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns

  to a consumer, including with respect to the emissions certifications testing their

  vehicles must pass. GM represented to Plaintiffs and Class members that they were

  purchasing or leasing reduced emission diesel vehicles, when in fact, they were

  purchasing or leasing defective, high emission vehicles.

           343. GM actively concealed and/or suppressed these material facts, in

  whole or in part, to pad and protect its profits and to avoid the perception that its

  vehicles were not clean diesel vehicles and did not or could not comply with

  federal and state laws governing clean air and emissions, which perception would




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  hurt the brand’s image and cost GM money, and it did so at the expense of

  Plaintiffs and Class members.

           344. GM has still not made full and adequate disclosures, and continues to

  defraud Plaintiffs and Class members by concealing material information regarding

  the emissions qualities of its referenced vehicles.

           345. Plaintiffs and Class members were unaware of the omitted material

  facts referenced herein, and they would not have acted as they did if they had

  known of the concealed and/or suppressed facts, in that they would not have

  purchased purportedly reduced emissions diesel cars manufactured by GM, and/or

  would not have continued to drive their heavily polluting vehicles, or would have

  taken other affirmative steps in light of the information concealed from them.

  Plaintiffs’ and Class members’ actions were justified. GM was in exclusive control

  of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

           346. Because of the concealment and/or suppression of the facts, Plaintiffs

  and Class members have sustained damage because they own vehicles that are

  diminished in value as a result of GM’s concealment of the true quality and

  quantity of those vehicles’ emissions and GM’s failure to timely disclose the defect

  or defective design of the GM Clean Diesel engine system, the actual emissions

  qualities and quantities of GM-branded vehicles, and the serious issues engendered


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  by GM’s corporate policies. Had Plaintiffs and Class members been aware of the

  true emissions facts with regard to the Polluting Vehicles, and the Company’s

  disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified

  previously owned vehicles would have paid less for their vehicles or would not

  have purchased or leased them at all.

           347. The value of Plaintiffs’ and Class members’ vehicles has diminished

  as a result of GM’s fraudulent concealment of the defective emissions controls of

  the Polluting Vehicles, and of the high emissions of the Polluting Vehicles, and of

  the non-compliance with EPA emissions requirements, all of which has greatly

  tarnished the GM brand name attached to Plaintiffs’ and Class members’ vehicles

  and made any reasonable consumer reluctant to purchase any of the Polluting

  Vehicles, let alone pay what otherwise would have been fair market value for the

  vehicles.

           348. Accordingly, GM is liable to Plaintiffs and Class members for

  damages in an amount to be proven at trial.

           349. GM’s acts were done wantonly, maliciously, oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and

  Class members’ rights and the representations that GM made to them in order to

  enrich GM. GM’s conduct warrants an assessment of punitive damages in an


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  amount sufficient to deter such conduct in the future, which amount is to be

  determined according to proof.

                                          COUNT 8
             VIOLATION OF THE LOUISIANA UNFAIR TRADE PRACTICES
                      AND CONSUMER PROTECTION LAW
                        (LA. REV. STAT. § 51:1401 ET SEQ.)
           350. Plaintiffs reallege and incorporate by reference all paragraphs as

  though fully set forth herein.

           351. This claim is brought by Plaintiffs on behalf of Louisiana purchasers

  who are members of the Class

           352. GM, Plaintiffs, and the Louisiana Class members are “persons” within

  the meaning of LA. REV. STAT. § 51:1402(8).

           353. Plaintiffs and Louisiana Class members are “consumers” within the

  meaning of LA. REV. STAT. § 51:1402(1).

           354. GM engaged in “trade” or “commerce” within the meaning of LA.

  REV. STAT. § 51:1402(9).

           355. The Louisiana Unfair Trade Practices and Consumer Protection Law

  (“Louisiana CPL”) makes unlawful “deceptive acts or practices in the conduct of

  any trade or commerce.” LA. REV. STAT. § 51:1405(A). GM participated in

  misleading, false, or deceptive acts that violated the Louisiana CPL.

           356. GM also engaged in unlawful trade practices by employing deception,

  deceptive acts or practices, fraud, misrepresentations, or concealment, suppression

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  or omission of any material fact with intent that others rely upon such

  concealment, suppression or omission, in connection with the sale of Polluting

  Vehicles.

           357. GM’s unfair or deceptive acts or practices were likely to and did in

  fact deceive reasonable consumers.

           358. GM intentionally and knowingly misrepresented material facts

  regarding the Polluting Vehicles with intent to mislead Plaintiffs and the Louisiana

  Class.

           359. GM knew or should have known that its conduct violated the

  Louisiana CPL.

           360. GM owed Plaintiffs a duty to disclose the emissions in the Polluting

  Vehicles, because GM:

                    a.   Possessed exclusive knowledge;

                    b.   Intentionally concealed the foregoing from
                         Plaintiffs; and/or

                    c.   Made incomplete representations about the
                         emissions and performance of the Polluting
                         Vehicles, while purposefully withholding material
                         facts from Plaintiffs that contradicted these
                         representations.

           361. Plaintiffs and the Louisiana Class suffered ascertainable loss caused

  by GM’s misrepresentations and its concealment of and failure to disclose material

  information.


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           362. As a direct and proximate result of GM’s violations of the Louisiana

  CPL, Plaintiffs and the Louisiana Class have suffered injury-in-fact and/or actual

  damage.

           363. Pursuant to LA. REV. STAT. § 51:1409, Plaintiffs and the Louisiana

  Class seek to recover actual damages in an amount to be determined at trial; treble

  damages for GM’s knowing violations of the Louisiana CPL; an order enjoining

  GM’s unfair, unlawful, and/or deceptive practices; declaratory relief; attorneys’

  fees; and any other just and proper relief available under LA. REV. STAT.

  § 51:1409.

                                          COUNT 9
                              FRAUDULENT CONCEALMENT
                               (BASED ON LOUISIANA LAW)
           364. Plaintiffs reallege and incorporate by reference all paragraphs as

  though fully set forth herein.

           365. This claim is brought by Plaintiffs on behalf of Louisiana purchasers

  who are members of the Class.

           366. GM concealed and suppressed material facts concerning the quality of

  its vehicles and the emissions system in the Polluting Vehicles.

           367. Because of the concealment and/or suppression of the facts, Plaintiffs

  and the Louisiana Class sustained damage because they overpaid for their vehicles

  and own vehicles that diminished in value as a result of GM’s concealment. Had


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  they been aware of the true facts, Plaintiffs and Class members would not have

  purchase or leased their Polluting Vehicles or would have paid less.

                                          COUNT 10

               VIOLATION OF THE MICHIGAN CONSUMER PROTECTION
                                      ACT
                       (MICH. COMP. LAWS § 445.903 ET SEQ.)

           368. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           369. This claim is brought by Plaintiffs on behalf of Michigan purchasers

  who are members of the Class.

           370. The Michigan Consumer Protection Act (Michigan CPA) prohibits

  “[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct

  of trade or commerce,” including “[f]ailing to reveal a material fact, the omission

  of which tends to mislead or deceive the consumer, and which fact could not

  reasonably be known by the consumer”; “[m]aking a representation of fact or

  statement of fact material to the transaction such that a person reasonably believes

  the represented or suggested state of affairs to be other than it actually is”; or

  “[f]ailing to reveal facts that are material to the transaction in light of

  representations of fact made in a positive manner.” MICH. COMP. LAWS

  § 445.903(1).




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           371. Plaintiffs and Michigan Class members are “person[s]” within the

  meaning of the MICH. COMP. LAWS § 445.902(1)(d).

           372. Each Defendant is a “person” engaged in “trade or commerce” within

  the meaning of the MICH. COMP. LAWS § 445.902(1)(d) and (g).

           373. Plaintiffs seek injunctive relief to enjoin Defendants from continuing

  their unfair and deceptive acts; monetary relief against each Defendant measured

  as the greater of (a) actual damages in an amount to be determined at trial and

  (b) statutory damages in the amount of $250 for each plaintiff; reasonable

  attorneys’ fees; and any other just and proper relief available under MICH. COMP.

  LAWS § 445.911.

           374. Plaintiffs also seek punitive damages because each Defendant carried

  out despicable conduct with willful and conscious disregard of the rights of others.

  Defendants’ conduct constitutes malice, oppression, and fraud warranting punitive

  damages.

                                         COUNT 11

               VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
                          (N.J. STAT. ANN. § 56:8-1 ET SEQ.)
           375. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           376. This claim is brought by Plaintiffs on behalf of New Jersey purchasers

  who are members of the Class.

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           377. The New Jersey Consumer Fraud Act (New Jersey CFA) makes

  unlawful “[t]he act, use or employment by any person of any unconscionable

  commercial practice, deception, fraud, false pretense, false promise,

  misrepresentation, or the knowing concealment, suppression or omission of any

  material fact with the intent that others rely upon such concealment, suppression or

  omission, in connection with the sale or advertisement of any merchandise or real

  estate, or with the subsequent performance of such person as aforesaid, whether or

  not any person has in fact been misled, deceived or damaged thereby.” N.J. STAT.

  ANN. § 56:8-2.

           378. Defendant, Plaintiffs, and New Jersey Class members are “persons”

  within the meaning of N.J. STAT. ANN. § 56:8-1(d).

           379. Defendants engaged in “sales” of “merchandise” within the meaning

  of N.J. STAT. ANN. § 56:8-1(c), (d).

           380. Plaintiffs are entitled to recover legal and/or equitable relief, including

  an order enjoining Defendants’ unlawful conduct, treble damages, costs, and

  reasonable attorneys’ fees pursuant to N.J. STAT. ANN. § 56:8-19, and any other

  just and appropriate relief.




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                                         COUNT 12

                                FRAUD BY CONCEALMENT
                              (BASED ON NEW JERSEY LAW)
           381. Plaintiffs incorporate by reference all preceding allegations as though

  fully set forth herein.

           382. Plaintiffs bring this claim on behalf of the New Jersey purchasers who

  are members of the Class.

           383. GM intentionally concealed the true amount and characteristics of the

  emissions in the Polluting Vehicles.

           384. GM further affirmatively misrepresented to Plaintiffs in advertising

  and other forms of communication, including standard and uniform material

  provided with each car and on its website, the true performance and emissions in

  the Polluting Vehicles.

           385. GM knew the truth when these representations were made.

           386. GM had a duty to disclose the truth. Plaintiffs and the other Class

  members relied on GM’s material representations.

           387. The truth about the emissions system was known only to GM;

  Plaintiffs and the other Class members did not know of these facts and GM

  actively concealed these facts from Plaintiffs and the other Class members.

           388. Plaintiffs and the other Class members reasonably relied upon GM’s

  deception. They had no way of knowing that GM’s representations were false,

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  misleading, or incomplete. As consumers, Plaintiffs and the other Class members

  did not, and could not, unravel GM’s deception on their own. Rather, GM intended

  to deceive Plaintiffs and the other Class members by concealing the true facts

  about the Polluting Vehicles.

           389. GM’s false representations and omissions and/or misrepresentations

  were material to consumers because they concerned qualities of the Polluting

  Vehicles that played a significant role in the value of the vehicles.

           390. Plaintiffs and the other Class members were unaware of the omitted

  material facts referenced herein and they would not have acted as they did if they

  had known of the concealed and/or suppressed facts, in that they would not have

  purchased or paid as much for these vehicles. Plaintiffs’ and the other Class

  members’ actions were justified. GM was in exclusive and/or superior control of

  the material facts, and such facts were not generally known to the public, Plaintiffs,

  or other Class members.

           391. Because of the concealment and/or suppression of facts, Plaintiffs and

  the other Class members sustained damage because they overpaid at the time of

  purchase.

           392. The value of Plaintiffs’ and the other Class members’ vehicles has

  diminished as a result of GM’s fraudulent concealment.




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           393. Accordingly, GM is liable to Plaintiffs and the other Class members

  for damages in an amount to be proven at trial.

           394. GM’s acts were done wantonly, maliciously, oppressively,

  deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and

  other Class members’ rights and the representations that GM made to them, in

  order to enrich GM. GM’s conduct warrants an assessment of punitive damages in

  an amount sufficient to deter such conduct in the future, which amount is to be

  determined according to proof.

                                         COUNT 13

                        VIOLATION OF THE NEW MEXICO UNFAIR TRADE
                                      PRACTICES ACT
                              (N.M. STAT. ANN. § 57-12-1 ET SEQ.)
           395. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           396. This claim is brought by Plaintiffs on behalf of New Mexico

  purchasers who are members of the Class.

           397. The New Mexico Unfair Trade Practices Act (New Mexico UTPA)

  makes unlawful “a false or misleading oral or written statement, visual description

  or other representation of any kind knowingly made in connection with the sale,

  lease, rental or loan of goods or services . . . by a person in the regular course of

  the person’s trade or commerce, that may, tends to or does deceive or mislead any


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  person,” including but not limited to “failing to state a material fact if doing so

  deceives or tends to deceive.” N.M. STAT. ANN. § 57-12-2(D).

           398. Defendant, Plaintiffs, and New Mexico Class members are

  “person[s]” under N.M. STAT. ANN. § 57-12-2.

           399. Defendants’ actions as set forth herein occurred in the conduct of

  trade or commerce as defined under N.M. STAT. ANN. § 57-12-2.

           400. Because Defendants’ unconscionable, willful conduct caused actual

  harm to Plaintiffs, Plaintiffs seek recovery of actual damages or $100, whichever is

  greater; discretionary treble damages; punitive damages; and reasonable attorneys’

  fees and costs, as well as all other proper and just relief available under N.M. STAT.

  ANN. § 57-12-10.

                                         COUNT 14

            VIOLATION OF THE NEVADA DECEPTIVE TRADE PRACTICES
                                    ACT
                      (NEV. REV. STAT. § 598.0903 ET SEQ.)
           401. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           402. This claim is brought by Plaintiffs on behalf of Nevada purchasers

  who are members of the Class.

           403. The Nevada Deceptive Trade Practices Act (Nevada DTPA) prohibits

  deceptive trade practices. NEV. REV. STAT. § 598.0915 provides that a person


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  engages in a “deceptive trade practice” if, in the course of business or occupation,

  the person “[k]nowingly makes a false representation as to the characteristics,

  ingredients, uses, benefits, alterations or quantities of goods or services for sale or

  lease or a false representation as to the sponsorship, approval, status, affiliation or

  connection of a person therewith”; “[r]epresents that goods or services for sale or

  lease are of a particular standard, quality or grade, or that such goods are of a

  particular style or model, if he or she knows or should know that they are of

  another standard, quality, grade, style or model”; “[a]dvertises goods or services

  with intent not to sell or lease them as advertised”; or “[k]nowingly makes any

  other false representation in a transaction.” NEV. REV. STAT. §§ 598.0915–

  598.0925.

           404. Accordingly, Plaintiffs seek their actual damages, punitive damages,

  an order enjoining Defendants’ deceptive acts or practices, costs of Court,

  attorney’s fees, and all other appropriate and available remedies under the Nevada

  DTPA. NEV. REV. STAT. § 41.600.

                                         COUNT 15

            VIOLATION OF THE OREGON UNLAWFUL TRADE PRACTICES
                                    ACT
                       (OR. REV. STAT. § 646.605 ET SEQ.)
           405. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.


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           406. This claim is brought by Plaintiffs on behalf of Oregon purchasers

  who are members of the Class.

           407. The Oregon Unfair Trade Practices Act (Oregon UTPA) prohibits a

  person from, in the course of the person’s business, doing any of the following:

  representing that goods have characteristics uses, benefits, or qualities that they do

  not have; representing that goods are of a particular standard or quality if they are

  of another; advertising goods or services with intent not to provide them as

  advertised; and engaging in any other unfair or deceptive conduct in trade or

  commerce. OR. REV. STAT. § 646.608(1).

           408. Each Defendant is a person within the meaning of OR. REV. STAT.

  § 646.605(4).

           409. Each Polluting Vehicle is a “good” obtained primarily for personal

  family or household purposes within the meaning of OR. REV. STAT. § 646.605(6).

           410. Plaintiffs are entitled to recover the greater of actual damages or $200

  pursuant to OR. REV. STAT. § 646.638(1). Plaintiffs are also entitled to punitive

  damages because Defendants engaged in conduct amounting to a particularly

  aggravated, deliberate disregard of the rights of others.




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                                          COUNT 16

                        VIOLATIONS OF THE TEXAS DECEPTIVE TRADE
                        PRACTICES AND CONSUMER PROTECTION ACT
                            (TEX. BUS. & COM. CODE § 17.4 ET SEQ.)

           411. Plaintiffs incorporate by reference all paragraphs as though fully set

  forth herein.

           412. This claim is brought by Plaintiffs on behalf of Texas purchasers who

  are members of the Class.

           413. Plaintiffs and the Texas Class members are individuals with assets of

  less than $25 million (or are controlled by corporations or entities with less than

  $25 million in assets). See TEX. BUS. & COM. CODE § 17.41.

           414. The Texas Deceptive Trade Practices-Consumer Protection Act

  (“Texas DTPA”) provides a private right of action to a consumer where the

  consumer suffers economic damage as the result of either (i) the use of false,

  misleading, or deceptive act or practice specifically enumerated in TEX. BUS. &

  COM. CODE § 17.46(b); or (ii) “an unconscionable action or course of action by any

  person.” TEX. BUS. & COM. CODE § 17.50(a)(2) & (3). The Texas DTPA declares

  several specific actions to be unlawful, including: “(5) Representing that goods or

  services have. sponsorship, approval, characteristics, ingredients, uses, benefits, or

  qualities that they do not have”; “(7) Representing that goods or services are of a

  particular standard, quality, or grade, or that goods are of a particular style or


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  model, if they are of another”; and “(9) advertising goods or services with intent

  not to sell them as advertised.” An “unconscionable action or course of action”

  means “an act or practice which, to a consumer’s detriment, takes advantage of the

  lack of knowledge, ability, experience, or capacity of the consumer to a grossly

  unfair degree.” TEX. BUS. & COM. CODE § 17.45(5). As detailed herein, GM has

  engaged in an unconscionable action or course of action and thereby caused

  economic damages to the Texas Class.

           415. In the course of business, GM willfully failed to disclose and actively

  concealed the conduct discussed herein and otherwise engaged in activities with a

  tendency or capacity to deceive. GM also engaged in unlawful trade practices by

  employing deception, deceptive acts or practices, fraud, misrepresentations, or

  concealment, suppression, or omission of any material fact with intent that others

  rely upon such concealment, suppression, or omission, in connection with the sale

  of Polluting Vehicles.

           416. GM’s unfair or deceptive acts or practices were likely to and did in

  fact deceive reasonable consumers, including Plaintiffs and the other Texas Class

  members, about the true performance of the Polluting Vehicles, the devaluing of

  the environmental impacts of its vehicles at GM, and the true value of the Polluting

  Vehicles.




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           417. GM intentionally and knowingly misrepresented material facts

  regarding the Polluting Vehicles with intent to mislead Plaintiffs and the Texas

  Class.

           418. GM knew or should have known that their conduct violated the Texas

  DTPA.

           419. GM owed Plaintiffs and Texas Class members a duty to disclose the

  true environmental impact, performance, fuel mileage, and reliability of the

  Polluting Vehicles, because GM:

                    a.   Possessed exclusive knowledge that they were
                         selling and distributing Polluting Vehicles
                         throughout the United States that did not perform
                         as advertised;
                    b.   Intentionally concealed the foregoing from
                         Plaintiffs and the Texas Class; and/or
                    c.   Made incomplete representations about the
                         environmental friendliness, fuel mileage, towing
                         capacity, and performance of the Polluting
                         Vehicles while purposefully withholding material
                         facts from Plaintiffs and the Texas Class that
                         contradicted these representations.
           420. Because GM fraudulently concealed the defective emissions treatment

  system, the value of the Polluting Vehicles has greatly diminished. In light of the

  stigma attached to the Polluting Vehicles by GM’s conduct, they are now worth

  significantly less than they otherwise would be.




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           421. GM’s omissions and/or misrepresentations about the emissions

  treatment system of the Polluting Vehicles were material to Plaintiffs and the

  Texas Class.

           422. Plaintiffs and the Texas Class suffered ascertainable loss caused by

  GM’s misrepresentations and their concealment of and failure to disclose material

  information. Class members who purchased the Polluting Vehicles either would

  have paid less for their vehicles or would not have purchased or leased them at all

  but for GM’s violations of the Texas DTPA.

           423. GM had an ongoing duty to all GM customers to refrain from unfair

  and deceptive practices under the Texas DTPA. All owners of Polluting Vehicles

  suffered ascertainable loss in the form of the diminished value of their vehicle as a

  result of GM’s deceptive and unfair acts and practices made in the course of GM’s

  business.

           424. GM’s violations present a continuing risk to Plaintiffs as well as to the

  general public. GM’s unlawful acts and practices complained of herein affect the

  public interest.

           425. As a direct and proximate result of GM’s violations of the Texas

  DTPA, Plaintiffs and the Texas Class have suffered injury-in-fact and/or actual

  damage.




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           426. On May 23, 2017, Plaintiffs sent a letter complying with TEX. BUS. &

  COM. CODE ANN. § 17.505 to Defendants.

           427. Plaintiffs seek monetary relief against GM measured as actual

  damages in an amount to be determined at trial, treble damages for GM’s knowing

  violations of the Texas DTPA, and any other just and proper relief available under

  the Texas DTPA.

           428. Alternatively, or additionally, pursuant to TEX. BUS. & COM. CODE

  § 17.50(b)(3) & (4), Plaintiffs are also entitled to disgorgement or to rescission or

  to any other relief necessary to restore any money or property that was acquired

  from them based on violations of the Texas DTPA or which the Court deems

  proper.

  C.       Claims Brought on Behalf of the Other State Classes

                                         COUNT 17

                        VIOLATION OF THE ALABAMA DECEPTIVE TRADE
                                       PRACTICES ACT
                                 (ALA. CODE § 8-19-1 ET SEQ.)

           429. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           430. This claim is included here for notice purposes only. Once the

  statutory notice period has expired, Plaintiffs will amend their complaint to bring

  this claim on behalf of Alabama purchasers who are members of the Class.



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           431. The Alabama Deceptive Trade Practices Act (Alabama DTPA)

  declares several specific actions to be unlawful, including: “engaging in any other

  unconscionable, false, misleading, or deceptive act or practice in the conduct of

  trade or commerce.” ALA. CODE § 8-19-5.

           432. Plaintiffs and Alabama Class members are “consumers” within the

  meaning of ALA. CODE. § 8-19-3(2).

           433. Plaintiffs, Alabama Class members, and GM are “persons” within the

  meaning of ALA. CODE § 8-19-3(3).

           434. Each defendant was and is engaged in “trade or commerce” within the

  meaning of ALA. CODE § 8-19-3(8).

           435. Pursuant to ALABAMA CODE § 8-19-10, Plaintiffs will amend to seek

  monetary relief against Defendants measured as the greater of (a) actual damages

  in an amount to be determined at trial and (b) statutory damages in the amount of

  $100 for each plaintiff.

           436. Plaintiffs also will amend to seek an order enjoining each Defendant’s

  unfair, unlawful, and/or deceptive practices, attorneys’ fees, and any other just and

  proper relief available under ALA. CODE. § 8-19-1 et seq.

           437. On May 23, 2017, Plaintiffs sent a letter complying with ALA. CODE

  § 8-19-10(e) to Defendants. Should Defendants fail to remedy their unlawful




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  conduct within the requisite period, Plaintiffs will amend to seek all damages and

  relief to which they are entitled.

                                         COUNT 18

                VIOLATION OF THE ALASKA UNFAIR TRADE PRACTICES
                         AND CONSUMER PROTECTION ACT
                       (ALASKA STAT. ANN. § 45.50.471 ET SEQ.)

           438. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           439. This claim is included here for notice purposes only. Once the

  statutory notice period has expired, Plaintiffs will amend their complaint to bring

  this claim on behalf of Alaska purchasers who are members of the Class.

           440. The Alaska Unfair Trade Practices and Consumer Protection Act

  (Alaska CPA) declared unfair methods of competition and unfair or deceptive acts

  or practices in the conduct of trade or commerce unlawful, including “using or

  employing deception, fraud, false pretense, false promise, misrepresentation, or

  knowingly concealing, suppressing, or omitting a material fact with intent that

  others rely upon the concealment, suppression or omission in connection with the

  sale or advertisement of goods or services whether or not a person has in fact been

  misled, deceived or damaged.” ALASKA STAT. ANN. § 45.50.471.

           441. Pursuant to ALASKA STAT ANN. § 45.50.531, Plaintiffs will amend

  their Complaint to seek monetary relief against each Defendant measured as the


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  greater of (a) three times the actual damages in an amount to be determined at trial

  or (b) $500 for each plaintiff.

           442. Plaintiffs also will amend to seek an order enjoining each Defendant’s

  unfair, unlawful, and/or deceptive practices pursuant to ALASKA STAT. ANN.

  § 45.50.535(b)(1), attorneys’ fees, and any other just and proper relief available

  under the Alaska CPA.

           443. On May 23, 2017, Plaintiffs sent a letter complying with ALASKA

  STAT. ANN. § 45.50.535(b)(1) to Defendants.

                                         COUNT 19

              VIOLATION OF THE COLORADO CONSUMER PROTECTION
                                     ACT
                       (COLO. REV. STAT. § 6-1-101 ET SEQ.)
           444. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           445. This claim is brought by Plaintiffs on behalf of Colorado purchasers

  who are members of the Class.

           446. The Colorado Consumer Protection Act (Colorado CPA) prohibits

  deceptive practices in the course of a person’s business, including but not limited

  to “fail[ing] to disclose material information concerning goods, services, or

  property which information was known at the time of an advertisement or sale if




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  such failure to disclose such information was intended to induce the consumer to

  enter into a transaction.” COLO. REV. STAT. § 6-1-105.

           447. Each Defendant is a “person” under COLO. REV. STAT. § 6-1-102(6).

           448. Plaintiffs and Colorado Class members are “consumers” for purposes

  of COL. REV. STAT § 6-1-113(1)(a).

           449. Each Defendant’s conduct, as set forth above, occurred in the conduct

  of trade or commerce.

           450. Pursuant to COLO. REV. STAT. § 6-1-113, Plaintiffs seek monetary

  relief against each Defendant measured as the greater of (a) actual damages in an

  amount to be determined at trial and discretionary trebling of such damages, or

  (b) statutory damages in the amount of $500 for each plaintiff or class member.

           451. Plaintiffs also seek an order enjoining each Defendant’s unfair,

  unlawful, or deceptive practices, declaratory relief, attorneys’ fees, and any other

  just and proper remedy under the Colorado CPA.

                                         COUNT 20

                        VIOLATION OF THE CONNECTICUT UNFAIR TRADE
                                       PRACTICES ACT
                              (CONN. GEN. STAT. § 42-110A ET SEQ.)
           452. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.




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           453. This claim is brought by Plaintiffs on behalf of Connecticut

  purchasers who are members of the Class.

           454. The Connecticut Unfair Trade Practices Act (Connecticut UTPA)

  provides: “No person shall engage in unfair methods of competition and unfair or

  deceptive acts or practices in the conduct of any trade or commerce.” CONN. GEN.

  STAT. § 42-110b(a).

           455. Plaintiffs, Connecticut Class members, and Defendants are each a

  “person” within the meaning of CONN. GEN. STAT. § 42-110a(3).

           456. Defendants’ challenged conduct occurred in “trade” or “commerce”

  within the meaning of CONN. GEN. STAT. § 42-110a(4).

           457. Plaintiffs and Connecticut Class members are entitled to recover their

  actual damages, punitive damages, and attorneys’ fees pursuant to CONN. GEN.

  STAT. § 42-110g.

           458. Defendants acted with reckless indifference to another’s rights, or

  wanton or intentional violation of another’s rights, and otherwise engaged in

  conduct amounting to a particularly aggravated, deliberate disregard for the rights

  of others. Therefore, punitive damages are warranted.




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                                         COUNT 21

                VIOLATION OF THE DELAWARE CONSUMER FRAUD ACT
                         (DEL. CODE TIT. 6, § 2513 ET SEQ.)
           459. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           460. This claim is brought by Plaintiffs on behalf of Delaware purchasers

  who are members of the Class.

           461. The Delaware Consumer Fraud Act (Delaware CFA) prohibits the

  “act, use, or employment by any person of any deception, fraud, false pretense,

  false promise, misrepresentation, or the concealment, suppression, or omission of

  any material fact with intent that others rely upon such concealment, suppression,

  or omission, in connection with the sale, lease or advertisement of any

  merchandise, whether or nor any person has in fact been misled, deceived, or

  damaged thereby.” DEL. CODE TIT. 6, § 2513(a).

           462. Each Defendant is a “person” within the meaning of DEL. CODE TIT. 6,

  § 2511(7).

           463. Defendants’ actions, as set forth above, occurred in the conduct of

  trade or commerce.

           464. Plaintiffs seek damages under the Delaware CFA for injury resulting

  from the direct and natural consequences of each Defendant’s unlawful conduct.

  See, e.g., Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1077 (Del. 1980).

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  Plaintiffs also seek an order enjoining each Defendant’s unfair, unlawful, and/or

  deceptive practices, declaratory relief, attorneys’ fees, and any other just and

  proper relief available under the Delaware CFA.

           465. Defendants engaged in gross, oppressive, or aggravated conduct

  justifying the imposition of punitive damages.

                                         COUNT 22

               VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES
                                     ACT
                        (GA. CODE ANN. § 10-1-390 ET SEQ.)

           466. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           467. This claim is included here for notice purposes only. Once the

  statutory notice period has expired, Plaintiffs will amend their complaint to bring

  this claim on behalf of Georgia purchasers who are members of the Class.

           468. The Georgia Fair Business Practices Act (Georgia FBPA) declares

  “[u]nfair or deceptive acts or practices in the conduct of consumer transactions and

  consumer acts or practices in trade or commerce” to be unlawful, GA. CODE. ANN.

  § 101-393(b), including but not limited to “representing that goods or services have

  sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that

  they do not have”; “[r]epresenting that goods or services are of a particular




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  standard, quality, or grade . . . if they are of another”; and “[a]dvertising goods or

  services with intent not to sell them as advertised.” GA. CODE. ANN. § 10-1-393(b).

           469. Plaintiffs and Georgia Class members are “consumers” within the

  meaning of GA. CODE. ANN. § 10-1-393(b).

           470. Each Defendant engaged in “trade or commerce” within the meaning

  of GA. CODE. ANN. § 10-1-393(b).

           471. Once the statutory notice period has expired, Plaintiffs will amend to

  seek damages and exemplary damages (for intentional violations) per GA. CODE.

  ANN. § 10-1-399(a).

           472. Plaintiffs will also amend to seek an order enjoining Defendants’

  unfair, unlawful, and/or deceptive practices, attorneys’ fees, and any other just and

  proper relief available under the Georgia FBPA per GA. CODE. ANN. § 10-1-399.

           473. On May 23, 2017, Plaintiffs sent a letter complying with GA. CODE

  ANN. § 10-1-399(b) to Defendants.

                                         COUNT 23

                        VIOLATION OF THE GEORGIA UNIFORM
                          DECEPTIVE TRADE PRACTICES ACT
                           (GA. CODE. ANN § 10-1-370 ET SEQ.)
           474. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.




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           475. This claim is brought by Plaintiffs on behalf of Georgia purchasers

  who are members of the Class.

           476. Georgia’s Uniform Deceptive Trade Practices Act (Georgia UDTPA)

  prohibits “deceptive trade practices,” which include “representing that goods or

  services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

  quantities that they do not have”; “[r]epresenting that goods or services are of a

  particular standard, quality, or grade . . . if they are of another”; and “[a]dvertising

  goods or services with intent not to sell them as advertised.” GA. CODE ANN. § 10-

  1-393(b).

           477. Defendant, Plaintiffs, and Georgia Class members are “persons”

  within the meaning of GA. CODE ANN. § 10-1-371(5).

           478. The Plaintiffs seek an order enjoining each Defendant’s unfair,

  unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper

  relief available under GA. CODE ANN. § 10-1-373.

                                         COUNT 24

                        VIOLATION OF THE HAWAII ACT § 480-2(A)
                            (HAW. REV. STAT. § 480 ET SEQ.)
           479. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           480. This claim is brought by Plaintiffs on behalf of Hawaii purchasers

  who are members of the Class.

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           481. HAWAII REV. STAT. § 480-2(a) prohibits “unfair methods of

  competition and unfair or deceptive acts or practices in the conduct of any trade or

  commerce.”

           482. Each Defendant is a “person” under HAW. REV. STAT. § 480-1.

           483. Plaintiffs and Hawaii Class members are “consumer[s]” as defined by

  HAW. REV. STAT. § 480-1, who purchased or leased the Polluting Vehicles at issue.

           484. Pursuant to HAW. REV. STAT. § 480-13, Plaintiffs seek monetary relief

  against each Defendant measured as the greater of (a) $1,000 and (b) threefold

  actual damages in an amount to be determined at trial.

           485. Under HAW. REV. STAT. § 480-13.5, Plaintiffs seek an additional

  award against each Defendant of up to $10,000 for each violation directed at a

  Hawaii elder. Each Defendant knew or should have known that its conduct was

  directed to one or more Plaintiffs who are elders. Defendants’ conduct caused one

  or more of these elders to suffer a substantial loss of property set aside for

  retirement or for personal or family care and maintenance, or assets essential to the

  health or welfare of the elder. Plaintiffs who are elders are substantially more

  vulnerable to Defendants’ conduct because of age, poor health or infirmity,

  impaired understanding, restricted mobility, or disability, and each of them

  suffered a substantial physical, emotional, or economic damage resulting from

  each Defendant’s conduct.


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                                         COUNT 25

               VIOLATION OF THE IDAHO CONSUMER PROTECTION ACT
                        (IDAHO CODE ANN. § 48-601 ET SEQ.)
           486. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           487. This claim is brought by Plaintiffs on behalf of Idaho purchasers who

  are members of the Class.

           488. The Idaho Consumer Protection Act (Idaho CPA) prohibits deceptive

  business practices, including but not limited to (1) representing that the Polluting

  Vehicles have characteristics, uses, and benefits which they do not have;

  (2) representing that the Polluting Vehicles are of a particular standard, quality,

  and grade when they are not; (3) advertising the Polluting Vehicles with the intent

  not to sell them as advertised; (4) engaging in acts or practices which are otherwise

  misleading, false, or deceptive to the consumer; and (5) engaging in any

  unconscionable method, act or practice in the conduct of trade or commerce. See

  IDAHO CODE ANN. § 48-603.

           489. Each Defendant is a “person” under IDAHO CODE ANN. § 48-602(1).

           490. Defendants’ acts or practices as set forth above occurred in the

  conduct of “trade” or “commerce” under IDAHO CODE ANN. § 48-602(2).

           491. Pursuant to IDAHO CODE ANN. § 48-608, Plaintiffs seek monetary

  relief against each Defendant measured as the greater of (a) actual damages in an

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  amount to be determined at trial and (b) statutory damages in the amount of $1,000

  for each plaintiff.

           492. Plaintiffs also seek an order enjoining each Defendant’s unfair,

  unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper

  relief available under the Idaho CPA.

           493. Plaintiffs also seek punitive damages against Defendants because each

  Defendant’s conduct evidences an extreme deviation from reasonable standards.

  Defendants’ unlawful conduct constitutes malice, oppression, and fraud warranting

  punitive damages.

                                         COUNT 26

            VIOLATION OF THE INDIANA DECEPTIVE CONSUMER SALES
                                   ACT
                           (IND. CODE § 24-5-0.5-3)
           494. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           495. This claim is included here for notice purposes only. Once the

  statutory notice period has expired, Plaintiffs will amend their complaint to bring

  this claim on behalf of Indiana purchasers who are members of the Class.

           496. Indiana’s Deceptive Consumer Sales Act (Indiana DCSA) prohibits a

  person from engaging in a “deceptive business practice[s]” or acts, including but

  not limited to “(1) That such subject of a consumer transaction has sponsorship,


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  approval, performance, characteristics, accessories, uses, or benefits that they do

  not have, or that a person has a sponsorship, approval, status, affiliation, or

  connection it does not have; (2) That such subject of a consumer transaction is of a

  particular standard, quality, grade, style or model, if it is not and if the supplier

  knows or should reasonably know that it is not; . . . (7) That the supplier has a

  sponsorship, approval or affiliation in such consumer transaction that the supplier

  does not have, and which the supplier knows or should reasonably know that the

  supplier does not have; . . . (b) Any representations on or within a product or its

  packaging or in advertising or promotional materials which would constitute a

  deceptive act shall be the deceptive act both of the supplier who places such a

  representation thereon or therein, or who authored such materials, and such

  suppliers who shall state orally or in writing that such representation is true if such

  other supplier shall know or have reason to know that such representation was

  false.”

           497. Each Defendant is a “person” within the meaning of IND. CODE § 25-

  5-0.5-2(a)(2) and a “supplier” within the meaning of IND. CODE § 24-5-0.5-2(a)(3).

           498. Plaintiffs’ vehicle purchases are “consumer transactions” within the

  meaning of IND. CODE § 24-5-0.5-2(a)(3).

           499. Pursuant to IND. CODE § 24-5-0.5-4, once the statutory notice period

  has expired, Plaintiffs will seek monetary relief against each Defendant measured


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  as the greater of (a) actual damages in an amount to be determined at trial and

  (b) statutory damages in the amount of $500 for each plaintiff, including treble

  damages up to $1,000 for Defendants’ willfully deceptive acts.

           500. Plaintiffs will also amend to seek punitive damages based on the

  outrageousness and recklessness of each Defendant’s conduct.

           501. On May 23, 2017, Plaintiffs sent a letter complying with IND. CODE

  § 24-5-0.5-5(a) to Defendants.

                                         COUNT 27

                        VIOLATION OF THE IOWA PRIVATE RIGHT
                        OF ACTION FOR CONSUMER FRAUDS ACT
                             (IOWA CODE § 714H.1 ET SEQ.)
           502. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           503. This claim is brought by Plaintiffs on behalf of Iowa purchasers who

  are members of the Class.

           504. The Iowa Private Right of Action for Consumer Frauds Act (Iowa

  CFA) prohibits any “practice or act the person knows or reasonably should know is

  an unfair practice, deception, fraud, false pretense, or false promise, or the

  misrepresentation, concealment, suppression, or omission of a material fact, with

  the intent that others rely upon the unfair practice, deception, fraud, false pretense,

  false promise, misrepresentation, concealment, suppression or omission in


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  connection with the advertisement, sale, or lease of consumer merchandise.” IOWA

  CODE § 714H.3.

           505. Each Defendant is a “person” under IOWA CODE § 714H.2(7).

           506. Plaintiffs and Iowa Class members are “consumers” as defined by

  IOWA CODE § 714H.2(3) who purchased or leased one or more Polluting Vehicles.

           507. Pursuant to IOWA CODE § 714H.5, Plaintiffs seek an order enjoining

  each Defendant’s unfair and/or deceptive acts or practices, actual damages,

  statutory damages up to three times the amount of actual damages awarded as a

  result of each Defendant’s willful and wanton disregard for the rights of others,

  attorneys’ fees, and other such equitable relief as the court deems necessary to

  protect the public from further violations of the Iowa CFA.

                                         COUNT 28

             VIOLATION OF THE KANSAS CONSUMER PROTECTION ACT
                       (KAN. STAT. ANN. § 50-623 ET SEQ.)
           508. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           509. This claim is brought by Plaintiffs on behalf of Kansas purchasers

  who are members of the Class.

           510. The Kansas Consumer Protection Act (Kansas CPA) states “[n]o

  supplier shall engage in any deceptive act or practice in connection with a

  consumer transaction.” KAN. STAT. ANN. § 50-626(a). Deceptive acts or practices

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  include but are not limited to “the willful use, in any oral or written representation,

  of exaggeration, falsehood, innuendo or ambiguity as to a material fact” and “the

  willful failure to state a material fact, or the willful concealment, suppression or

  omission of a material fact.” KAN. STAT. ANN. § 50-626.

           511. Plaintiffs and Kansas Class members are “consumers” within the

  meaning of KAN. STAT. ANN. § 50-624(b) who purchased or leased one or more

  Polluting Vehicles.

           512. Each sale or lease of a Polluting Vehicle to Plaintiffs was a “consumer

  transaction” within the meaning of KAN. STAT. ANN. § 50-624(c).

           513. Pursuant to KAN. STAT. ANN. § 50-634, Plaintiffs seek monetary relief

  against each Defendant measured as the greater of (a) actual damages in an amount

  to be determined at trial and (b) statutory damages in the amount of $10,000 for

  each plaintiff.

           514. Plaintiffs also seek an order enjoining each Defendant’s unfair,

  unlawful, and/or deceptive practices, declaratory relief, attorneys’ fees, and any

  other just and proper relief available under KAN. STAT. ANN. § 50-623 et seq.




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                                         COUNT 29

               VIOLATION OF THE KENTUCKY CONSUMER PROTECTION
                                        ACT
                       (KY. REV. STAT. ANN. § 367.110 ET SEQ.)
           515. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           516. This claim is brought by Plaintiffs on behalf of Kentucky purchasers

  who are members of the Class.

           517. The Kentucky Consumer Protection Act (Kentucky CPA) makes

  unlawful “[u]nfair, false, misleading, or deceptive acts or practices in the conduct

  of any trade or commerce . . . .” KY. REV. STAT. ANN. § 367.170(1).

           518. Defendant, Plaintiffs, and Kentucky Class members are “persons”

  within the meaning of KY. REV. STAT. ANN. § 367.110(1).

           519. Each Defendant engaged in “trade” or “commerce” within the

  meaning of KY. REV. STAT. ANN. § 367.110(2).

           520. Pursuant to KY. REV. STAT. ANN. § 367.220, Plaintiffs seek to recover

  actual damages in an amount to be determined at trial, an order enjoining each

  Defendant’s unfair, unlawful, and/or deceptive practices, declaratory relief,

  attorneys’ fees, and any other just and proper relief available under KY. REV. STAT.

  ANN. § 367.220.




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                                         COUNT 30

             VIOLATION OF THE MAINE UNFAIR TRADE PRACTICES ACT
                   (ME. REV. STAT. ANN. TIT. 5, § 205-A ET SEQ.)
           521. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           522. This claim is brought by Plaintiffs on behalf of Maine purchasers who

  are members of the Class.

           523. The Maine Unfair Trade Practices Act (Maine UTPA) makes

  unlawful “[u]nfair methods of competition and unfair or deceptive acts or practices

  in the conduct of any trade or commerce.” ME. REV. STAT. ANN. TIT. 5, § 207.

           524. Defendant, Plaintiffs, and Maine Class members are “persons” within

  the meaning of ME. REV. STAT. ANN. TIT. § 5, 206(2).

           525. Defendants are engaged in “trade” or “commerce” within the meaning

  of ME. REV. STAT. ANN. TIT. § 5, 206(3).

           526. Pursuant to ME. REV. STAT. ANN. TIT. 5, § 213, Plaintiffs seek an

  order enjoining each Defendant’s unfair and/or deceptive acts or practices.

           527. On May 23, 2017, Plaintiffs sent a letter complying with ME. REV.

  STAT. ANN. TIT. 5, § 213(1-A) to Defendants. This claim is included here for notice

  purposes only. Once the statutory notice period has expired, Plaintiffs will amend

  their complaint to bring this claim on behalf of Maine purchasers who are members

  of the Class.

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                                         COUNT 31

              VIOLATION OF THE MARYLAND CONSUMER PROTECTION
                                     ACT
                   (MD. CODE ANN., COM. LAW § 13-101 ET SEQ.)
           528. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           529. This claim is brought by Plaintiffs on behalf of Maryland purchasers

  who are members of the Class.

           530. The Maryland Consumer Protection Act (Maryland CPA) provides

  that a person may not engage in any unfair or deceptive trade practice in the sale or

  lease of any consumer good, including “failure to state a material fact if the failure

  deceives or tends to deceive” and “[d]eception, fraud, false pretense, false premise,

  misrepresentation, or knowing concealment, suppression, or omission of any

  material fact with the intent that a consumer rely on the same,” MD. CODE ANN.,

  COM. LAW § 13-301, regardless of whether the consumer is actually deceived or

  damaged, MD. CODE ANN., COM. LAW § 13-302.

           531. Defendants, Plaintiffs, and Maryland Class members are “persons”

  within the meaning of MD. CODE ANN., COM. LAW § 13-101(h).

           532. Pursuant to MD. CODE ANN., COM. LAW § 13-408, Plaintiffs seek

  actual damages, attorneys’ fees, and any other just and proper relief available

  under the Maryland CPA.


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                                         COUNT 32

                  VIOLATION OF THE MASSACHUSETTS GENERAL LAW
                                  CHAPTER 93(A)
                        (MASS. GEN. LAWS CH. 93A, § 1 ET SEQ.)
           533. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           534. On May 23, 2017, Plaintiffs sent a letter complying with MASS. GEN.

  LAWS CH. 93A, § 9(3) to Defendants.

                                         COUNT 33

                        VIOLATION OF THE MINNESOTA PREVENTION OF
                                   CONSUMER FRAUD ACT
                                (MINN. STAT. § 325F.68 ET SEQ.)
           535. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           536. This claim is brought by Plaintiffs on behalf of Minnesota purchasers

  who are members of the Class.

           537. The Minnesota Prevention of Consumer Fraud Act (Minnesota CFA)

  prohibits “[t]he act, use, or employment by any person of any fraud, false pretense,

  false promise, misrepresentation, misleading statement or deceptive practice, with

  the intent that others rely thereon in connection with the sale of any merchandise,

  whether or not any person has in fact been misled, deceived, or damaged thereby.”

  MINN. STAT. § 325F.69(1).



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           538. Each purchase or lease of an Polluting Vehicle constitutes

  “merchandise” within the meaning of MINN. STAT. § 325F.68(2).

           539. Pursuant to MINN. STAT. § 8.31(3a), Plaintiffs seek actual damages,

  attorneys’ fees, and any other just and proper relief available under the Minnesota

  CFA.

           540. Plaintiffs also seek punitive damages under MINN. STAT.

  § 549.20(1)(a) given the clear and convincing evidence that each Defendant’s acts

  show deliberate disregard for the rights of others.

                                         COUNT 34

                    VIOLATION OF THE MINNESOTA DECEPTIVE TRADE
                                    PRACTICES ACT
                            (MINN. STAT. § 325D.43-48 ET SEQ.)

           541. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           542. This claim is brought by Plaintiffs on behalf of Minnesota purchasers

  who are members of the Class.

           543. The Minnesota Deceptive Trade Practices Act (Minnesota DTPA)

  prohibits deceptive trade practices, which include “[t]he act, use, or employment

  by any person of any fraud, false pretense, false promise, misrepresentation,

  misleading statement or deceptive practice, with the intent that others rely thereon




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  in connection with the sale of any merchandise, whether or not any person has in

  fact been misled, deceived, or damaged thereby.” MINN. STAT. § 325F.69(1).

           544. Pursuant to MINN. STAT. § 8.31(3a), Plaintiffs seek actual damages,

  attorneys’ fees, and any other just and proper relief available under the Minnesota

  CFA.

           545. Plaintiffs also seek punitive damages under MINN. STAT.

  § 549.20(1)(a) given the clear and convincing evidence that Defendants’ acts show

  deliberate disregard for the rights of others.

                                         COUNT 35

              VIOLATION OF THE MISSISSIPPI CONSUMER PROTECTION
                                     ACT
                       (MISS. CODE. ANN. § 75-24-1 ET SEQ.)

           546. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           547. This claim is brought by Plaintiffs on behalf of Mississippi purchasers

  who are members of the Class.

           548. The Mississippi Consumer Protection Act (Mississippi CPA) prohibits

  “unfair or deceptive trade practices in or affecting commerce.” MISS. CODE ANN.

  § 75-24-5(1). Unfair or deceptive practices include but are not limited to

  “(e) Representing that goods or services have sponsorship, approval,

  characteristics, ingredients, uses, benefits, or quantities that they do not have or


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  that a person has a sponsorship, approval, status, affiliation, or connection that he

  does not have”; “(g) Representing that goods or services are of a particular

  standard, quality, or grade, or that goods are of a particular style or model, if they

  are of another”; and “(i) Advertising goods or services with intent not to sell them

  as advertised.” MISS. CODE ANN. § 75-24-5(2).

           549. Plaintiffs seek actual damages in an amount to be determined at trial

  any other just and proper relief available under the Mississippi CPA.

                                         COUNT 36

              VIOLATION OF THE MONTANA UNFAIR TRADE PRACTICES
                    AND CONSUMER PROTECTION ACT OF 1973
                      (MONT. CODE ANN. § 30-14-101 ET SEQ.)
           550. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           551. This claim is brought by Plaintiffs on behalf of Montana purchasers

  who are members of the Class.

           552. The Montana Unfair Trade Practices and Consumer Protection Act

  (Montana CPA) makes unlawful any “unfair methods of competition and unfair or

  deceptive acts or practices in the conduct of any trade or commerce.” MONT. CODE

  ANN. § 30-14-103.

           553. Defendant, Plaintiffs, and Montana Class members are “persons”

  within the meaning of MONT. CODE ANN. § 30-14-102(6).


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           554. Plaintiffs and Montana Class members are “consumer[s]” under

  MONT. CODE ANN. § 30-14-102(1).

           555. The sale or lease of each Polluting Vehicle at issue occurred within

  “trade and commerce” within the meaning of MONT. CODE ANN. § 30-14-102(8),

  and each Defendant committed deceptive and unfair acts in the conduct of “trade

  and commerce” as defined in that statutory section.

           556. Because Defendants’ unlawful methods, acts, and practices have

  caused Plaintiffs to suffer an ascertainable loss of money and property, Plaintiffs

  seek from each Defendant: the greater of actual damages or $500; discretionary

  treble damages; and reasonable attorneys’ fees.

           557. Plaintiffs additionally seek an order enjoining each Defendant’s

  unfair, unlawful, and/or deceptive practices, and any other relief the Court

  considers necessary or proper, under MONT. CODE ANN. § 30-14-133.

                                         COUNT 37

               VIOLATION OF THE NEBRASKA CONSUMER PROTECTION
                                      ACT
                        (NEB. REV. STAT. § 59-1601 ET SEQ.)
           558. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           559. This claim is brought by Plaintiffs on behalf of Nebraska purchasers

  who are members of the Class.


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           560. The Nebraska Consumer Protection Act (Nebraska CPA) prohibits

  “unfair or deceptive acts or practices in the conduct of any trade or commerce.”

  NEB. REV. STAT. § 59-1602.

           561. Defendant, Plaintiffs, and Nebraska Class members are “person[s]”

  under NEB. REV. STAT. § 59-1601(1).

           562. Defendants’ actions as set forth herein occurred in the conduct of

  trade or commerce as defined under NEB. REV. STAT. § 59-1601(2).

           563. Because Defendants’ conduct caused injury to Plaintiffs’ property

  through violations of the Nebraska CPA, Plaintiffs seek recovery of actual

  damages as well as enhanced damages up to $1,000, an order enjoining each

  Defendant’s unfair or deceptive acts and practices, costs of Court, reasonable

  attorneys’ fees, and any other just and proper relief available under NEB. REV.

  STAT. § 59-1609.

                                         COUNT 38

                          VIOLATION OF THE NEW HAMPSHIRE
                             CONSUMER PROTECTION ACT
                         (N.H. REV. STAT. ANN. § 358-A:1 ET SEQ.)
           564. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           565. This claim is brought by Plaintiffs on behalf of New Hampshire

  purchasers who are members of the Class.


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           566. The New Hampshire Consumer Protection Act (New Hampshire

  CPA) prohibits a person, in the conduct of any trade or commerce, from “using any

  unfair or deceptive act or practice,” including “but . . . not limited to, the

  following: . . . [r]epresenting that goods or services have . . . characteristics, . . .

  uses, benefits, or quantities that they do not have”; “[r]epresenting that goods or

  services are of a particular standard, quality, or grade, . . . if they are of another”;

  and “[a]dvertising goods or services with intent not to sell them as advertised.”

  N.H. REV. STAT. § 358-A:2.

           567. Defendant, Plaintiffs, and New Hampshire Class members are

  “persons” under N.H. REV. STAT. ANN. § 358-A:1.

           568. Defendants’ actions as set forth herein occurred in the conduct of

  trade or commerce as defined under N.H. REV. STAT. ANN. § 358-A:1.

           569. Because Defendants’ willful conduct caused injury to Plaintiffs’

  property through violations of the New Hampshire CPA, Plaintiffs seek recovery

  of actual damages or $1,000, whichever is greater; treble damages; costs and

  reasonable attorneys’ fees; an order enjoining each Defendant’s unfair and/or

  deceptive acts and practices; and any other just and proper relief under N.H. REV.

  STAT. ANN. § 358-A:10.




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                                         COUNT 39

               VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW
                          (N.Y. GEN. BUS. LAW §§ 349–350)
           570. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           571. This claim is brought by Plaintiffs on behalf of New York purchasers

  who are members of the Class.

           572. The New York General Business Law (New York GBL) makes

  unlawful “[d]eceptive acts or practices in the conduct of any business, trade or

  commerce.” N.Y. GEN. BUS. LAW § 349.

           573. Plaintiffs and New York Class members are “persons” within the

  meaning of N.Y. GEN. BUS. LAW § 349(h).

           574. Each Defendant is a “person,” “firm,” “corporation,” or “association”

  within the meaning of N.Y. GEN. BUS. LAW § 349.

           575. Defendants’ deceptive acts and practices, which were intended to

  mislead consumers who purchased or leased an Polluting Vehicle, was conduct

  directed at consumers.

           576. Because Defendants’ willful and knowing conduct caused injury to

  Plaintiffs, Plaintiffs seek recovery of actual damages or $50, whichever is greater;

  discretionary treble damages up to $1,000; punitive damages; reasonable attorneys’



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  fees and costs; an order enjoining Defendants’ deceptive conduct; and any other

  just and proper relief available under N.Y. GEN. BUS. LAW § 349.

                                          COUNT 40

                    VIOLATION OF THE NORTH CAROLINA UNFAIR AND
                                   DECEPTIVE ACTS
                                  AND PRACTICES ACT
                            (N.C. GEN. STAT. § 75-1.1 ET SEQ.)
           577. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           578. This claim is brought by Plaintiffs on behalf of North Carolina

  purchasers who are members of the Class.

           579. North Carolina’s Unfair and Deceptive Acts and Practices Act (the

  North Carolina Act) broadly prohibits “unfair or deceptive acts or practices in or

  affecting commerce.” N.C. GEN. STAT. § 75-1.1(a).

           580. Defendants engaged in “commerce” within the meaning of N.C. GEN.

  STAT. § 75-1.1(b).

           581. Plaintiffs seek an order for treble their actual damages, an order

  enjoining Defendants’ unlawful acts, costs of Court, attorney’s fees, and any other

  just and proper relief available under the North Carolina Act, N.C. GEN. STAT.

  § 75-16.




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                                         COUNT 41

           VIOLATION OF THE NORTH DAKOTA CONSUMER FRAUD ACT
                         (N.D. CENT. CODE § 51-15-02)
           582. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           583. This claim is brought by Plaintiffs on behalf of North Dakota

  purchasers who are members of the Class.

           584. The North Dakota Consumer Fraud Act (North Dakota CFA) makes

  unlawful “[t]he act, use, or employment by any person of any deceptive act or

  practice, fraud, false pretense, false promise, or misrepresentation, with the intent

  that others rely thereon in connection with the sale or advertisement of any

  merchandise.” N.D. CENT. CODE § 51-15-02.

           585. Defendant, Plaintiffs, and North Dakota Class members are “persons”

  within the meaning of N.D. CENT. CODE § 51-15-02(4).

           586. Defendants’ engaged in the “sale” of “merchandise” within the

  meaning of N.D. CENT. CODE § 51-15-02(3), (5).

           587. Defendants knowingly committed the conduct described above and

  therefore, under N.D. CENT. CODE § 51-15-09, Defendants are liable to Plaintiffs

  for treble damages in amounts to be proven at trial, as well as attorneys’ fees,

  costs, and disbursements. Plaintiffs further seek an order enjoining each



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  Defendant’s unfair and/or deceptive acts or practices, and other just and proper

  available relief under the North Dakota CFA.

                                         COUNT 42

           VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT
                   (OHIO REV. CODE ANN. § 1345.01 ET SEQ.)
           588. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           589. This claim is brought by Plaintiffs on behalf of Ohio purchasers who

  are members of the Class.

           590. Ohio Consumer Sales Practices Act (Ohio CSPA), OHIO REV. CODE

  ANN. § 1345.02, broadly prohibits unfair or deceptive acts or practices in

  connection with a consumer transaction. Specifically, and without limitation of the

  broad prohibition, the Act prohibits (1) representing that Polluting Vehicles have

  characteristics, uses, benefits, and qualities which they do not have,

  (2) representing that Polluting Vehicles are of a particular standard, quality, and

  grade when they are not, (3) advertising Polluting Vehicles with the intent not to

  sell them as advertised, and (4) engaging in acts or practices which are otherwise

  unfair, misleading, false, or deceptive to the consumer. OHIO REV. CODE ANN.

  § 1345.02.

           591. The Ohio Attorney General has made available for public inspection

  prior state court decisions which have held that the acts and omissions of GM in

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  this Complaint, including but not limited to the failure to honor both implied

  warranties and express warranties, the making and distribution of false, deceptive,

  and/or misleading representations, and the concealment and/or non-disclosure of a

  dangerous defect, constitute deceptive sales practices in violation of the OCSPA.

  These cases include, but are not limited to, the following:


                    a.   Mason v. Mercedes Benz USA, LLC (OPIF #10002382);

                    b.   State ex rel. Betty D. Montgomery v. Volkswagen Motor Co.
                         (OPIF #10002123);

                    c.   State ex rel. Betty D. Montgomery v. Bridgestone/Firestone,
                         Inc. (OPIF #10002025);

                    d.   Bellinger v. Hewlett-Packard Co., No. 20744, 2002 Ohio App.
                         LEXIS 1573 (Ohio Ct. App. Apr. 10, 2002) (OPIF #10002077);

                    e.   Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App.
                         LEXIS 525 (Ohio Ct. App. Feb. 9, 2007) (OPIF #10002388);

                    f.   State ex rel. Jim Petro v. Craftmatic Organization, Inc. (OPIF
                         #10002347);

                    g.   Mark J. Craw Volkswagen, et al. v. Joseph Airport Toyota, Inc.
                         (OPIF #10001586);

                    h.   State ex rel. William J. Brown v. Harold Lyons, et al. (OPIF
                         #10000304);

                    i.   Brinkman v. Mazda Motor of America, Inc. (OPIF #10001427);

                    j.   Khouri v. Don Lewis (OPIF #100001995);

                    k.   Mosley v. Performance Mitsubishi aka Automanage (OPIF
                         #10001326);

                    l.   Walls v. Harry Williams dba Butch’s Auto Sales (OPIF
                         #10001524); and

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                    m.   Brown v. Spears (OPIF #10000403).

           592. Each Defendant is a “supplier” as that term is defined in OHIO REV.

  CODE ANN. § 1345.01(C).

           593. Plaintiffs and Ohio Class members are “consumers” as that term is

  defined in OHIO REV. CODE ANN. § 1345.01(D), and their purchase or lease of one

  or more Polluting Vehicles is a “consumer transaction” within the meaning of

  OHIO REV. CODE ANN. § 1345.01(A).

           594. As a result of the foregoing wrongful conduct, Plaintiffs have been

  damaged in an amount to be proven at trial and seek all just and proper remedies,

  including but not limited to actual and statutory damages, an order enjoining

  Defendants’ deceptive and unfair conduct, treble damages, court costs, and

  reasonable attorneys’ fees, pursuant to OHIO REV. CODE ANN. § 1345.09 et seq.

                                         COUNT 43

              VIOLATION OF THE OKLAHOMA CONSUMER PROTECTION
                                      ACT
                        (OKLA. STAT. TIT. 15, § 751 ET SEQ.)
           595. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           596. This claim is brought by Plaintiffs on behalf of Oklahoma purchasers

  who are members of the Class.




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           597. The Oklahoma Consumer Protection Act (Oklahoma CPA) declares

  unlawful, inter alia, the following acts or practices when committed in the course

  of business: making a “misrepresentation, omission or other practice that has

  deceived or could reasonably be expected to deceive or mislead a person to the

  detriment of that person” and “any practice which offends established public policy

  or if the practice is immoral, unethical, oppressive, unscrupulous or substantially

  injurious to consumers.” OKLA. STAT. TIT. 15, §§ 752–753.

           598. Plaintiffs and Oklahoma Class members are “persons” under OKLA.

  STAT. TIT. 15, § 752.

           599. Each Defendant is a “person,” “corporation,” or “association” within

  the meaning of OKLA. STAT. TIT. 15, § 15-751(1).

           600. The sale or lease of an Polluting Vehicle to Plaintiffs was a “consumer

  transaction” within the meaning of OKLA. STAT. TIT. 15, § 752 and each

  Defendants’ actions as set forth herein occurred in the conduct of trade or

  commerce.

           601. Defendants’ acts were made knowingly, intentionally, and with

  malice. Defendants demonstrated a complete lack of care and were in reckless

  disregard for the rights of Plaintiffs and the other Class members. Plaintiffs and the

  other Class members are therefore entitled to an award of punitive damages to the

  extent permitted under applicable law.


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           602. Defendants’ conduct as alleged herein was unconscionable because

  (1) Defendants, knowingly or had reason to know, took advantage of consumers

  reasonably unable to protect their interests because of their ignorance of GM’s

  fraudulent omissions and representations; (2) at the time the consumer transaction

  was entered into, Defendants knew or had reason to know that price the consumers

  were charged grossly exceeded the price at which they would have paid if they had

  known of the Defendants’ scheme, and (3) Defendant knew or had reason to know

  that the transaction Defendants induced the consumers to enter into was

  excessively one-sided in favor of each Defendant.

           603. Because Defendants’ unconscionable conduct caused injury to

  Plaintiffs, Plaintiffs seek recovery of actual damages, discretionary penalties up to

  $2,000 per violation, and reasonable attorneys’ fees, under OKLA. STAT. TIT. 15,

  § 761.1. Plaintiffs further seek an order enjoining each Defendant’s unfair and/or

  deceptive acts or practices, and any other just and proper relief available under the

  Oklahoma CPA.

                                         COUNT 44

                    VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE
                                      PRACTICES
                          AND CONSUMER PROTECTION LAW
                           (73 PA. CONS. STAT. § 201-1 ET SEQ.)
           604. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

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           605. This claim is brought by Plaintiffs on behalf of Pennsylvania

  purchasers who are members of the Class.

           606. The Pennsylvania Unfair Trade Practices and Consumer Protection

  Law (Pennsylvania CPL) prohibits unfair or deceptive acts or practices, including

  representing that goods or services have characteristics, benefits or qualities that

  they do not have; representing that goods or services are of a particular standard,

  quality or grade if they are of another; advertising goods or services with intent not

  to sell them as advertised; and engaging in any other fraudulent or deceptive

  conduct which creates a likelihood of confusion or misunderstanding. 73 P.S.

  § 201-2(4).

           607. Defendant, Plaintiffs, and Pennsylvania Class members are “persons”

  within the meaning of 73 PA. CONS. STAT. § 201-2(2).

           608. Plaintiffs purchased or leased Polluting Vehicles primarily for

  personal, family, or household purposes within the meaning of 73 PA. CONS. STAT.

  § 201-9.2.

           609. All of the acts complained of herein were perpetrated by Defendants

  in the course of trade or commerce within the meaning of 73 PA. CONS. STAT.

  § 201-2(3).

           610. Defendants are liable to Plaintiffs for treble their actual damages or

  $100, whichever is greater, and attorneys’ fees and costs. 73 PA. CONS. STAT.


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  § 201-9.2(a). Plaintiffs are also entitled to an award of punitive damages given that

  Defendants’ conduct was malicious, wanton, willful, oppressive, or exhibited a

  reckless indifference to the rights of others.

                                         COUNT 45

                    VIOLATION OF THE RHODE ISLAND UNFAIR TRADE
                                       PRACTICES
                          AND CONSUMER PROTECTION ACT
                            (R.I. GEN. LAWS § 6-13.1 ET SEQ.)
           611. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           612. This claim is brought by Plaintiffs on behalf of Rhode Island

  purchasers who are members of the Class.

           613. Rhode Island’s Unfair Trade Practices and Consumer Protection Act

  (Rhode Island CPA) prohibits “unfair or deceptive acts or practices in the conduct

  of any trade or commerce,” including “[e]ngaging in any act or practice that is

  unfair or deceptive to the consumer” and “[u]sing any other methods, acts or

  practices which mislead or deceive members of the public in a material respect.”

  R.I. GEN. LAWS § 6-13.1-1(6).

           614. Defendant, Plaintiffs, and Rhode Island Class members are “persons”

  within the meaning of R.I. GEN. LAWS § 6-13.1-1(3).

           615. Defendants were engaged in “trade” and “commerce” within the

  meaning of R.I. GEN. LAWS § 6-13.1-1(5).

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           616. Plaintiffs purchased or leased Polluting Vehicles primarily for

  personal, family, or household purposes within the meaning of R.I. GEN. LAWS § 6-

  13.1-5.2(a).

           617. Plaintiffs are entitled to recover the greater of actual damages or $200

  pursuant to R.I. GEN. LAWS § 6-13.1-5.2(a). Plaintiffs also seek punitive damages

  at the discretion of the Court.

                                          COUNT 46

                  VIOLATION OF THE SOUTH CAROLINA UNFAIR TRADE
                                  PRACTICES ACT
                          (S.C. CODE ANN. § 39-5-10 ET SEQ.)
           618. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           619. This claim is brought by Plaintiffs on behalf of South Carolina

  purchasers who are members of the Class.

           620. The South Carolina Unfair Trade Practices Act (South Carolina

  UTPA) prohibits “unfair or deceptive acts or practices in the conduct of any trade

  or commerce.” S.C. CODE ANN. § 39-5-20(a).

           621. Each Defendant is a “person” under S.C. CODE ANN. § 39-5-10.

           622. Pursuant to S.C. CODE ANN. § 39-5-140(a), Plaintiffs seek monetary

  relief to recover their economic losses. Because Defendants’ actions were willful

  and knowing, Plaintiffs’ damages should be trebled.


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           623. Plaintiffs further allege that Defendants’ malicious and deliberate

  conduct warrants an assessment of punitive damages because Defendants carried

  out despicable conduct with willful and conscious disregard of the rights of others.

  Defendants’ unlawful conduct constitutes malice, oppression, and fraud warranting

  punitive damages.

           624. Plaintiffs further seek an order enjoining each Defendant’s unfair or

  deceptive acts or practices.

                                         COUNT 47

                VIOLATION OF THE SOUTH DAKOTA DECEPTIVE TRADE
                                    PRACTICES
                        AND CONSUMER PROTECTION LAW
                           (S.D. CODIFIED LAWS § 37-24-6)
           625. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           626. This claim is brought by Plaintiffs on behalf of South Dakota

  purchasers who are members of the Class.

           627. The South Dakota Deceptive Trade Practices and Consumer

  Protection Law (South Dakota CPL) prohibits deceptive acts or practices, which

  include “[k]nowingly act[ing], us[ing], or employ[ing] any deceptive act or

  practice, fraud, false pretense, false promises, or misrepresentation or to conceal,

  suppress, or omit any material fact in connection with the sale or advertisement of



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  any merchandise, regardless of whether any person has in fact been misled,

  deceived, or damaged thereby.” S.D. CODIFIED LAWS §§ 37-24-6(1), 37-24-31.

           628. Under S.D. CODIFIED LAWS § 37-24-31, Plaintiffs are entitled to a

  recovery of their actual damages suffered as a result of Defendants’ acts and

  practices.

                                          COUNT 48

            VIOLATION OF THE UTAH CONSUMER SALE PRACTICES ACT
                      (UTAH CODE ANN. § 13-11-1 ET SEQ.)
           629. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           630. This claim is brought by Plaintiffs on behalf of Utah purchasers who

  are members of the Class.

           631. The Utah Consumer Sales Practices Act (Utah CSPA) makes unlawful

  any “deceptive act or practice by a supplier in connection with a consumer

  transaction,” including but not limited to indicating that the subject of a consumer

  transaction has sponsorship, approval, performance characteristics, accessories,

  uses, or benefits, if it has not; indicating that the subject of a consumer transaction

  is of a particular standard, quality, grade, style, or model, if it is not; and

  “indicat[ing] that a specific price advantage exists, if it does not.” UTAH CODE

  ANN. § 13-11-4.



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           632. Defendants knew, or had reason to know, that consumers would rely

  on their failure to disclose the defects in its emissions system. Defendants therefore

  engaged in an unconscionable act within the meaning of UTAH CODE ANN. § 13-

  11-5.

           633. Pursuant to UTAH CODE ANN. § 13-11-4, Plaintiffs seek monetary

  relief measured as the greater of (a) actual damages in an amount to be determined

  at trial and (b) statutory damages in the amount of $2,000 for each Plaintiff;

  reasonable attorneys’ fees; and any other just and proper relief available under the

  Utah CSPA.

                                         COUNT 49

                 VIOLATION OF THE VERMONT CONSUMER FRAUD ACT
                        (VT. STAT. ANN. TIT. 9, § 2451 ET SEQ.)
           634. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           635. This claim is brought by Plaintiffs on behalf of Vermont purchasers

  who are members of the Class.

           636. The Vermont Consumer Fraud Act (Vermont CFA) makes unlawful

  “[u]nfair methods of competition in commerce, and unfair or deceptive acts or

  practices in commerce.” VT. STAT. ANN. TIT. 9, § 2453(a).

           637. Defendants were sellers within the meaning of VT. STAT. ANN. TIT. 9,

  § 2451(a)(c).

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           638. Plaintiffs are entitled to recover “appropriate equitable relief” and “the

  amount of [their] damages, or the consideration or the value of the consideration

  given by [them], reasonable attorney’s fees, and exemplary damages not exceeding

  three times the value of the consideration given by [them],” pursuant to VT. STAT.

  ANN. TIT. 9, § 2461(b).

                                          COUNT 50

            VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
                       (VA. CODE ANN. § 59.1-196 ET SEQ.)
           639. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           640. This claim is brought by Plaintiffs on behalf of Virginia purchasers

  who are members of the Class.

           641. The Virginia Consumer Protection Act (Virginia CPA) lists prohibited

  “practices,” which include “[u]sing any other deception, fraud, false pretense, false

  promise, or misrepresentation in connection with a consumer transaction.” VA.

  CODE ANN. § 59.1-200.

           642. Each Defendant is a “supplier” under VA. CODE ANN. § 59.1-198.

           643. Each sale and lease of an Polluting Vehicle was a “consumer

  transaction” within the meaning of VA. CODE ANN. § 59.1-198.

           644. Pursuant to VA. CODE ANN. § 59.1-204, Plaintiffs seek monetary relief

  against each Defendant measured as the greater of (a) actual damages in an amount

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  to be determined at trial and (b) statutory damages in the amount of $500 for each

  Plaintiff. Because Defendants’ conduct was committed willfully and knowingly,

  Plaintiffs are entitled to recover, for each plaintiff, the greater of (a) three times

  actual damages or (b) $1,000.

           645. Plaintiffs also seek an order enjoining each Defendant’s unfair and/or

  deceptive acts or practices, punitive damages, and attorneys’ fees, and any other

  just and proper relief available under VA. CODE ANN. § 59.1-204 et seq.

                                          COUNT 51

            VIOLATION OF THE WASHINGTON CONSUMER PROTECTION
                                    ACT
                   (WASH. REV. CODE ANN. § 19.86.010 ET SEQ.)
           646. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           647. This claim is brought by Plaintiffs on behalf of Washington

  purchasers who are members of the Class.

           648. The Washington Consumer Protection Act (Washington CPA)

  broadly prohibits “[u]nfair methods of competition and unfair or deceptive acts or

  practices in the conduct of any trade or commerce.” WASH. REV. CODE. ANN.

  § 19.96.010.




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           649. Defendants committed the acts complained of herein in the course of

  “trade” or “commerce” within the meaning of WASH. REV. CODE. ANN.

  § 19.96.010.

           650. Defendants are liable to Plaintiffs for damages in amounts to be

  proven at trial, including attorneys’ fees, costs, and treble damages, as well as any

  other remedies the Court may deem appropriate under WASH. REV. CODE. ANN.

  § 19.86.090.

                                         COUNT 52

                VIOLATION OF THE WEST VIRGINIA CONSUMER CREDIT
                               AND PROTECTION ACT
                          (W. VA. CODE § 46A-1-101 ET SEQ.)
           651. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           652. This claim is included here for notice purposes only. Once the

  statutory notice period has expired, Plaintiffs will amend their complaint to bring

  this claim on behalf of West Virginia purchasers who are members of the Class.

           653. Each Defendant is a “person” under W. VA. CODE § 46A-1-102(31).

           654. Plaintiffs and West Virginia Class members are “consumers” as

  defined by W. VA. CODE §§ 46A-1-102(12) and 46A-6-102(2), who purchased or

  leased one or more Polluting Vehicles.




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           655. Defendants engaged in trade or commerce as defined by W. VA. CODE

  § 46A-6-102(6).

           656. The West Virginia Consumer Credit and Protection Act (West

  Virginia CCPA) prohibits “unfair or deceptive acts or practices in the conduct of

  any trade or commerce.” W. VA. CODE § 46A-6-104. Without limitation, “unfair or

  deceptive” acts or practices include:

                    (I) Advertising goods or services with intent not to sell
                    them as advertised; . . .
                    (L) Engaging in any other conduct which similarly
                    creates a likelihood of confusion or of misunderstanding;
                    (M) The act, use or employment by any person of any
                    deception, fraud, false pretense, false promise or
                    misrepresentation, or the concealment, suppression or
                    omission of any material fact with intent that others rely
                    upon such concealment, suppression or omission, in
                    connection with the sale or advertisement of any goods or
                    services, whether or not any person has in fact been
                    misled, deceived or damaged thereby; [and]
                    (N) Advertising, printing, displaying, publishing,
                    distributing or broadcasting, or causing to be advertised,
                    printed, displayed, published, distributed or broadcast in
                    any manner, any statement or representation with regard
                    to the sale of goods or the extension of consumer credit
                    including the rates, terms or conditions for the sale of
                    such goods or the extension of such credit, which is false,
                    misleading or deceptive or which omits to state material
                    information which is necessary to make the statements
                    therein not false, misleading or deceptive.
  W. VA. CODE § 46A-6-102(7).
           657. Pursuant to W. VA. CODE § 46A-6-106, once the statutory notice

  period has expired, Plaintiffs will amend to seek monetary relief against the


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  Defendants measured as the greater of (a) actual damages in an amount to be

  determined at trial and (b) statutory damages in the amount of $200 per violation

  of the West Virginia CCPA for each Plaintiff.

           658. Plaintiffs will also amend to seek punitive damages against the

  Defendants because they carried out despicable conduct with willful and conscious

  disregard of the rights of others, subjecting Plaintiffs to cruel and unjust hardship

  as a result.

           659. Plaintiffs further seek an order enjoining the Defendants’ unfair or

  deceptive acts or practices, restitution, punitive damages, costs of Court, attorney’s

  fees under W. VA. CODE § 46A-5-101 et seq., and any other just and proper relief

  available under the West Virginia CCPA.

           660. On May 23, 2017, Plaintiffs sent a letter complying with W. VA.

  CODE § 46A-6-106(b) to Defendants. This claim is included here for notice

  purposes only. Once the statutory notice period has expired, Plaintiffs will amend

  their complaint to bring this claim on behalf of West Virginia purchasers who are

  members of the Class.




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                                          COUNT 53

                    VIOLATION OF THE WISCONSIN DECEPTIVE TRADE
                                   PRACTICES ACT
                                 (WIS. STAT. § 110.18)
           661. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           662. This claim is brought by Plaintiffs on behalf of Wisconsin purchasers

  who are members of the Class.

           663. The Wisconsin Deceptive Trade Practices Act (Wisconsin DTPA)

  prohibits a “representation or statement of fact which is untrue, deceptive or

  misleading.” WIS. STAT. § 100.18(1).

           664. Each Defendant is a “person, firm, corporation or association” within

  the meaning of WIS. STAT. § 100.18(1).

           665. Plaintiffs and Wisconsin Class members are members of “the public”

  within the meaning of WIS. STAT. § 100.18(1). Plaintiffs purchased or leased one

  or more Polluting Vehicles.

           666. Plaintiffs are entitled to damages and other relief provided for under

  WIS. STAT. § 100.18(11)(b)(2). Because Defendants’ conduct was committed

  knowingly and/or intentionally, Plaintiffs are entitled to treble damages.

           667. Plaintiffs also seek court costs and attorneys’ fees under WIS. STAT.

  § 110.18(11)(b)(2).


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                                           COUNT 54

           VIOLATION OF THE WYOMING CONSUMER PROTECTION ACT
                       (WYO. STAT. § 40-12-105 ET SEQ.)
           668. Plaintiffs hereby incorporate by reference the allegations contained in

  the preceding paragraphs of this complaint.

           669. This claim is included here for notice purposes only. Once the

  statutory notice period has expired, Plaintiffs will amend their complaint to bring

  this claim on behalf of Wyoming purchasers who are members of the Class.

           670. Pursuant to WYO. STAT. § 40-12-108(a), once the statutory notice

  period has expired, Plaintiffs will amend to seek monetary relief against the

  Defendants measured as actual damages in an amount to be determined at trial, in

  addition to any other just and proper relief available under the Wyoming CPA.

           671. On May 23, 2017, Plaintiffs sent a letter complying with WYO. STAT.

  § 45-12-109 to Defendants. If Defendants fail to remedy their unlawful conduct,

  Plaintiffs will seek all damages and relief to which Plaintiffs are entitled.

                                  REQUEST FOR RELIEF
           WHEREFORE, Plaintiffs, individually and on behalf of members of the

  Nationwide RICO Class and State Classes, respectfully request that the Court enter

  judgment in their favor and against Defendants, as follows:

           A.       Certification of the proposed Nationwide RICO Class and State

  Classes, including appointment of Plaintiffs’ counsel as Class Counsel;


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           B.       Restitution, including at the election of Class members, recovery of

  the purchase price of their Polluting Vehicles, or the overpayment or diminution in

  value of their Polluting Vehicles;

           C.       Damages, including punitive damages, costs, and disgorgement in an

  amount to be determined at trial, except that monetary relief under certain

  consumer protection statutes, as stated above, shall be limited prior to completion

  of the applicable notice requirements;

           D.       An order requiring Defendants to pay both pre- and post-judgment

  interest on any amounts awarded;

           E.       An award of costs and attorneys’ fees; and

           F.       Such other or further relief as may be appropriate.

                                DEMAND FOR JURY TRIAL
           Plaintiffs hereby demand a jury trial for all claims so triable.

  DATED: August 4, 2017                Respectfully Submitted,

                                       By /s/ Steve W. Berman
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